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                                                                                                                                          Current General                                         Current 503(b)(9)
                                                                                                                                                               Current Priority Current Secured                      Current Admin Total Current
                Creditor Name and Address                Claim No. Claim Date                      Debtor                                 Unsecured Claim                                          Admin Priority
                                                                                                                                                                Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                              Amount                                                  Amount
Covidien
Sue Danneker
15 Hampshire
Mansfield, MA 02048                                         1      11/6/2018           Promise Healthcare Group, LLC                              $3,256.10                                                                             $3,256.10
Efficient Management Resource Systems, Inc.
Alexandre I. Cornelius, Esq. (CA SBN# 180652)
1299 Ocean Avenue, Suite 450
Santa Monica, CA 90401                                      2      11/12/2018          Promise Healthcare Group, LLC                           $1,602,485.92                                                                        $1,602,485.92
EVERCORE TRUST COMPANY, N.A.
RUTH CALAMAN
55 EAST 52ND STREET, 23RD FLOOR
NEW YORK, NY 10055                                          3      11/13/2018          Promise Healthcare Group, LLC                             $12,500.00                                                                            $12,500.00
Sharn Inc.
6850 Southbelt Dr
Caledonia, MI 49316                                         4      11/13/2018          Promise Healthcare Group, LLC                              $5,823.50                                                                             $5,823.50
Design & Cut Landscape Services, Inc.
4860 SW 61st Ave
Davie, FL 33314                                             5      11/13/2018          Promise Healthcare Group, LLC                              $4,688.00                                                                             $4,688.00
Specialty Doors + Automation Inc
4700 Long Beach Blvd.
Long Beach, CA 90805                                        6      11/13/2018          Promise Healthcare Group, LLC                                $491.98                                                                              $491.98
SHC, Services, Inc
1640 Redstone Center Dr
Park City, UT 84098                                         7      11/13/2018              Promise Healthcare, Inc.                              $38,064.31                                                                            $38,064.31
Medi Coach, LLC
12510 W 62nd Terrace, Ste. 103
Shawnee , KS 66216                                          8      11/14/2018       Promise Hospital of Overland Park, Inc.                      $28,442.20                                                                            $28,442.20
Mississippi Department of Revenue
Bankruptcy Section
PO Box 22808
Jackson, MS 39225                                           9      11/13/2018         Promise Hospital of Vicksburg, Inc.                                                            $17,695.89                                        $17,695.89
National Staffing Solutions, LLC
Peter Reichman
3301 North University Ave.
Provo, UT 84604                                             10     11/14/2018         Promise Hospital of Salt Lake, Inc.                        $36,811.22         $12,850.00                                                         $49,661.22
The Vascular Lab LLC
7648 Picardy Ave. Ste. 100
Baton Rouge, LA 70808                                       11     11/14/2018          Promise Healthcare Group, LLC                              $6,575.00                                                                             $6,575.00
Heritage Healthcare Services, Inc.
Attn: Lisa Dalton
1009 Reservoir Avenue
Cranston , RI 02910                                         12     11/14/2018          Promise Healthcare Group, LLC                            $280,866.68                                                                           $280,866.68
Stat-Med, Inc.
Charles J. Brown III, Esq.
1201 N Orange Street, Suite 300
Wilmington, DE 19801                                        13     11/16/2018          Promise Healthcare Group, LLC                             $12,217.50                                                                            $12,217.50
American Express Travel Related Services Company, Inc.
Becket and Lee LLP
PO Box 3001
Malvern, PA 19355-0701                                      14     11/15/2018              Promise Healthcare, Inc.                              $43,471.62                                                                            $43,471.62
Time Warner Cable
7820 Crescent Executive Drive 1st Floor
Charlotte, NC 28217                                         15     11/26/2018              Promise Healthcare, Inc.                               $1,113.92                                                                             $1,113.92
Time Warner Cable
7820 Crescent Executive Drive 1st Floor
Charlotte, NC 28217                                         16     11/26/2018              Promise Healthcare, Inc.                                 $216.17                                                                              $216.17


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                                                                                                                                    Current General                                       Current 503(b)(9)
                                                                                                                                                       Current Priority Current Secured                      Current Admin Total Current
              Creditor Name and Address         Claim No. Claim Date                          Debtor                                Unsecured Claim                                        Admin Priority
                                                                                                                                                        Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                        Amount                                                Amount
CALIFORNIA RECUPERATIVE CARE
38529 6TH ST. EAST
PALMDALE, CA 93550                                 17     11/16/2018             Promise Healthcare Group, LLC                             $9,250.00                                                                            $9,250.00
Merry X-Ray Corporation
8020 Tyler Blvd
Mentor , OH 44060                                  18     11/19/2018             Promise Healthcare Group, LLC                             $2,345.92                         $34,206.21                                        $36,552.13
CDW Direct, LLC
Attn: Vida Krug
200 N. Milwaukee Ave
Vernon Hills, IL 60061                             19     11/9/2018              Promise Healthcare Group, LLC                            $74,034.00        $25,319.08                                                         $99,353.08
WICHITA COUNTY
PERDUE, BRANDON, FIELDER, COLLINS & MOTT, LLP
JEANMARIE BAER
PO BOX 8188
WICHITA FALLS, TX 76307                            20     11/14/2018   Promise Skilled Nursing Facility of Wichita Falls, Inc.                                                $9,016.27                                         $9,016.27
WICHITA COUNTY
PERDUE, BRANDON, FIELDER, COLLINS & MOTT, LLP
JEANMARIE BAER
PO BOX 8188
WICHITA FALLS, TX 76307                            21     11/14/2018          Promise Hospital of Wichita Falls, Inc.                                                        $13,656.42                                        $13,656.42
Office Depot
6600 N Military Trail
S413G
Boca Raton , FL 33496                              22     11/14/2018           St. Alexius Hospital Corporation #1                        $23,216.71                                                                           $23,216.71
Imprivata
Stephen Keisling
10 Maguire Road
Lexington , MA 02421                               23     11/19/2018             Promise Healthcare Group, LLC                            $44,880.19                                                                           $44,880.19
UnitedHealthcare Insurance Company
Attn: CDM/Bankruptcy
185 Asylum Street - 03B
Hartford, CT 06103                                 24     11/19/2018              Promise Hospital of Dade, Inc.                         $141,174.64                                                                          $141,174.64
United Healthcare Insurance Company
ATTN: CDM/Bankruptcy
185 Asylum Street - 03B
Hartford, CT 06103                                 25     11/19/2018          Promise Hospital of Baton Rouge, Inc.                          $996.19                                                                             $996.19
STRONG'S BACKHOE SERVICE, INC.
9440 LINWOOD AVE.
SHREVEPORT, LA 71106                               26     11/19/2018             Promise Healthcare Group, LLC                            $35,375.00                                                                           $35,375.00
PRN HEALTH SERVICES, INC.
1101 E. SOUTH RIVER STREET
APPLETON, WI 54915                                 27     11/19/2018            Promise Hospital of Phoenix, Inc.                         $42,113.50                                                                           $42,113.50
Brian's Plumbing
901 Ohio
Wichita Falls, TX 76301                            28     11/20/2018             Promise Healthcare Group, LLC                                $60.00                          $6,660.17                                         $6,720.17
Proforma Total Graphics
Coface North America Insurance Company
650 College Road East, Suite 2005
Princeton, NJ 08540                                29     11/19/2018             Promise Healthcare Group, LLC                            $21,085.88                                                                           $21,085.88
CPT Group, Inc.
50 Corporate Park
Irvine, CA 92606                                   30     11/19/2018             Promise Healthcare Group, LLC                            $35,400.00                                                                           $35,400.00
Gunther Salt Company
101 Buchanan
St. Louis, MO 63147                                31     11/20/2018             Promise Healthcare Group, LLC                                                                                   $2,045.68                      $2,045.68




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                                                                                                                                                 Current Priority Current Secured                      Current Admin Total Current
                Creditor Name and Address   Claim No. Claim Date                        Debtor                                Unsecured Claim                                        Admin Priority
                                                                                                                                                  Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                  Amount                                                Amount
Comed Medical Specialties
2322 S. Presidents Dr.
Suite B
Salt Lake City , UT 84120                      32     11/21/2018          Promise Hospital of Salt Lake, Inc.                        $2,568.91                                                                            $2,568.91
UnitedHealthcare Insurance Company
Attn: CDM/Bankruptcy
185 Asylum Street - 03B
Hartford, CT 06103                             33     11/21/2018    Promise Hospital of Florida at The Villages, Inc.              $221,004.83                                                                          $221,004.83
UnitedHealthcare Insurance Company
Attn: CDM/Bankruptcy
185 Asylum Street - 03B
Hartford, CT 06103                             34     11/21/2018             Promise Hospital of Lee, Inc.                         $147,521.06                                                                          $147,521.06
UnitedHealthcare Insurance Company
Attn: CDM/Bankruptcy
185 Asylum Street - 03B
Hartford, CT 06103                             35     11/21/2018          Promise Hospital of Louisiana, Inc.                       $12,309.41                                                                           $12,309.41
UnitedHealthcare Insurance Company
Attn: CDM/Bankruptcy
185 Asylum Street - 03B
Hartford, CT 06103                             36     11/21/2018        Promise Hospital of Overland Park, Inc.                     $21,900.00                                                                           $21,900.00
UnitedHealthcare Insurance Company
Attn: CDM/Bankruptcy
185 Asylum Street - 03B
Hartford, CT 06103                             37     11/21/2018           Promise Hospital of Phoenix, Inc.                         $9,774.25                                                                            $9,774.25
UnitedHealthcare Insurance Company
Attn: CDM/Bankruptcy
185 Asylum Street - 03B
Hartford, CT 06103                             38     11/21/2018          Promise Hospital of Salt Lake, Inc.                          $548.44                                                                             $548.44
LifeNet Health
1864 Concert Drive
Virginia Beach, VA 23453                       39     11/23/2018            Promise Healthcare Group, LLC                                $0.00                                                                                $0.00
FIRSTPATH
STACEY FERNANDEZ
3141 W. MCNAB RD.
POMPANO BEACH, FL 33069                        40     11/23/2018            Promise Healthcare Group, LLC                            $1,182.50                                                                            $1,182.50
Mission Advisors, LLC
8711 E. Pinnacle Peak Rd., #289
Scottsdale, AZ 85255                           41     11/26/2018               Promise Healthcare, Inc.                             $62,854.63                                                                           $62,854.63
Neurology Mobile System Associates, Inc.
10661 SW 88th St, Suite 104
Miami, FL 33176                                42     11/26/2018            Promise Hospital of Dade, Inc.                                             $5,400.00                                                          $5,400.00
Massey, Luther
2188 Hect Ave
St. Louis, MO 63136                            43     11/26/2018            Promise Healthcare Group, LLC                                             $10,000.00                                                         $10,000.00
LANDAUER, INC
2 SCIENCE RD
GLENWOOD, IL 60425                             44     11/26/2018            Promise Healthcare Group, LLC                            $2,222.25                                                                            $2,222.25
SPECIALIZED HEALTHCARE PARTNERS, LLC
ATTN: STEVE KNOWLES
220 CONGRESS PARK DRIVE
SUITE 210
DELRAY BEACH, FL 33445                         45     11/23/2018            Promise Healthcare Group, LLC                           $38,057.12                                                                           $38,057.12
Aspire Bariatrics Inc.
3200 Horizon Drive, Suite 100
King of Prussia, PA 19406                      46     11/26/2018            Promise Healthcare Group, LLC                           $14,389.41                                                                           $14,389.41




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                 Creditor Name and Address            Claim No. Claim Date                        Debtor                                Unsecured Claim                                        Admin Priority
                                                                                                                                                            Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                            Amount                                                Amount
USOC MEDICAL
KIM GRAY
20 MORGAN
IRVINE, CA 92618                                         47     11/26/2018            Promise Healthcare Group, LLC                           $46,260.42                                                                           $46,260.42
Lee County Tax Collector
c/o Legal Department
PO Box 850
Fort Myers, FL 33902-0850                                48     11/26/2018            Promise Properties of Lee, Inc.                                                                 $0.00                                            $0.00
Edger Associates, Inc.
Mobile Ultrasound Services, Inc.
720 East Fletcher Ave.
Suite 101
Tampa , FL 33612                                         49     11/26/2018            Promise Healthcare Group, LLC                           $11,820.36                                                                           $11,820.36
Topps Paving & Sealing LLC
11502 Dorsett Rd.
Maryland Heights, MO 63043                               50     11/26/2018            Promise Healthcare Group, LLC                           $16,790.00                                                                           $16,790.00
Giffler, Ronald F.
Stacey Fernandez
3141 W. McNab Rd.
Pompano Beach, FL 33069                                  51     11/23/2018            Promise Healthcare Group, LLC                            $1,182.50                                                                            $1,182.50
BIOTRONIK INC.
6024 JEAN ROAD
LAKE OSWEGO, OR 97035-5369                               52     11/27/2018          St. Alexius Hospital Corporation #1                       $83,541.67                                                                           $83,541.67
UnitedHealthcare Insurance Company
Attn: CDM/Bankruptcy
185 Asylum Street - 03B
Hartford, CT 06103                                       53     11/27/2018        Promise Hospital of Wichita Falls, Inc.                      $1,688.24                                                                            $1,688.24
Accreon, Inc.
Kimberly Post, CFO
425 Boylston Street, 2nd Floor
Boston, MA 02116                                         54     11/27/2018                Success Healthcare, LLC                             $70,862.50                                                                           $70,862.50
VitaHEAT Medical, LLC
Attn: Peter Farmakis
21660 West Field Parkway
Deer Park, IL 60010                                      55     11/27/2018    Promise Hospital of Florida at The Villages, Inc.                $9,200.00                                                                            $9,200.00
Record Xpress of California, LLC
Access Information Protected
500 Unicorn Park Drive, Suite 503
Woburn, MA 01801                                         56     11/21/2018            Promise Healthcare Group, LLC                           $65,119.52                                                                           $65,119.52
BioMerieux, Inc
100 Rodolphe Street
Durham, NC 27712                                         57     11/27/2018      Promise Hospital of East Los Angeles, L.P.                    $11,172.92                                                                           $11,172.92
HeartTraining, LLC
7300 W. 110th St. Ste. 700
Overland Park, KS 66210                                  58     11/27/2018        Promise Hospital of Overland Park, Inc.                      $1,524.43                                                                            $1,524.43
UTAH STATE TAX COMMISSION
ATTN: BANKRUPTCY UNIT
210 N 1950 W
SALT LAKE CITY, UT 84134-9000                            59     11/27/2018            Promise Healthcare Group, LLC                               $30.33            $96.80        $5,018.88                                         $5,146.01
Wolters Kluwer Legal & Regulatory US, A Div. of CCH
Incorporated
Attn: Accounts Receivable
7201 McKinney Circle
Frederick, MD 21704                                      60     11/28/2018           Promise Hospital of Phoenix, Inc.                         $1,536.85                                                                            $1,536.85




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                 Creditor Name and Address            Claim No. Claim Date                          Debtor                                Unsecured Claim                                        Admin Priority
                                                                                                                                                              Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                              Amount                                                Amount
Wolters Kluwer Legal & Regulatory US, A Div. of CCH
Incorporated
Attn: Accounts Receivable
7201 McKinney Circle
Frederick, MD 21704                                      61     11/28/2018              Promise Hospital of Dade, Inc.                             $729.08                                                                             $729.08
UnitedHealthcare Insurance Company
Attn: CDM/Bankruptcy
185 Asylum Street - 03B
Hartford, CT 06103                                       62     11/27/2018           St. Alexius Hospital Corporation #1                        $11,018.84                                                                           $11,018.84
Alsco, Inc Wichita Falls
2816 Central Expressway East
Wichita Falls, TX 76301                                  63     11/28/2018   Promise Skilled Nursing Facility of Wichita Falls, Inc.            $17,609.18                                                                           $17,609.18
UnitedHealthcare Insurance Company
Attn: CDM/Bankruptcy
185 Asylum Street - 03B
Hartford, CT 06103                                       64     11/27/2018                Success Healthcare 1, LLC                             $56,560.14                                                                           $56,560.14
UnitedHealthcare Insurance Company
Attn: CDM/Bankruptcy
185 Asylum Street - 03B
Hartford, CT 06103                                       65     11/27/2018   Promise Skilled Nursing Facility of Wichita Falls, Inc.            $16,061.75                                                                           $16,061.75
Andersen Commercial Plumbing, LLC
190 E. Arrow Highway
San Dimas, CA 91773                                      66     11/28/2018             Promise Healthcare Group, LLC                             $1,862.46                                                                            $1,862.46
Star Alliance Security Inc
c/o Madaen Law, Inc.
Attn: Bahram Madaen, Esq.
16787 Beach Blvd # 777
Huntington Beach, CA 92647                               67     11/28/2018             Promise Healthcare Group, LLC                            $34,763.59                                                                           $34,763.59
PRN Health Services Inc.
1101 E. South River Street
Appleton, WI 54915                                       68     11/28/2018           St. Alexius Hospital Corporation #1                        $57,011.75                                                                           $57,011.75
Carol Lloyd, Inc.
Kevin L. Sink, Chapter 11 Trustee
PO Box 18237
Raleigh, NC 27619                                        69     11/28/2018             Promise Healthcare Group, LLC                            $10,438.26                                                                           $10,438.26
Mobility Transportation Services, LLC
5442 So. 900 E.
Suite 412
Salt Lake City , UT 84117                                70     11/28/2018            Promise Hospital of Salt Lake, Inc.                        $5,043.24                                                                            $5,043.24
eFront Financial Solutions, Inc.
Attn: Neil Patel
300 Washington Street
Suite 507
Newton, MA 02458                                         71     11/28/2018             Promise Healthcare Group, LLC                            $45,135.40                                                                           $45,135.40
Los Angeles County Treasurer and Tax Collector
PO Box 54110
Los Angeles, CA 90054-0110                               72     11/29/2018                  HLP of Los Angeles, LLC                                                                     $0.00                                            $0.00
Los Angeles County Treasurer and Tax Collector
PO Box 54110
Los Angeles, CA 90054-0110                               73     11/29/2018             Promise Healthcare Group, LLC                                                $200.42                                                            $200.42
Instrumentation Laboratory
180 Hartwell Road
Bedford, MA 01730                                        74     11/29/2018           Promise Hospital of Ascension, Inc.                         $6,053.35                                                                            $6,053.35
Instrumentation Laboratory
180 Hartwell Road
Bedford, MA 01730                                        75     11/29/2018            Promise Hospital of Phoenix, Inc.                         $18,234.76                                                                           $18,234.76


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                Creditor Name and Address        Claim No. Claim Date                       Debtor                                Unsecured Claim                                        Admin Priority
                                                                                                                                                      Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                      Amount                                                Amount
ThyssenKrupp Elevator Corp.
c/o Law Office of D. Park Smith
250 Cherry Springs Road, Suite 200
Hunt, TX 78024                                      76     11/29/2018         St. Alexius Hospital Corporation #1                       $39,774.12                                                                           $39,774.12
Instrumentation Laboratory
180 Hartwell Road
Bedford, MA 01730                                   77     11/29/2018                Quantum Health, Inc.                               $32,397.96                                                                           $32,397.96
Instrumentation Laboratory
180 Hartwell Road
Bedford, MA 01730                                   78     11/29/2018       Promise Hospital of Baton Rouge, Inc.                        $1,528.30                                                                            $1,528.30
Instrumentation Laboratory
180 Hartwell Road
Bedford, MA 01730                                   79     11/29/2018             Success Healthcare 1, LLC                              $8,799.23                                                                            $8,799.23
Los Angeles County Treasurer and Tax Collector
PO Box 54110
Los Angeles, CA 90054-0110                          80     11/29/2018      Promise Hospital of East Los Angeles, L.P.                                          $0.00            $0.00                                            $0.00
Bendler Boiler & Mechanical Co.
PO Box 1467
High Ridge, MO 63049                                81     11/29/2018           Promise Healthcare Group, LLC                              $789.00                                                                             $789.00
Bendler Boiler & Mechanical Co.
PO Box 1467
High Ridge, MO 63049                                82     11/29/2018           Promise Healthcare Group, LLC                            $1,200.00                                                                            $1,200.00
Baxter Healthcare
1 Baxter Pkwy, DF3-2E
Deerfield, IL 60015                                 83     11/20/2018       Promise Hospital of Baton Rouge, Inc.                        $3,766.40                                                                            $3,766.40
Baxter Healthcare
1 Baxter Pkwy, DF3-2E
Deerfield, IL 60015                                 84     11/20/2018       Promise Hospital of Overland Park, Inc.                      $8,773.71                                                                            $8,773.71
Baxter Healthcare
1 Baxter Pkwy, DF3-2E
Deerfield, IL 60015                                 85     11/20/2018         Promise Hospital of Ascension, Inc.                       $18,813.53                                                                           $18,813.53
Baxter Healthcare
1 Baxter Pkwy, DF3-2E
Deerfield, IL 60015                                 86     11/20/2018             Success Healthcare 1, LLC                              $7,889.45                                                                            $7,889.45
Office Depot
6600 N Military Trail - S413G
Boca Raton, FL 33496                                87     11/26/2018             Success Healthcare 1, LLC                             $19,605.13                                                                           $19,605.13
Office Depot
6600 N Military Trail - S413G
Boca Raton, FL 33496                                88     11/26/2018         Promise Hospital of Vicksburg, Inc.                        $1,174.86                                                                            $1,174.86
PRECISION DYNAMICS CORPORATION
27770 N ENTERTAINMENT DRIVE
SUITE 200
VALENCIA, CA 91455                                  89     11/26/2018              Promise Healthcare, Inc.                                $475.53                                                                             $475.53
HD SUPPLY FACILITIES MAINTENANCE
PO BOX 509058
SAN DIEGO, CA 92150-9058                            90     11/26/2018           Promise Hospital of Dallas, Inc.                         $9,020.44                                                                            $9,020.44
HD SUPPLY FACILITIES MAINTENANCE
PO BOX 509058
SAN DIEGO, CA 92150-9058                            91     11/26/2018       Promise Hospital of Overland Park, Inc.                      $3,120.16                                                                            $3,120.16
Southern California Gas Company
PO Box 30337
Los Angeles, CA 90030                               92     11/20/2018           Promise Healthcare Group, LLC                            $1,872.89                                                                            $1,872.89
Baxter Healthcare
1 Baxter Pkwy, DF3-2E
Deerfield, IL 60015                                 93     11/20/2018      Promise Hospital of East Los Angeles, L.P.                   $54,289.60                                                                           $54,289.60


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                                                                                                                                               Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                               Amount                                                Amount
Baxter Healthcare
1 Baxter Pkwy, DF3-2E
Deerfield, IL 60015                         94     11/20/2018             Promise Hospital of Lee, Inc.                           $7,484.01                                                                            $7,484.01
Baxter Healthcare
1 Baxter Pkwy, DF3-2E
Deerfield, IL 60015                         95     11/20/2018           Promise Hospital of Phoenix, Inc.                         $5,938.35                                                                            $5,938.35
Baxter Healthcare
1 Baxter Pkwy, DF3-2E
Deerfield, IL 60015                         96     11/20/2018            Promise Hospital of Dade, Inc.                           $3,462.17                                                                            $3,462.17
Baxter Healthcare
1 Baxter Pkwy, DF3-2E
Deerfield, IL 60015                         97     11/20/2018    Promise Hospital of Florida at The Villages, Inc.                $8,509.34                                                                            $8,509.34
Baxter Healthcare
1 Baxter Pkwy, DF3-2E
Deerfield, IL 60015                         98     11/20/2018          Promise Hospital of Vicksburg, Inc.                          $446.15                                                                             $446.15
PRECISION DYNAMICS CORPORATION
27770 N ENTERTAINMENT DRIVE
SUITE 200
VALENCIA, CA 91455                          99     11/26/2018    Promise Hospital of Florida at The Villages, Inc.                  $845.16                                                                             $845.16
Baxter Healthcare
1 Baxter Pkwy, DF3-2E
Deerfield, IL 60015                        100     11/20/2018      Professional Rehabilitation Hospital, L.L.C.                   $7,938.65                                                                            $7,938.65
Baxter Healthcare
1 Baxter Pkwy, DF3-2E
Deerfield, IL 60015                        101     11/20/2018          Promise Hospital of Salt Lake, Inc.                        $1,614.67                                                                            $1,614.67
Baxter Healthcare
1 Baxter Pkwy, DF3-2E
Deerfield, IL 60015                        102     11/20/2018          Promise Hospital of Louisiana, Inc.                       $20,753.53                                                                           $20,753.53
Office Depot
6600 N Military Trail - S413G
Boca Raton, FL 33496                       103     11/26/2018    Promise Hospital of Florida at The Villages, Inc.                $3,096.34                                                                            $3,096.34
PRECISION DYNAMICS CORPORATION
27770 N ENTERTAINMENT DRIVE
SUITE 200
VALENCIA, CA 91455                         104     11/26/2018            Promise Healthcare Group, LLC                            $3,161.23                                                                            $3,161.23
PRECISION DYNAMICS CORPORATION
27770 N ENTERTAINMENT DRIVE
SUITE 200
VALENCIA, CA 91455                         105     11/26/2018           Promise Hospital of Phoenix, Inc.                           $271.87                                                                             $271.87
Office Depot
6600 N Military Trail - S413G
Boca Raton, FL 33496                       106     11/26/2018        Promise Hospital of Baton Rouge, Inc.                        $9,037.71                                                                            $9,037.71
Office Depot
6600 N Military Trail - S413G
Boca Raton, FL 33496                       107     11/26/2018            Promise Hospital of Dade, Inc.                           $1,453.31                                                                            $1,453.31
PRECISION DYNAMICS CORPORATION
27770 N ENTERTAINMENT DRIVE
SUITE 200
VALENCIA, CA 91455                         108     11/26/2018             Promise Hospital of Lee, Inc.                             $233.39                                                                             $233.39
PRECISION DYNAMICS CORPORATION
27770 N ENTERTAINMENT DRIVE
SUITE 200
VALENCIA, CA 91455                         109     11/26/2018          Promise Hospital of Vicksburg, Inc.                        $2,556.83                                                                            $2,556.83
Baxter Healthcare
1 Baxter Pkwy, DF3-2E
Deerfield, IL 60015                        110     11/20/2018                 Quantum Health, Inc.                                    $0.00                                                                               $0.00


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                                                                                                                                            Current General                                       Current 503(b)(9)
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                Creditor Name and Address               Claim No. Claim Date                          Debtor                                Unsecured Claim                                        Admin Priority
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PRECISION DYNAMICS CORPORATION
27770 N ENTERTAINMENT DRIVE
SUITE 200
VALENCIA, CA 91455                                        111     11/26/2018            Promise Hospital of Salt Lake, Inc.                        $1,486.46                                                                            $1,486.46
HD SUPPLY FACILITIES MAINTENANCE
PO BOX 509058
SAN DIEGO, CA 92150-9058                                  112     11/26/2018        Promise Hospital of East Los Angeles, L.P.                     $5,984.37                                                                            $5,984.37
Office Depot
6600 N Military Trail - S413G
Boca Raton, FL 33496                                      113     11/26/2018            Promise Hospital of Louisiana, Inc.                        $5,209.22                                                                            $5,209.22
Zurich American Insurance Company
PO Box 68549
Schaumburg, IL 60196                                      114     11/26/2018             Promise Healthcare Group, LLC                                 $0.00                                                                               $0.00
Walker Medical Linen Services
Attn: David S. Shapiro
2601 E Truman Road
Kansas City, MO 64127                                     115     11/27/2018             Promise Healthcare Group, LLC                            $34,465.31                                                                           $34,465.31
Dynamic Infusion Therapy, Inc.
5156 Village Creek Drive
Suite 102
Plano, TX 75093-4463                                      116     11/27/2018             Promise Healthcare Group, LLC                            $67,825.00                                                                           $67,825.00
Office Depot
6600 N Military Trail - S413G
Boca Raton, FL 33496                                      117     11/26/2018            Promise Hospital of Phoenix, Inc.                          $1,971.24                                                                            $1,971.24
FIRSTPATH
STACEY FERNANDEZ
3141 W MCNAB RD
POMPANO BEACH, FL 33069                                   118     11/29/2018             Promise Healthcare Group, LLC                            $38,629.85                                                                           $38,629.85
Instrumentation Laboratory
180 Hartwell Road
Bedford, MA 01730                                         119     11/30/2018           St. Alexius Hospital Corporation #1                         $4,460.69                                                                            $4,460.69
Acadian Ambulance Service, Inc.
Attn: Bankruptcy
P.O. Box 92970
Lafayette, LA 70509                                       120     11/30/2018             Promise Healthcare Group, LLC                            $81,595.86                                                                           $81,595.86
Satish Chada, MD
1208 Brook Avenue
Wichita Falls, TX 76301                                   121     11/30/2018   Promise Skilled Nursing Facility of Wichita Falls, Inc.                              $22,000.00                                                         $22,000.00
Rafael Rivera-Rivera, MD
1208 Brook Avenue
Wichita Falls , TX 76301                                  122     11/30/2018          Promise Hospital of Wichita Falls, Inc.                                       $29,600.00                                                         $29,600.00
Satish Chada, MD
1208 Brook Avenue
Wichita Falls, TX 76301                                   123     11/30/2018          Promise Hospital of Wichita Falls, Inc.                                       $33,000.00                                                         $33,000.00
Department of the Treasury - Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346                               124     11/29/2018                 Success Healthcare, LLC                               $1,500.00                                                                            $1,500.00
Department of the Treasury - Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346                               125     11/29/2018   Promise Skilled Nursing Facility of Wichita Falls, Inc.             $2,500.00                                                                            $2,500.00
Department of the Treasury - Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346                               126     11/29/2018                    HLP Properties, Inc.                              $19,194.00         $3,864.12                                                         $23,058.12
Department of the Treasury - Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346                               127     11/29/2018            Promise Hospital of Phoenix, Inc.                         $28,282.69             $0.00                                                         $28,282.69


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Department of the Treasury - Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346                               128     11/29/2018              Promise Healthcare Group, LLC                            $1,000.00                                                                            $1,000.00
Pacific Hospital Management, Inc.
Phillip G. Vermont, Esq.
5000 Hopyard Road, Suite 225
Pleasanton , CA 94588                                     129     11/30/2018              Promise Healthcare Group, LLC                                                             $157,726.58                                       $157,726.58
Department of the Treasury - Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346                               130     11/29/2018             Promise Healthcare Holdings, Inc.                         $1,000.00         $1,000.00                                                          $2,000.00
Department of the Treasury - Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346                               131     11/29/2018                 Success Healthcare 1, LLC                             $3,500.00             $0.00                                                          $3,500.00
Department of the Treasury - Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346                               132     11/29/2018            St. Alexius Hospital Corporation #1                      $636,296.67        $16,999.90                                                        $653,296.57
Department of the Treasury - Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346                               133     11/29/2018                 Success Healthcare 2, LLC                             $3,000.00                                                                            $3,000.00
Soliant Health
Steven Rebidas
10151 Deerwood Park Blvd.
Jacksonville, FL 32256                                    134     11/26/2018                 Promise Healthcare, Inc.                            $167,088.93                                                                          $167,088.93
Department of the Treasury - Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346                               135     11/29/2018               HLP Properties of Vidalia, LLC                          $5,905.30                                                                            $5,905.30
Department of the Treasury - Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346                               136     11/29/2018           HLP Properties at the Villages, L.L.C.                      $6,000.00                                                                            $6,000.00
Department of the Treasury - Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346                               137     11/29/2018                    LH Acquisition, LLC                                $5,405.30                                                                            $5,405.30
Department of the Treasury - Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346                               138     11/29/2018        HLP Properties at the Villages Holdings, LLC                  $24,916.05                                                                           $24,916.05
Southern Medical Staffing, LLC
1500 Metro Dr
Alexandria, LA 71301                                      139     11/30/2018            Promise Hospital of Ascension, Inc.                       $86,500.81                                                                           $86,500.81
Advanced Medical Sales, Inc.
216 Avenida Fabricante #110
San Clemente , CA 92672                                   140     12/3/2018               Promise Healthcare Group, LLC                              $998.00                                                                             $998.00
Department of the Treasury - Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346                               141     11/29/2018                  HLP of Los Angeles, LLC                              $5,405.30                                                                            $5,405.30
Department of the Treasury - Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346                               142     11/29/2018   Promise Behavioral Health Hospital of Shreveport, Inc.                                $5,000.00                                                          $5,000.00
Best Global Alternative LTD
PO Box 39
Atlantic Beach, NY 11509                                  143     12/3/2018               Promise Healthcare Group, LLC                           $31,147.42                                                                           $31,147.42
Quicksilver Express Courier of AZ, Inc.
4625 W. McDowell Rd., Ste. 160
Phoenix, AZ 85035                                         144     12/3/2018              Promise Hospital of Phoenix, Inc.                           $961.91                                                                             $961.91
Department of the Treasury - Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346                               145     11/29/2018         Promise Hospital of East Los Angeles, L.P.                        $0.00             $0.00    $3,650,419.70                                     $3,650,419.70


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                                                                                                                                                         Amount                                                 Amount
SANDHILL INVESTORS, LLC
WARNER, SECHREST & BUTTS, P.A.
C/O S.G.H.
5200 SW 91ST TERRACE, SUITE 101
GAINESVILLE, FL 32608                                               146     12/3/2018      Promise Hospital of Florida at The Villages, Inc.                $93,863.11                                                                           $93,863.11
VSH2008, LLC
c/o David S. Rubin
PO Box 2997
Baton Rouge, LA 70821-2997                                          147     12/3/2018          Promise Hospital of Baton Rouge, Inc.                       $195,477.90                                                                          $195,477.90
NEOTRACT, INC..
ATTN: ACCOUNTS RECEIVABLE
4473 WILLOW ROAD
SUITE 100
PLEASANTON, CA 94588                                                148     12/4/2018              Promise Healthcare Group, LLC                            $22,315.48                                                                           $22,315.48
Mississippi Department of Employment Security
P.O. Box 1699
Jackson, MS 39215                                                   149     12/4/2018            Promise Hospital of Vicksburg, Inc.                                                           $12,279.05                                        $12,279.05
Manley's Boiler LLC
7931 Whitaker Street
Buena Park, CA 90621                                                150     12/4/2018              Promise Healthcare Group, LLC                            $17,072.30                                                                           $17,072.30

Contrarian Funds, LLC as Transferee of Medical Specialties, Inc
Attn: Alisa Mumola
411 West Putnam Ave., Suite 425
Greenwich, CT 06830                                                 151     12/4/2018              Promise Healthcare Group, LLC                            $60,752.59                                                                           $60,752.59
MBK, Inc.
10400 NW 27th Drive
Wildwood, FL 34785                                                  152     12/5/2018              Promise Healthcare Group, LLC                             $3,380.58                                                                            $3,380.58
Rex A. Hymel Co., Inc.
13 Mustang Lane
St. Rose, LA 70087                                                  153     12/5/2018              Promise Healthcare Group, LLC                             $2,604.15                                                                            $2,604.15
STAAR SURGICAL CO.
1911 WALKER AVE.
MONROVIA, CA 91016                                                  154     12/5/2018              Promise Healthcare Group, LLC                             $4,310.10                                                                            $4,310.10
UNIVERSAL METRO, INC.
12253 E. FLORENCE AVE
SANTA FE SPRINGS, CA 90670                                          155     12/5/2018              Promise Healthcare Group, LLC                             $4,883.72                                                                            $4,883.72
ACCUTEMP REFRIGERATION
3231 E WASHINGTON STREET
PHOENIX, AZ 85034                                                   156     12/5/2018              Promise Healthcare Group, LLC                                                                                   $5,015.00                      $5,015.00
POWERSECURE SERVICE, INC.
377 MAITLAND AVE
SUITE 1010
ALTAMONTE SPRINGS, FL 32701                                         157     12/6/2018             Promise Hospital of Phoenix, Inc.                                             $582.42                           $10,201.45                     $10,783.87
ABI Arbor Inc
PO Box 352530
Palm Coast, FL 32135                                                158     12/6/2018      Promise Hospital of Florida at The Villages, Inc.                 $6,603.21                                                                            $6,603.21
Integra Lifesciences
311 Enterprise Dr.
Plainsboro , NJ 08536                                               159     12/6/2018        Promise Hospital of East Los Angeles, L.P.                     $15,129.18                                                                           $15,129.18
Loyal Source Government Services, LLC
Attn: Sarah Clayton, CFO
12612 Challenger Parkway
Suite 365
Orlando, FL 32826                                                   160     12/6/2018             Promise Hospital of Phoenix, Inc.                         $24,878.75                                                                           $24,878.75




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                                                                                                                                                     Amount                                                 Amount
V.C. MEDICAL ENTERPRISES
VIRGINIA K. CASABAR
2223 HILL DRIVE
LOS ANGELES, CA 90041                                            161     12/6/2018             Promise Healthcare Group, LLC                            $15,009.00                                                                           $15,009.00
V.C. MEDICAL ENTERPRISES
VIRGINIA K. CASABAR
2223 HILL DRIVE
LOS ANGELES, CA 90041                                            162     12/6/2018             Promise Healthcare Group, LLC                            $43,822.00                                                                           $43,822.00
South Florida Business Journal
c/o Szabo Associates Inc.
3355 Lenox Road NE, Suite 945
Atlanta, GA 30326                                                163     12/10/2018               Promise Healthcare, Inc.                               $4,897.00                                                                            $4,897.00
Ulrich Medical USA Inc
18221 Edison Ave.
Chesterfield, MO 63005                                           164     11/30/2018            Promise Healthcare Group, LLC                            $18,811.92                                                                           $18,811.92
Axis Satellite
5790 Enterprise Pkwy
Fort Myers, FL 33905                                             165     12/4/2018             Promise Healthcare Group, LLC                              $503.00                                                                              $503.00
AAS Holdings LLC
320 Court Street
Plymouth, MA 02360                                               166     12/3/2018             Promise Healthcare Group, LLC                             $8,300.00                                                                            $8,300.00
Atlantic Biologicals Corp.
d/b/a National Apothecary Solutions
20101 NE 16th Place
Miami, FL 33179                                                  167     12/10/2018           Promise Hospital of Phoenix, Inc.                          $8,296.95                                                                            $8,296.95
Optical Services Company
14445 High Valley Rd.
Poway, CA 92064                                                  168     12/3/2018             Promise Healthcare Group, LLC                              $589.60                                                                              $589.60
Express Recovery Services, Inc.
PO Box 26415
Salt Lake City, UT 84126                                         169     12/3/2018             Promise Healthcare Group, LLC                            $20,677.57                                                                           $20,677.57

CRG Financial LLC as Transferee of Woundkair Concepts, Inc
Attn: Allison R. Axenrod
100 Union Ave
Cresskill, NJ 07626                                              170     12/6/2018             Promise Healthcare Group, LLC                            $79,891.92                                                                           $79,891.92

California Physicians' Service dba Blue Shield of California
50 Beale Street, 22nd Floor
San Francisco, CA 94105                                          171     12/6/2018             Promise Healthcare Group, LLC                            $19,828.03                                                                           $19,828.03
Zaheer Aslam, MD Advanced Psychiatric Care PC
Edward Handy - APC
9400 Gladiolus Dr, Suite 340
Fort Myers, FL 33908                                             172     12/6/2018             Promise Healthcare Group, LLC                             $4,877.40                                                                            $4,877.40
W.W. Grainger, Inc
401 South Wright Road W4E.C37
Janesville, WI 53546                                             173     12/10/2018        Promise Hospital of Baton Rouge, Inc.                        $32,497.25                                                                           $32,497.25
W.W. Grainger, Inc.
401 South Wright Road W4E.C37
Janesville, WI 53546                                             174     12/10/2018       Promise Hospital of East Los Angeles, L.P.                    $32,497.25                                                                           $32,497.25
W.W. Grainger, Inc.
401 South Wright Road W4E.C37
Janesville, WI 53546                                             175     12/10/2018          Promise Hospital of Louisiana, Inc.                        $32,497.25                                                                           $32,497.25
W.W. Grainger, Inc.
401 South Wright Road W4E.C37
Janesville, WI 53546                                             176     12/10/2018              Success Healthcare 1, LLC                              $32,497.25                                                                           $32,497.25


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                                                                                                                                                 Amount                                                 Amount
W.W. Grainger, Inc.
401 South Wright Road W4E.C37
Janesville, WI 53546                                       177     12/10/2018            Promise Healthcare Holdings, Inc.                          $32,497.25                                                                           $32,497.25
Louisiana Department of Environment Quality
Gail Holland
P.O. Box 4302
Baton Rouge, LA 70821                                      178     12/10/2018             Promise Healthcare Group, LLC                              $3,988.20                                                                            $3,988.20
W.W. Grainger, Inc
401 South Wright Road W4E.C37
Janesville, WI 53546                                       179     12/10/2018             Promise Healthcare Group, LLC                             $32,497.25                                                                           $32,497.25
COMMERCIAL ELECTRIC MOTOR SERVICE
3121 WASHINGTON BLVD
ST. LOUIS, MO 63103                                        180     12/10/2018             Promise Healthcare Group, LLC                               $767.75                                                                              $767.75
W.W. Grainger, Inc.
401 South Wright Road
Attn SCD
Janesville, WI 53546                                       181     12/10/2018          Promise Properties of Shreveport, LLC                        $32,497.25                                                                           $32,497.25
W.W. Grainger, Inc.
401 South Wright Road W4E.C37
Janesville, WI 53546                                       182     12/10/2018                   HLP HealthCare, Inc.                                $32,497.25                                                                           $32,497.25
PHYSICAL THERAPY CONSULTANTS INC
THE LAW OFFICES OF JAY B UMANSKY PC
12460 OLIVE BLVD
STE 118
ST. LOUIS, MO 63141                                        183     12/11/2018             Promise Healthcare Group, LLC                             $16,290.48                                                                           $16,290.48
CARDIOVASCULAR SPECIALTIES
14624 SHERMAN WAY #406
VAN NUYS, CA 91405                                         184     12/11/2018             Promise Healthcare Group, LLC                             $34,515.00                                                                           $34,515.00
Health Care Software, Inc.
Attn: Karen Janiszewski
PO Box 2430
Farmingdale, NJ 07727                                      185     12/11/2018             Promise Healthcare Group, LLC                             $54,953.00                                                                           $54,953.00
STAR TRANSPORTATION
4312 CALL FIELD ROAD
WICHITA FALLS, TX 76308                                    186     12/11/2018          Promise Hospital of Wichita Falls, Inc.                       $6,396.00                                                                            $6,396.00
TRANS STAR AMBULANCE
4312 CALL FIELD ROAD
WICHITA FALLS, TX 76308                                    187     12/11/2018          Promise Hospital of Wichita Falls, Inc.                      $17,415.50                                                                           $17,415.50
STAR TRANSPORTATION
4312 CALL FIELD ROAD
WICHITA FALLS, TX 76308                                    188     12/11/2018   Promise Skilled Nursing Facility of Wichita Falls, Inc.             $28,175.00                                                                           $28,175.00
BE WELL NURSING LLC
815 S. CENTRAL AVE.
SUITE 1
GLENDALE, CA 91204                                         189     12/11/2018        Promise Hospital of East Los Angeles, L.P.                                      $208,000.00                                                        $208,000.00
Frank Sager & Son, Inc
4754 Theiss Rd
St. Louis, MO 63128                                        190     12/11/2018             Promise Healthcare Group, LLC                              $5,890.00                                                                            $5,890.00
ClimaStor 7, LLC
5252 MANCUSO LN.
BATON ROUGE, LA 70809                                      191     12/10/2018             Promise Healthcare Group, LLC                                                                 $1,340.00                                         $1,340.00
Stryker Instruments, a Division of Stryker Corporation
c/o Lori L Purkey
Purkey & Associates, PLC
5955 West Main Street, Suite 236
Kalamazoo, MI 49009                                        192     12/12/2018             Promise Healthcare Group, LLC                              $1,184.86                                                                            $1,184.86


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                                                                                                                                                                Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                               Amount                                                 Amount
Texas Carpet Outlet
2801 Kell Blvd
Wichita Falls, TX 76308                                    193     12/12/2018            Promise Healthcare Group, LLC                             $1,811.46                                                                            $1,811.46
PHYSICAL THERAPY CONSULTANTS INC
THE LAW OFFICES OF JAY B UMANSKY PC
12460 OLIVE BLVD
STE 118
ST. LOUIS, MO 63141                                        194     12/12/2018            Promise Healthcare Group, LLC                            $13,804.96                                                                           $13,804.96
PHYSICAL THERAPY CONSULTANTS INC
THE LAW OFFICES OF JAY B UMANSKY PC
12460 OLIVE BLVD
STE 118
ST. LOUIS, MO 63141                                        195     12/12/2018            Promise Healthcare Group, LLC                           $138,040.96                                                                          $138,040.96
Daniels Sharpsmart, Inc
111 W. Jackson Blvd
Suite 1900
Chicago, IL 60604                                          196     12/12/2018            Promise Healthcare Group, LLC                            $45,058.11                                                                           $45,058.11
Stryker Instruments, a Division of Stryker Corporation
c/o Lori L Purkey
Purkey & Associates, PLC
5955 West Main Street, Suite 236
Kalamazoo, MI 49009                                        197     12/12/2018            Promise Healthcare Group, LLC                             $1,184.86                                                                            $1,184.86
PHYSICAL THERAPY CONSULTANTS INC
THE LAW OFFICES OF JAY B UMANSKY PC
12460 OLIVE BLVD STE 118
ST. LOUIS, MO 63141                                        198     12/12/2018            Promise Healthcare Group, LLC                            $13,804.96                                                                           $13,804.96
BRAMMS Corp dba Southwest Portable Air
Southwest Portable Air
3317 S Higley Rd Suite 114-120
Gilbert, AZ 85297                                          199     12/12/2018           Promise Hospital of Phoenix, Inc.                           $999.92                                                                              $999.92
St Jospeh Medical Center
1000 Carondelet Drive
Kansas City, MO 64114                                      200     12/12/2018            Promise Healthcare Group, LLC                           $119,110.85                                                                          $119,110.85
Palm Beach County Tax Collector
Attn: Legal Services Department
P.O. Box 3715
West Palm Beach, FL 33402-3715                             201     12/13/2018               Promise Healthcare, Inc.                                                                      $0.00                                             $0.00
Giffler, Ronald F.
Stacey Fernandez
3141 W. McNab Rd.
Pompano Beach, FL 33069                                    202     12/13/2018            Promise Healthcare Group, LLC                             $1,290.00                                                                            $1,290.00
Eurotrol
850 N. Black Branch Rd.
Elizabethtown, KY 42701                                    203     12/13/2018        Promise Properties of Shreveport, LLC                          $383.00                                                                              $383.00
Hardy Diagnostics
429 S Pioneer Blvd
Springboro, OH 45066                                       204     12/13/2018       Promise Hospital of East Los Angeles, L.P.                     $3,640.43                                                                            $3,640.43
FIRSTPATH
STACEY FERNANDEZ
3141 W MCNAB RD
POMPANO BEACH, FL 33069                                    205     12/13/2018            Promise Healthcare Group, LLC                            $39,071.85                                                                           $39,071.85
Dunn, Brian E.
Attn: Michael D. Stranger - STRONG & HANNI
102 South 200 East
STE 800
Salt Lake City, UT 84111                                   206     12/11/2018               Success Healthcare, LLC                               $62,408.99                                                                           $62,408.99


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                                                                                                                                                                  Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                 Amount                                                 Amount
ENGLAND, MD, LESLIE E
151 JEFF DAVIS BLVD, STE C
NATCHEZ, MS 39120                                         207     12/10/2018              Promise Healthcare Group, LLC                             $27,000.00                                                                           $27,000.00
VAC-TEC, INC.
301 SKYWAY DR.
EULESS, TX 76040                                          208     12/10/2018              Promise Healthcare Group, LLC                              $4,588.18                                                                            $4,588.18
Beckman Coulter, Inc.
250 S. Kraemer Blvd. - D1.NW.03
Brea, CA 92821                                            209     12/10/2018           Promise Hospital of Baton Rouge, Inc.                         $8,437.94                                                                            $8,437.94
Centerpoint Energy
P.O. Box 1700
Houston , TX 77251                                        210     12/10/2018              Promise Healthcare Group, LLC                              $1,163.33                                                                            $1,163.33
Dunn, Brian E.
Strong & Hanni
Attn: Michael D. Stranger
102 South 200 East
Salt Lake City, UT 84111                                  211     12/11/2018                 Promise Healthcare, Inc.                               $62,408.99                                                                           $62,408.99
GEHA, M.D., DANIEL J
8800 STATE LINE ROAD
LEAWOOD, KS 66206-1553                                    212     12/7/2018               Promise Healthcare Group, LLC                             $11,952.00                                                                           $11,952.00
Account Management Services, Inc.
PO Box 2296
Cypress, CA 90630                                         213     12/11/2018              Promise Healthcare Group, LLC                              $3,695.68                                                                            $3,695.68
St. Alexius Hospital/Funding Partners Designee, LLC
Staci Laurino
11036 Tesson Ferry Rd
St. Louis, MO 63123                                       214     12/12/2018              Promise Healthcare Group, LLC                              $6,200.00                                                                            $6,200.00
Steward Healthcare
Central Business Office
Attn: John Eckert Director of Operations
4801 E Washington
Suite 200
Phoenix, AZ 85034                                         215     12/14/2018             Promise Hospital of Phoenix, Inc.                         $332,740.18                                                                          $332,740.18
Living Design Inc.
Attn: Ray Wood
47015 SD Hwy 44
Worthing, SD 57077                                        216     12/17/2018   Promise Skilled Nursing Facility of Overland Park, Inc.               $1,449.92                                                                            $1,449.92
SimpleLTC Systems, LLC
Attn: Accounts Payable
2435 N Central Expwy, Ste 1510
Richardson, TX 75080                                      217     12/17/2018              Promise Healthcare Group, LLC                               $526.00                                                                              $526.00
Schindler Elevator Corporation
1530 Timberwolf Drive
Holland, OH 43528                                         218     12/18/2018            Promise Hospital of Louisiana, Inc.                          $6,228.86                                                                            $6,228.86
Department of the Treasury - Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346                               219     12/14/2018             Promise Healthcare Holdings, Inc.                           $1,000.00                                                                            $1,000.00
Immediate Respiratory Staffers, Inc.
8777 East Via De Ventura
Suite 390
Scottsdale, AZ 85258                                      220     12/18/2018              Promise Healthcare Group, LLC                              $6,533.00                                                                            $6,533.00
The Advisory Board Company
The Advisory Board Company/UHC
Attn: CDM 03B
185 Asylum Street
Hartford, CT 06103                                        221     12/18/2018                 Success Healthcare 1, LLC                             $119,821.15                                                                          $119,821.15


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                                                                                                                                       Amount                                                 Amount
The Advisory Board Company
Attn:CDM
185 Asylum Street 03B
Hartford , CT 06103                                 222     12/18/2018              Success Healthcare 1, LLC                            $119,821.15                                                                          $119,821.15
HEALTH SPECIALISTS, INC.
12345 95TH ST.
SUITE 215
LENEXA, KS 66215                                    223     12/19/2018       Promise Hospital of Overland Park, Inc.                      $13,665.00                                                                           $13,665.00
Ray Cannedy Security & Investigations
1912 Kemp Blvd.
Wichita Falls, TX 76308                             224     12/18/2018        Promise Hospital of Wichita Falls, Inc.                                        $9,385.55                                                          $9,385.55
Ray Cannedy Security & Investigations
1912 Kemp Blvd.
Wichita Falls, TX 76308                             225     12/18/2018        Promise Hospital of Wichita Falls, Inc.                      $9,385.55                                                                            $9,385.55
Landauer, Inc.
2 Science Rd
Glenwood, IL 60425                                  226     12/19/2018         Promise Hospital of Louisiana, Inc.                          $374.00                                                                              $374.00
Reichert, Christina
c/o The Law Offices of Carlin & Buchsbaum, LLP
301 E. Ocean Blvd., Ste. 1550
Long Beach, CA 90802                                227     12/20/2018           Promise Healthcare Group, LLC                                 $0.00                                                                                $0.00
CROWN PHARMACEUTICALS
201 ST CHARLES ST STE. # 114-373
NEW ORLEANS, LA 70170                               228     12/21/2018          Promise Hospital of Phoenix, Inc.                         $14,819.00                                                                           $14,819.00
True-See Systems, LLC
Attn: Patti O. Kemp
5146 Murphy Drive
Metairie, LA 70006                                  229     12/14/2018           Promise Healthcare Group, LLC                              $941.15                                                                              $941.15
ROYCE INTEGRATED SOLUTIONS
3863 PEMBROKE ROAD
HOLLYWOOD, FL 33021                                 230     12/17/2018           Promise Healthcare Group, LLC                              $607.65                                                                              $607.65
Contrarian Funds, LLC as Transferee of Ambu Inc
Attn: Alisa Mumola
411 West Putnam Ave., Suite 425
Greenwich, CT 06830                                 231     12/17/2018           Promise Healthcare Group, LLC                            $24,217.38                                                                           $24,217.38
Tech Electronics Inc.
6437 Manchester Ave
St. Louis, MO 63139                                 232     12/17/2018           Promise Healthcare Group, LLC                              $789.42                                                                              $789.42
Arthrex Inc.
14550 Plantation Rd
Fort Myers , FL 33912                               233     12/17/2018              Success Healthcare 1, LLC                              $2,902.83                                                                            $2,902.83
Rutledge Plumbing Co.
1120 Sheppard Rd.
Burkburnett, TX 76354                               234     12/18/2018           Promise Healthcare Group, LLC                             $2,100.00                                                                            $2,100.00
Natchez Pathology Laboratory
5 Stahlman St
Natchez, MS 39120                                   235     12/18/2018           Promise Healthcare Group, LLC                             $5,631.85                                                                            $5,631.85
Harris, Craig R.
4472 Olyvia Place
Roanoke, VA 24018                                   236     12/19/2018           Promise Healthcare Group, LLC                           $776,500.77                                                                          $776,500.77
Deaf Empowerment Awareness Foundation, Inc.
Attn: Michele Steele
25 E Frisco Ave
Webster Grove, MO 63119                             237     12/19/2018           Promise Healthcare Group, LLC                             $1,320.00                                                                            $1,320.00




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                                                                                                                                          Amount                                                 Amount
Nurses Internet Staffing Services, Inc.
6055 E. Washington Blvd.
Suite 409
Commerce, CA 90040                                    238     12/19/2018            Promise Healthcare Group, LLC                             $8,596.00                                                                            $8,596.00
KSL Billing And Management LLC
Attn: Diane Frett
1314 Bedford Ave
Suite 201
Pikesville , MD 21208                                 239     12/19/2018          St. Alexius Hospital Corporation #1                        $19,164.56                                                                           $19,164.56
Crown Pharmaceuticals, Inc.
201 St Charles Ave Ste. # 114-373
New Orleans, LA 70170                                 240     12/21/2018       Promise Hospital of East Los Angeles, L.P.                      $375.78                                                                              $375.78
Crown Pharmaceuticals, Inc.
201 St Charles Ave Ste. # 114-373
New Orleans, LA 70170                                 241     12/21/2018              Success Healthcare 1, LLC                                $757.52                                                                              $757.52
Concordia Bank & Trust Company
P.O. Box 518
Vidalia, LA 71373                                     242     12/21/2018           Vidalia Real Estate Partners, LLC                                                         $4,374,577.40                                     $4,374,577.40
Louisiana Department of Revenue
P.O. Box 66658
Baton Rouge, LA 70896-6658                            243     12/24/2018            Promise Hospital of Dallas, Inc.                            $68.85           $131.29                                                            $200.14
Louisiana Department of Revenue
P.O. Box 66658
Baton Rouge, LA 70896-6658                            244     12/24/2018          Promise Hospital of Vicksburg, Inc.                          $100.00           $206.55                                                            $306.55
Louisiana Department of Revenue
P.O. Box 66658
Baton Rouge , LA 70896-6658                           245     12/24/2018            Promise Healthcare Group, LLC                              $330.83           $518.96                                                            $849.79
Precision Works, Inc. dba Precision Environmental
Kent W. Keating, Esq.
199 W. Hillcrest Drive
Thousand Oaks, CA 91360                               246     12/21/2018              Success Healthcare 1, LLC                               $3,870.00                         $55,769.60                                        $59,639.60
Louisiana Department of Revenue
P.O. Box 66658
Baton Rouge , LA 70896-6658                           247     12/24/2018               Promise Healthcare, Inc.                                $684.04              $0.00                                                           $684.04
Louisiana Department of Revenue
P.O. Box 66658
Baton Rouge , LA 70896-6658                           248     12/24/2018        Promise Hospital of Baton Rouge, Inc.                          $572.65              $0.00                                                           $572.65
Louisiana Department of Revenue
P.O. Box 66658
Baton Rouge, LA 70896-6658                            249     12/24/2018          Promise Hospital of Louisiana, Inc.                        $49,916.81       $161,383.53                                                        $211,300.34
Precision Works, Inc. dba Precision Environmental
Kent W. Keating, Esq.
199 W. Hillcrest Drive
Thousand Oaks, CA 91360                               250     12/21/2018                HLP of Los Angeles, LLC                               $3,870.00                         $55,769.60                                        $59,639.60
Louisiana Department of Revenue
P.O. Box 66658
Baton Rouge, LA 70896-6658                            251     12/24/2018          Promise Hospital of Ascension, Inc.                        $17,927.18        $12,638.78                                                         $30,565.96
Louisiana Department of Revenue
P.O. Box 66658
Baton Rouge, LA 70896-6658                            252     12/24/2018      Professional Rehabilitation Hospital, L.L.C.                   $50,843.92        $87,124.19                                                        $137,968.11
Atmos Energy Corporation
Attn: Bankruptcy Group
PO Box 650205
Dallas, TX 75265                                      253     12/24/2018            Promise Healthcare Group, LLC                             $3,406.57                                                                            $3,406.57
Quality Staffing Services
888 East 3900 South
Salt Lake City, UT 84107                              254     12/26/2018            Promise Healthcare Group, LLC                             $5,389.55                                                                            $5,389.55

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                                                                                                                                              Amount                                                 Amount
Department of the Treasury - Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346                               255     12/14/2018          St. Alexius Hospital Corporation #1                       $636,296.67                                                                          $636,296.67
Granite Telecommunications LLC
100 Newport Ave Ext
Quincy , MA 02171                                         256     12/26/2018            Promise Healthcare Group, LLC                              $689.63                                                                              $689.63
Louisiana Department of Revenue
P.O. Box 66658
Baton Rouge, LA 70896-6658                                257     12/24/2018                HLP of Shreveport, Inc.                                                  $314.49                                                            $314.49
Body Sealer Inc.
2025 Merrick Rd.
Merrick, NY 11566                                         258     12/26/2018         Promise Healthcare of California, Inc.                        $230.38                                                                              $230.38
Soler, Bill
PO Box 684
York, SC 29745                                            259     12/26/2018            Promise Healthcare Group, LLC                                                                                   $1,251.06                      $1,251.06
All Town Ambulance L.L.C.
13812 Saticoy St. "A"
Panorama City, CA 91402                                   260     12/26/2018            Promise Healthcare Group, LLC                            $29,000.00                                                                           $29,000.00
Pacific National Group
c/o Polis & Associates, APLC
19800 MacArthur Blvd., Suite 1000
Irvine, CA 92612                                          261     12/26/2018            Promise Healthcare Group, LLC                                                            $1,000,619.00                                     $1,000,619.00
Med. Resources Imaging, Inc.
Andrew O. Gomez
3581 Vineland Ave.
Baldwin Park, CA 91706                                    262     12/26/2018            Promise Healthcare Group, LLC                             $3,770.00          $270.75                                $0.00                      $4,040.75
Landauer, Inc.
2 Science Rd
Glenwood, IL 60425                                        263     12/26/2018            Promise Healthcare Group, LLC                             $2,310.50                                                                            $2,310.50
Pacific National Group
c/o Polis & Associates, APLC
19800 MacArthur Blvd., Suite 1000
Irvine , CA 92612                                         264     12/26/2018            Promise Healthcare Group, LLC                           $294,964.03                                                                          $294,964.03
Kansas City Power & Light
P.O. Box 11739
Kansas City, MO 64138-0239                                265     12/26/2018            Promise Healthcare Group, LLC                            $23,284.18                                                                           $23,284.18
Merry X-Ray Corporation
8020 Tyler Blvd
Mentor , OH 44060                                         266     12/20/2018            Promise Healthcare Group, LLC                             $3,736.82                                                                            $3,736.82
Sizewise Rentals, LLC
PO Box 320
Ellis, KS 67637                                           267     12/26/2018            Promise Healthcare Group, LLC                            $14,074.00                                                                           $14,074.00
Sizewise Rentals, LLC
P.O. Box 320
Ellis , KS 67637                                          268     12/26/2018          Promise Hospital of Vicksburg, Inc.                          $936.70                                                                              $936.70
Sizewise Rentals, LLC
P.O. Box 320
Ellis , KS 67637                                          269     12/26/2018          Promise Hospital of Louisiana, Inc.                         $5,068.39                                                                            $5,068.39
Sizewise Rentals, LLC
P.O. Box 320
Ellis , KS 67637                                          270     12/26/2018            Promise Healthcare Group, LLC                              $903.67                                                                              $903.67
American Red Cross
Lori Polacheck, Esq.
431 18th St. NW
Washington, DC 20006                                      271     12/20/2018       Promise Hospital of East Los Angeles, L.P.                    $82,976.59                                                                           $82,976.59




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                                                                                                                                               Amount                                                 Amount
Harbor Pointe Air Conditioning & Control Systems, Inc.
Attn: Hallie D. Hannah, Esq.
100 Pacifica, Suite 370
Irvine, CA 92618                                           272     12/20/2018               Success Healthcare, LLC                                   $0.00                               $0.00                                            $0.00
Harbor Pointe Air Conditioning & Control Systems, Inc.
Attn: Hallie D. Hannah, Esq.
100 Pacifica, Suite 370
Irvine, CA 92618                                           273     12/20/2018       Promise Hospital of East Los Angeles, L.P.                    $27,832.56                                                                           $27,832.56
Sizewise Rentals, LLC
PO Box 320
Ellis, KS 67637                                            274     12/26/2018        Promise Hospital of Baton Rouge, Inc.                        $37,944.88                                                                           $37,944.88
American Red Cross
Lori Polacheck, Esq.
431 18th St. NW
Washington, DC 20006                                       275     12/20/2018       Promise Hospital of East Los Angeles, L.P.                                                                          $18,662.00                     $18,662.00
Ameren Missouri
Bankruptcy Desk MC 310
P.O. Box 66881
Saint Louis , MO 63166                                     276     12/26/2018            Promise Healthcare Group, LLC                            $21,233.01                                                                           $21,233.01
Ambs Message Center, Inc. dba Ambs Call Center
PO Box 1325
Jackson, MI 49204                                          277     12/26/2018            Promise Healthcare Group, LLC                              $985.44                                                                              $985.44
Harbor Pointe Air Conditioning & Control Systems, Inc.
Attn: Hallie D. Hannah, Esq.
100 Pacifica
Suite 370
Irvine, CA 92618                                           278     12/20/2018       Promise Hospital of East Los Angeles, L.P.                        $0.00                               $0.00                                            $0.00
Quest Diagnostics Clinical Laboratories Inc.
Gloria Nash-McNair CV 2035
1201 S Collegeville Rd
Collegeville, PA 19426                                     279     12/20/2018            Promise Healthcare Group, LLC                             $3,121.79                                                                            $3,121.79
Kardell Plumbing, Inc.
5624 S. Compton Avenue
Saint Louis, MO 63111                                      280     12/26/2018            Promise Healthcare Group, LLC                             $4,313.70                                                                            $4,313.70
Glenview Pathology Medical Group, Inc.
Attn: Pathology Dept
3828 Hughes Avenue
Culver City, CA 90232                                      281     12/27/2018            Promise Healthcare Group, LLC                             $7,900.00                                                                            $7,900.00
Patient Telephone Supply, LLC
P.O. Box 84372
Baton Rouge , LA 70884                                     282     12/26/2018            Promise Healthcare Group, LLC                              $323.40                                                                              $323.40
US Med-Equip, LLC
7028 Gessner Rd
Houston , TX 77040                                         283     12/26/2018        Promise Hospital of Baton Rouge, Inc.                           $41.14                                                                               $41.14
US Med-Equip, LLC
7028 Gessner Rd
Houston , TX 77040                                         284     12/26/2018          Promise Hospital of Vicksburg, Inc.                        $38,678.90                                                                           $38,678.90
Hooper, Lundy & Bookman, P.C.
1875 Century Park East
Suite 1600
Los Angeles , CA 90067-2517                                285     12/27/2018               Promise Healthcare, Inc.                              $21,974.74                                                                           $21,974.74
Hooper, Lundy & Bookman, P.C.
1875 Century Park East
Suite 1600
Los Angeles, CA 90067-2517                                 286     12/27/2018              Success Healthcare 1, LLC                               $2,002.10                                                                            $2,002.10




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                                                                                                                                              Amount                                                 Amount
Johnson Controls Inc
Attn: Brian Wilderman LD-9
5757 N Green Bay Ave
Milwaukee, WI 53209                                    287     12/27/2018   Promise Behavioral Health Hospital of Shreveport, Inc.                $9,462.94                                                                            $9,462.94
Landauer, Inc.
2 Science Rd
Glenwood, IL 60425                                     288     12/26/2018              Promise Healthcare Group, LLC                              $3,202.25                                                                            $3,202.25
Landauer, Inc.
2 Science Rd
Glenwood, IL 60425                                     289     12/26/2018              Promise Healthcare Group, LLC                              $2,284.60                                                                            $2,284.60
US Med-Equip, LLC
7028 Gessner Rd
Houston , TX 77040                                     290     12/26/2018              Promise Healthcare Group, LLC                               $883.30                                                                              $883.30
Sizewise Rentals, LLC
P.O. BOX 320
Ellis, KS 67637                                        291     12/26/2018               Promise Hospital of Dallas, Inc.                          $7,568.48                                                                            $7,568.48
US Med-Equip,LLC
7028 Gessner Rd
Houston, TX 77040                                      292     12/26/2018          Promise Hospital of Overland Park, Inc.                       $21,428.44                                                                           $21,428.44
US Med-Equip,LLC
7028 Gessner Rd
HOUSTON, TX 77040                                      293     12/26/2018              Promise Healthcare Group, LLC                              $8,288.96                                                                            $8,288.96
US Med-Equip, LLC
7028 Gessner Rd
Houston , TX 77040                                     294     12/26/2018               Promise Hospital of Dallas, Inc.                          $3,892.85                                                                            $3,892.85
U.S. Med-Equip, LLC
7028 Gessner Rd
Houston, TX 77040                                      295     12/26/2018             Promise Hospital of Louisiana, Inc.                         $3,701.96                                                                            $3,701.96
US Med-Equip, LLC
7028 Gessner Rd
Houston , TX 77040                                     296     12/26/2018    Promise Skilled Nursing Facility of Wichita Falls, Inc.              $1,602.08                                                                            $1,602.08
All Town Ambulance L.L.C.
13812 Saticoy St. "A"
Panorama City, CA 91402                                297     12/26/2018              Promise Healthcare Group, LLC                              $8,858.82                                                                            $8,858.82
Daniels Sharpsmart, Inc
111 W. Jackson Blvd
Suite 1900
Chicago, IL 60604                                      298     12/31/2018                   HLP of Los Angeles, LLC                              $16,425.62                                                                           $16,425.62
US Med-Equip, LLC
7028 Gessner Rd
Houston , TX 77040                                     299     12/26/2018           Promise Hospital of Wichita Falls, Inc.                       $1,830.96                                                                            $1,830.96
Aetna OPT
c/o McCarter & English, LLP
Attn: Kate R. Buck, Esq. & Matthew J. Rifino, Esq.
Renaissance Centre
405 N. King Street, Suite 800
Wilmington, DE 19801                                   300      1/2/2019              Promise Hospital of Louisiana, Inc.                                          $48,265.22                                                         $48,265.22
Aetna OPT
c/o McCarter & English, LLP
Attn: Kate R. Buck, Esq. & Matthew J. Rifino, Esq.
Renaissance Centre
405 N. King Street, Suite 800
Wilmington, DE 19801                                   301      1/2/2019              Promise Hospital of Salt Lake, Inc.                                          $12,079.67                                                         $12,079.67




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                                                                                                                                            Amount                                                Amount
Aetna OPT
c/o McCarter & English, LLP
Attn: Kate R. Buck, Esq. & Matthew J. Rifino, Esq.
Renaissance Centre
405 N. King Street, Suite 800
Wilmington, DE 19801                                   302      1/2/2019            St. Alexius Hospital Corporation #1                                          $3,046.90                                                          $3,046.90
Aetna OPT
c/o McCarter & English, LLP
Attn: Kate R. Buck, Esq. & Matthew J. Rifino, Esq.
Renaissance Centre
405 N. King Street, Suite 800
Wilmington, DE 19801                                   303      1/2/2019             Promise Hospital of Phoenix, Inc.                                            $978.01                                                            $978.01
Aetna OPT
c/o McCarter & English, LLP
Attn: Kate R. Buck, Esq. & Matthew J. Rifino, Esq.
Renaissance Centre
405 N. King Street, Suite 800
Wilmington, DE 19801                                   304      1/2/2019      Promise Hospital of Florida at The Villages, Inc.                                  $2,555.55                                                          $2,555.55
Aetna OPT
c/o McCarter & English, LLP
Attn: Kate R. Buck, Esq. & Matthew J. Rifino, Esq.
Renaissance Centre
405 N. King Street, Suite 800
Wilmington, DE 19801                                   305      1/2/2019               Promise Hospital of Lee, Inc.                                            $11,765.72                                                         $11,765.72
Aetna OPT
c/o McCarter & English, LLP
Attn: Kate R. Buck, Esq. & Matthew J. Rifino, Esq.
Renaissance Centre
405 N. King Street, Suite 800
Wilmington, DE 19801                                   306      1/2/2019                 Success Healthcare 1, LLC                                              $14,653.87                                                         $14,653.87
Aetna OPT
c/o McCarter & English, LLP
Attn: Kate R. Buck, Esq. & Matthew J. Rifino, Esq.
Renaissance Centre
405 N. King Street, Suite 800
Wilmington, DE 19801                                   307      1/2/2019            St. Alexius Hospital Corporation #1                                          $3,046.90                                                          $3,046.90
Aetna OPT
c/o McCarter & English, LLP
Attn: Kate R. Buck, Esq. & Matthew J. Rifino, Esq.
Renaissance Centre
405 N. King Street, Suite 800
Wilmington, DE 19801                                   308      1/2/2019              Promise Hospital of Dallas, Inc.                                           $1,030.40                                                          $1,030.40
Aetna OPT
c/o McCarter & English, LLP
Attn: Kate R. Buck, Esq. & Matthew J. Rifino, Esq.
Renaissance Centre
405 N. King Street, Suite 800
Wilmington, DE 19801                                   309      1/2/2019        Promise Hospital of East Los Angeles, L.P.                                     $344,717.89                                                        $344,717.89
Aetna OPT
c/o McCarter & English, LLP
Attn: Kate R. Buck, Esq. & Matthew J. Rifino, Esq.
Renaissance Centre
405 N. King Street, Suite 800
Wilmington, DE 19801                                   310      1/2/2019             Promise Hospital of Phoenix, Inc.                                            $978.01                                                            $978.01
LANDAUER MEDICAL PHYSICS
2 SCIENCE ROAD
GLENWOOD, IL 60425                                     311      1/2/2019              Promise Healthcare Group, LLC                              $317.34                                                                             $317.34

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                                                                                                                                                   Current General                                        Current 503(b)(9)
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                 Creditor Name and Address                       Claim No. Claim Date                        Debtor                                Unsecured Claim                                         Admin Priority
                                                                                                                                                                        Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                       Amount                                                 Amount
Aetna OPT
c/o McCarter & English, LLP
Attn: Kate R. Buck, Esq. & Matthew J. Rifino, Esq.
Renaissance Centre
405 N. King Street, Suite 800
Wilmington, DE 19801                                               312      1/2/2019        Promise Hospital of East Los Angeles, L.P.                                     $344,719.89                                                        $344,719.89

Contrarian Funds, LLC as Transferee of First Class Nurses, Inc
Attn: Alisa Mumola
411 West Putnam Ave., Suite 425
Greenwich, CT 06830                                                313      1/2/2019             Promise Healthcare Group, LLC                            $77,060.95                                                                           $77,060.95
Aetna OPT
c/o McCarter & English, LLP
Attn: Kate R. Buck, Esq. & Matthew J. Rifino, Esq.
Renaissance Centre
405 N. King Street, Suite 800
Wilmington, DE 19801                                               314      1/2/2019         Promise Hospital of Baton Rouge, Inc.                                           $7,137.72                                                          $7,137.72
Mechanical Cooling Services, LLC
1310 Driftwood Drive
Bossier City, LA 71111                                             315      1/4/2019             Promise Healthcare Group, LLC                             $6,820.00                                                                            $6,820.00
Contrarian Funds, LLC as Transferee of Precision Refrigeration
& Air Conditioning, Inc.
Attn: Alisa Mumola
411 West Putnam Ave., Suite 425
Greenwich, CT 06830                                                316      1/3/2019             Promise Healthcare Group, LLC                            $21,070.00                                                                           $21,070.00
Alamo Mobile X-Ray and EKG Services, Inc.
Attn: Samuel Weinberg
4400 Piedras Dr. S., Ste. 140
San Antonio, TX 78228                                              317      1/4/2019         Promise Hospital of Wichita Falls, Inc.                      $30,855.00                                                                           $30,855.00
Arjo Inc.
Commercial Collection Corp of NY
34 Seymour St
Tonawanda, NY 14150                                                318     12/27/2018       Promise Hospital of East Los Angeles, L.P.                    $75,283.60                                                                           $75,283.60
Corporate Traditions LLC
Dustin Robins
1186 N 300 E
Pleasant Grove, UT 84062                                           319     12/27/2018            Promise Healthcare Group, LLC                              $592.00                                                                              $592.00

Superior Acquisitions, LLC d/b/a Superior Equipment Co.
Steven M. Hamburg
231 So. Bemiston Ave Suite 1111
St. Louis, MO 63105                                                320     12/27/2018          St. Alexius Hospital Corporation #1                          $841.76                                                                              $841.76
Coy Landscaping and Maintenance, Inc., an Arizona
corporation
c/o Ronald W. Meyer, Esq.
5727 N. 7th Street, Ste. 407
Phoenix, AZ 85014                                                  321     12/27/2018            Promise Healthcare Group, LLC                             $5,055.05                                                                            $5,055.05
Weiss Staffing Solutions LLC
c/o Cascade Health Services
1045 Swift Avenue
N Kansas City, MO 64116                                            322     12/28/2018        Promise Hospital of Overland Park, Inc.                     $104,200.08                                                                          $104,200.08
LIFELINE RENAL CARE LLC
2517 SCOTTI STREET
LEWISVILLE, TX 75056                                               323     12/27/2018            Promise Healthcare Group, LLC                             $5,379.91                                                                            $5,379.91




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                                                                                                                                                   Current General                                         Current 503(b)(9)
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                                                                                                                                                       Amount                                                  Amount
CITY OF LOS ANGELES, OFFICE OF FINANCE
LOS ANGELES CITY ATTORNEY'S OFFICE
200 N. MAIN STREET, STE. 920
LOS ANGELES, CA 90012                                           324      1/2/2019                  Success Healthcare 1, LLC                              $82,128.23        $212,712.17                                                        $294,840.40
Alpha Nursing Services, Inc.
820 Jordan St.
Suite 308
Shreveport, LA 71101                                            325      1/3/2019           Promise Properties of Shreveport, LLC                         $16,301.58                                                                            $16,301.58
Wallace, Robert W
c/o Leslie Quinn Esq. PLLC
7867 SE 12th Circle
Ocala, FL 34480                                                 326      1/3/2019               Promise Healthcare Group, LLC                              $7,899.71                                                                             $7,899.71
Alamo Mobile X-Ray and EKG Services, Inc.
Attn: Samuel Weinberg
4400 Piedras Dr. S., Ste. 140
San Antonio, TX 78228                                           327      1/4/2019    Promise Skilled Nursing Facility of Wichita Falls, Inc.               $6,730.00                                                                             $6,730.00
Alamo X-Ray and EKG Services, Inc.
Samuel Weinberg
4400 Piedras Dr. S., Ste. 140
San Antonio, TX 78228                                           328      1/4/2019                    HLP HealthCare, Inc.                                 $35,830.00                                                                            $35,830.00
IBM Credit LLC
Attn: Marie-Josee Dube
275 Viger East
Montreal, QC H2X 3R7
Canada                                                          329      1/4/2019                  Promise Healthcare, Inc.                             $1,401,215.10                                                                        $1,401,215.10
Cellco Partnership d/b/a Verizon Wireless, on behalf of its
affiliates and subsidiaries
William M Vermette
22001 Loudoun County Pkwy
Ashburn, VA 20147                                               330      1/4/2019               Promise Healthcare Group, LLC                              $9,919.82                                                                             $9,919.82
Bio-Rad Laboratories, Inc.
Legal Dept.
1000 Alfred Nobel Drive, Mailstop 1-130
Hercules, CA 94547                                              331      1/4/2019               Promise Healthcare Group, LLC                              $2,347.97                                                                             $2,347.97
LYNN CARE LLC DBA ZACK GROUP
6600 COLLEGE BLVD.
SUITE 300
OVERLAND PARK, KS 66211                                         332      1/4/2019             St. Alexius Hospital Corporation #1                         $21,227.93         $12,850.00                                                         $34,077.93
Lynn Care LLC dba Zack Group
Zack Group
6600 College Blvd, Ste 300
Overland Park, KS 66211                                         333      1/4/2019    Promise Skilled Nursing Facility of Overland Park, Inc.                                  $7,317.00                                                          $7,317.00
Lynn Care LLC dba Zack Group
Zack Group
6600 College Blvd, Ste 300
Overland Park, KS 66211                                         334      1/4/2019           Promise Hospital of Overland Park, Inc.                       $31,521.50         $12,850.00                                                         $44,371.50
Greenberg & Strelitz, P.A.
Attn: Jeffrey L. Greenberg
2500 N. Military Trail, Suite 235
Boca Raton, FL 33431                                            335      1/7/2019                  Promise Healthcare, Inc.                               $70,827.50                                                                            $70,827.50
CREST HEALTHCARE SUPPLY
PO BOX 727
195 THIRD STREET S
DASSEL, MN 55325                                                336     12/27/2018              Promise Healthcare Group, LLC                              $1,092.09                                                                             $1,092.09




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                Creditor Name and Address   Claim No. Claim Date                          Debtor                                Unsecured Claim                                         Admin Priority
                                                                                                                                                     Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                    Amount                                                 Amount
GE Healthcare OEC
c/o Stephanie F. Gilley, Authorized Agent
25 Whitney Drive, Suite 106
Milford, OH 45150                             337      1/7/2019         Promise Hospital of East Los Angeles, L.P.                      $1,785.65                                                                            $1,785.65
Immucor, Inc
3130 Gateway Drive
Norcross, GA 30071                            338     12/26/2018           St. Alexius Hospital Corporation #1                          $4,497.51                                                                            $4,497.51
Sonos Links LLC
204 E. Mckenzie Street
Suite E8
Punta Gorda, FL 33950                         339      1/4/2019              Promise Healthcare Group, LLC                              $2,700.00                                                                            $2,700.00
GE Healthcare OEC
c/o Stephanie F. Gilley, Authorized Agent
25 Whitney Drive, Suite 106
Milford, OH 45150                             340      1/7/2019             Promise Hospital of Louisiana, Inc.                          $617.03                                                                              $617.03
GE Healthcare OEC
c/o Stephanie F. Gilley, Authorized Agent
25 Whitney Drive, Suite 106
Milford, OH 45150                             341      1/7/2019               Promise Hospital of Dade, Inc.                           $34,636.69                                                                           $34,636.69
GE Healthcare Datex
c/o Stephanie F. Gilley, Authorized Agent
25 Whitney Drive, Suite 106
Milford, OH 45150                             342      1/7/2019         Promise Hospital of East Los Angeles, L.P.                      $2,416.42                                                                            $2,416.42
GE Healthcare OEC
c/o Stephanie F. Gilley, Authorized Agent
25 Whitney Drive, Suite 106
Milford, OH 45150                             343      1/7/2019                  Promise Healthcare, Inc.                                  $0.00                                                                                $0.00
Alamo Mobile X-Ray and EKG Services, Inc.
Samuel Weinberg
100 Challenger Road, Suite 105
Ridgefield Park, NJ 07660                     344      1/8/2019               Promise Hospital of Dallas, Inc.                         $35,830.00                                                                           $35,830.00
TriMed, Inc.
27533 Avenue Hopkins
Santa Clarita, CA 91355                       345      1/8/2019                   HLP of Los Angeles, LLC                               $5,009.42                                                                            $5,009.42
Alamo Moblie X-Ray and EKG Services, Inc.
Samuel Weinberg
100 Challenger Road, Suite 105
Ridgefield Park, NJ 07660                     346      1/8/2019    Promise Skilled Nursing Facility of Wichita Falls, Inc.              $6,730.00                                                                            $6,730.00
Alamo Mobile X-Ray and EKG Services, Inc.
Samuel Weinberg
100 Challenger Road, Suite 105
Ridgefield Park, NJ 07660                     347      1/8/2019           Promise Hospital of Wichita Falls, Inc.                      $30,855.00                                                                           $30,855.00
First Databank, Inc.
500 E. 96th Street, Ste 500
Indianapolis, IN 46240                        348      1/9/2019              Promise Healthcare Group, LLC                             $70,759.00                                                                           $70,759.00
Johnson Controls Inc
Attn: Brian Wilderman LD-9
5757 N Green Bay Ave
Milwaukee, WI 53209                           349      1/9/2019            St. Alexius Hospital Corporation #1                          $1,131.85                                                                            $1,131.85
Isolation Door Caddy LLC
1917 Benjamin Drive
Salisbury, NC 28146                           350      1/9/2019          Promise Hospital of Overland Park, Inc.                                                                               $590.91                        $590.91
NATIONAL HEALTH TRANSPORT INC.
2950 NW 7TH AVENUE
MIAMI, FL 33127                               351      1/9/2019               Promise Hospital of Dade, Inc.                            $8,886.75                                                                            $8,886.75




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                Creditor Name and Address             Claim No. Claim Date                            Debtor                                 Unsecured Claim                                         Admin Priority
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                                                                                                                                                 Amount                                                 Amount
California Department of Tax and Fee Administration
(functional successor to Board of Equalization 7
Special Ops, MIC:55
P.O. Box 942879
Sacramento , CA 94279-0055                              352      1/9/2019            Promise Hospital of East Los Angeles, L.P.                                        $4,707.62                                                          $4,707.62
First Databank, Inc.
500 E. 96th Street, Ste 500
Indianapolis, IN 46240                                  353      1/9/2019    PHG Technology Development and Services Company, Inc.                 $212,288.00                                                                          $212,288.00
Verathon
20001 North Creek Pkwy N
Bothell, WA 98011                                       354      1/9/2019                Promise Hospital of Salt Lake, Inc.                        $12,753.78                                                                           $12,753.78
Stryker Medical, a Division of Stryker Corporation
c/o Lori L Purkey
Purkey & Associates, PLC
5955 West Main Street, Suite 236
Kalamazoo, MI 49009                                     355     1/10/2019                 Promise Healthcare Group, LLC                             $13,379.10                                                                           $13,379.10
Affordable Cartridge and Toner Depot, Inc.
4613 North University Drive
Unit # 506
Coral Springs, FL 33067                                 356     1/10/2019                 Promise Healthcare Group, LLC                              $1,264.16                                                                            $1,264.16
Affordable Cartridge and Toner Depot, Inc.
4613 North University Drive
Unit # 506
Coral Springs, FL 33067                                 357     1/10/2019               Promise Hospital of Ascension, Inc.                          $2,179.79                                                                            $2,179.79
X-Spine Systems Inc.
Goldman Evans and Trammell LLC
10323 Cross Creek Blvd F
Tampa , FL 33647                                        358      1/8/2019                 Promise Healthcare Group, LLC                              $3,900.00                                                                            $3,900.00
GE Healthcare OEC
c/o Stephanie F. Gilley, Authorized Agent
25 Whitney Drive, Suite 106
Milford, OH 45150                                       359     1/10/2019         Promise Hospital of Florida at The Villages, Inc.                  $1,926.00                                                                            $1,926.00
Affordable Cartridge and Toner Depot, Inc.
4613 North University Drive
Unit #506
Coral Springs, FL 33067                                 360     1/10/2019                  Promise Hospital of Lee, Inc.                             $1,240.08                                                                            $1,240.08
Affordable Cartridge and Toner Depot, Inc.
4613 North University Drive
Unit # 506
Coral Springs, FL 33067                                 361     1/10/2019      Promise Skilled Nursing Facility of Overland Park, Inc.                $119.99                                                                              $119.99
Affordable Cartridge and Toner Depot, Inc.
4613 North University Drive
Unit # 506
Coral Springs, FL 33067                                 362     1/10/2019            Promise Hospital of East Los Angeles, L.P.                      $7,175.08                                             $1,845.78                      $9,020.86
RELIANCE WHOLESALE, INC.
DANIEL K. BANDKLAYDER, P.A.
11130 N. KENDALL DRIVE
SUITE 104
MIAMI, FL 33176                                         363     1/10/2019               Promise Hospital of Louisiana, Inc.                         $11,335.88                                                                           $11,335.88
Cure Staffing, LLC
7000 N. Mopac
Suite 200
Austin, TX 78731                                        364     1/10/2019                 Promise Hospital of Dallas, Inc.                          $17,703.05                                                                           $17,703.05
Reliance Wholesale, Inc.
Daniel K. Bandklayder, P.A.
11130 N. Kendall Drive, Suite 104
Miami, FL 33176                                         365     1/10/2019                Promise Hospital of Phoenix, Inc.                          $18,733.90                                                                           $18,733.90

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                 Creditor Name and Address                       Claim No. Claim Date                       Debtor                                Unsecured Claim                                           Admin Priority
                                                                                                                                                                         Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                      Amount                                                   Amount
American Red Cross
Lori Polacheck, Esq.
431 18th St. NW
Washington, DC 20006                                               366      1/7/2019          St. Alexius Hospital Corporation #1                         $12,400.01                                                                            $12,400.01
American Red Cross
Lori Polacheck, Esq.
431 18th St. NW
Washington, DC 20006                                               367      1/7/2019               Success Healthcare 1, LLC                              $27,927.57                                                                            $27,927.57
American Red Cross
Lori Polacheck, Esq.
431 18th St. NW
Washington, DC 20006                                               368      1/7/2019          St. Alexius Hospital Corporation #1                                                                                 $3,082.00                      $3,082.00
American Red Cross
Lori Polacheck, Esq.
431 18th St. NW
Washington, DC 20006                                               369      1/7/2019               Success Healthcare 1, LLC                                                                                      $5,029.00                      $5,029.00
Wassman, Patrick
Avard Law Offices
PO Box 101110
Cape Coral, FL 33910                                               370      1/4/2019            Promise Healthcare Group, LLC                          $10,000,000.00                                                                       $10,000,000.00
YEE, BRIAN
10415 SANTA MARTA ST
CYPRESS, CA 90630                                                  371      1/8/2019            Promise Healthcare Group, LLC                                $500.00         $12,850.00                                                         $13,350.00
United Medical Staffing, Inc.
109 South College Rd.
Lafayette, LA 70503                                                372     1/11/2019         Promise Hospital of Baton Rouge, Inc.                          $2,299.06                                                                            $2,299.06
Sherwin Williams Co.
915 Murray Dr
Suite 338
Lexington , KY 40505                                               373      1/8/2019            Promise Healthcare Group, LLC                               $3,069.60                                                                            $3,069.60
Stout, Rainy J
16941 Green Lane #1
Huntington Beach, CA 92649                                         374      1/9/2019            Promise Healthcare Group, LLC                                                 $1,230.76                                                          $1,230.76
Chemaqua
Credit Dept
2727 Chemsearch Dr
Irving, TX 75062                                                   375      1/8/2019            Promise Healthcare Group, LLC                               $4,978.93                                                                            $4,978.93
Affordable Cartridge and Toner Depot, Inc.
4613 North University Drive
Unit # 506
Coral Springs, FL 33067                                            376     1/10/2019            Promise Hospital of Dade, Inc.                              $5,135.72                                                                            $5,135.72
Affordable Cartridge and Toner Depot, Inc.
4613 North University Drive
Unit # 506
Coral Springs, FL 33067                                            377     1/10/2019        Promise Hospital of Overland Park, Inc.                         $2,466.72                                              $201.72                       $2,668.44
Fresenius Medical Care Wichita Falls, LLC d/b/a Fresenius Care
North Texas
c/o Fresenius Medical Care North America
Attn: Russell P. Plato, Assistant General Counsel
920 Winter Street
Waltham, MA 02451                                                  378     1/11/2019         Promise Hospital of Wichita Falls, Inc.                      $53,889.86                                                                            $53,889.86
Bio-Medical Applications of Louisiana, LLC d/b/a FMC Dialysis
Services Baton Rouge
c/o Fresenius Medical Care North America
Attn: Russell P. Plato, Assistant General Counsel
920 Winter Street
Waktham, MA 02451                                                  379     1/11/2019         Promise Hospital of Baton Rouge, Inc.                       $143,447.34                                                                           $143,447.34

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                                                                                                                                                         Amount                                                 Amount

Bio-Medical Application of Florida, Inc. d/b/a BMA Gainesville
c/o Fresenius Medical Care North America
Attn: Russell P. Plato, Assistant General Counsel
920 Winter Street
Waltham, MA 02451                                                   380     1/11/2019      Promise Hospital of Florida at The Villages, Inc.                $86,892.87                                                                           $86,892.87
RCG Mississippi, Inc.
Fresenius Medical North America
920 Winter Street
Waltham, MA 02451                                                   381     1/11/2019        Professional Rehabilitation Hospital, L.L.C.                   $33,426.66                                                                           $33,426.66
James Ratliff MD LLC
13184 W Waterside Dr
Baton Rouge, LA 70818                                               382     1/11/2019          Promise Hospital of Baton Rouge, Inc.                                          $30,240.00                                                         $30,240.00
RCG Mississippi, Inc. d/b/a RCG Delta
c/o Fresenius Medical Care North America
Attn: Russell P. Plato, Assistant General Counsel
920 Winter Street
Waltham, MA 02451                                                   383     1/11/2019            Promise Hospital of Vicksburg, Inc.                        $33,682.89                                                                           $33,682.89
Bio-Medical Applications of Louisiana, LLC d/b/a Shreveport
Regional Dialysis Center
1111 Medical Center
Boulevard Suite S-150
Marrero, LA 70072                                                   384     1/11/2019            Promise Hospital of Louisiana, Inc.                       $121,834.25                                                                          $121,834.25
Bio Medical Application of Florida, Inc. d/b/a Naples Inpatient
Services
c/o Fresenius Medical Care North America
Attn: Russell P. Plato, Assistant General Counsel
920 Winter Street
Waltham, MA 02451-1457                                              385     1/11/2019               Promise Hospital of Lee, Inc.                           $84,543.39                                                                           $84,543.39
FUENTES, SHARON J.
9325 WESTHILL LANE
LAKESIDE, CA 92040                                                  386     1/11/2019              Promise Healthcare Group, LLC                                              $10,000.00            $0.00                                        $10,000.00
Independent Tax Group dba Training Refund Group
5051 ORANGETHORPE AVE #E
ANAHEIM, CA 92807                                                   387      1/8/2019        Promise Hospital of East Los Angeles, L.P.                      $7,682.00                                                                            $7,682.00
Contractors Termite and Pest Control Inc
24825 N 16th Ave #140
Phoenix, AZ 85085                                                   388     1/14/2019             Promise Hospital of Phoenix, Inc.                          $1,280.00                                                                            $1,280.00
MedRX Infusion Clinical Pharmacy, LLC
Law Offices of Stephen L. Joseph
Stephen L. Joseph
1880 Century Park East, Suite 1101
Los Angeles, CA 90067                                               389     1/14/2019        Promise Hospital of East Los Angeles, L.P.                     $20,656.05                                                                           $20,656.05
KIM MD, IN SOO
15211 VANOWEN ST
SUITE 206
VAN NUYS, CA 91405                                                  390     1/14/2019              Promise Healthcare Group, LLC                            $39,250.00                                                                           $39,250.00
Eisner, A Professional Corporation
Damian D. Capozzola
633 W. Fifth Street, 26th Floor
Los Angeles, CA 90071                                               391     1/14/2019                 Promise Healthcare, Inc.                              $57,019.55                                                                           $57,019.55
Computer Configuration Services, LLC
Attn: Stacey A Orlandos
3002 Dow Ave. Ste 402
Tustin, CA 92780                                                    392     1/15/2019              Promise Healthcare Group, LLC                              $513.33                                                                              $513.33




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                                                                                                                                                            Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                           Amount                                                 Amount
IV Access, Inc.
799 NE 2nd Ave
Delray Beach, FL 33444                               393     1/15/2019               Promise Properties of Lee, Inc.                          $47,500.00                                                                           $47,500.00
WICHITA COUNTY
PERDUE, BRANDON, FIELDER, COLLINS & MOTT, L.L.P.
PO BOX 8188
WICHITA FALLS, TX 76307                              394     1/15/2019    Promise Skilled Nursing Facility of Wichita Falls, Inc.                                                                                    $9,016.27      $9,016.27
WICHITA COUNTY
PERDUE, BRANDON, FIELDER, COLLINS & MOTT, L.L.P.
PO BOX 8188
WICHITA FALLS, TX 76307                              395     1/15/2019              Promise Healthcare Group, LLC                                                                                                   $22,672.69     $22,672.69
WICHITA COUNTY
PERDUE, BRANDON, FIELDER, COLLINS & MOTT, LLP
JEANMARIE BAER
PO BOX 8188
WICHITA FALLS, TX 76307                              396     1/15/2019           Promise Hospital of Wichita Falls, Inc.                                                                                            $13,656.42     $13,656.42
Faultless Healthcare
Faultless Laundry Company
330 W 19th Terrace
Kansas City, MO 64108                                397     1/16/2019            St. Alexius Hospital Corporation #1                         $82,447.99                                                                           $82,447.99
Total Scope, Inc.
17 Creek Parkway
Upper Chichester, PA 19061                           398     1/16/2019                 Success Healthcare 1, LLC                               $3,750.00                                                                            $3,750.00
Aguilar, Luis
14455 SW 288 St
Homestead, FL 33033                                  399     1/16/2019              Promise Healthcare Group, LLC                               $675.00                                                                              $675.00
Mississippi Department of Revenue
Bankruptcy Section
PO Box 22808
Jackson, MS 39225                                    400     1/16/2019             Promise Hospital of Vicksburg, Inc.                                                           $17,695.89                                        $17,695.89
Dharma Medical Imaging
Santosh Sankepally Reddy
12331 Palm St
Cerritos, CA 90703                                   401     1/16/2019         Promise Hospital of East Los Angeles, L.P.                     $47,700.00                                                                           $47,700.00
Talbot Group, LLC
11741 W. ROMIN ROAD
POST FALLS, ID 83854-4716                            402     1/17/2019            St. Alexius Hospital Corporation #1                         $58,807.16                                                                           $58,807.16
Express Ambulance
Grant Mercantile Agency
PO Box 658
Oakhurst, CA 93644                                   403     1/14/2019              Promise Healthcare Group, LLC                             $23,189.41                                                                           $23,189.41
American Pad-Ex. Inc.
P.O. Box 2257
Gardena, CA 90247                                    404     1/14/2019              Promise Healthcare Group, LLC                             $18,744.50                                                                           $18,744.50
Medicab Transportation, LLC
3049 Cleveland Avenue
#275
Fort Myers , FL 33901                                405     1/10/2019              Promise Healthcare Group, LLC                              $9,467.00                                                                            $9,467.00
Cerner Corporation
P.O. Box 412702
Kansas City, MO 64141-2702                           406     1/11/2019              Promise Healthcare Group, LLC                              $5,534.65                                                                            $5,534.65
Arkadin Inc
Tonya Booth
1501 E. Woodfield Road
Schaumburg , IL 60173                                407     1/14/2019              Promise Healthcare Group, LLC                                 $0.00                                                                                $0.00




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                                                                                                                                    Amount                                                 Amount
Medreach Ambulance Services
Grant Mercantile Agency
PO Box 658
Oakhurst , CA 93644                             408     1/14/2019             Promise Healthcare Group, LLC                            $85,094.55                                                                           $85,094.55
ScImage Inc.
4916 El Camino Real
Los Altos, CA 94022                             409     1/17/2019             Promise Healthcare Group, LLC                            $26,666.72                                                                           $26,666.72
FedEx Corporate Services Inc.
3965 Airway Blvd Module G, 3rd Floor
Memphis, TN 38116-5017                          410     1/11/2019             Promise Healthcare Group, LLC                             $8,206.09                                                                            $8,206.09
Officeteam
Robert Half
Attn: Karen Lima
PO Box 5024
San Ramon , CA 94583                            411     1/14/2019               St. Alexius Properties, LLC                             $2,277.79                                                                            $2,277.79
The Talbot Group LLC
11741 W Romin Rd
Post Falls , ID 83854                           412     1/17/2019               Success Healthcare 1, LLC                              $38,875.00                                                                           $38,875.00
Talbot Group, LLC
11741 W. ROMIN ROAD
POST FALLS, ID 83854-4716                       413     1/17/2019                Promise Healthcare, Inc.                              $55,459.05                                                                           $55,459.05
LIFTECH ELEVATOR SERVICES, INC.
2897 GARDENA AVE
SIGNAL HILL, CA 90755                           414     1/17/2019        Promise Hospital of East Los Angeles, L.P.                     $1,834.66                                                                            $1,834.66
C. R. Bard, Inc.
c/o Hunton Andrews Kurth LLP
Attn: Robert A. Rich, Esq.
200 Park Avenue
New York, NY 10166                              415     1/18/2019        Promise Hospital of East Los Angeles, L.P.                                                                           $8,240.70                      $8,240.70
C. R. Bard, Inc.
c/o Hunton Andrews Kurth LLP
Attn: Robert A. Rich, Esq.
200 Park Avenue
New York, NY 10166                              416     1/18/2019           Promise Hospital of Vicksburg, Inc.                         $7,492.53                                                                            $7,492.53
Tirmizi, Syed Omar
4340 Overland Avenue
Culver City, CA 90230                           417     1/21/2019             Promise Healthcare Group, LLC                                              $14,300.00                                                         $14,300.00
PROCARE ONE
P.O. BOX 301076
DALLAS, TX 75303-1076                           418     1/21/2019             Promise Healthcare Group, LLC                           $424,673.99                                                                          $424,673.99
MEDIPRO MEDICAL STAFFING, LLC
ATTN: MCNAIR ZIMBALIST
6565 SUNSET BLVD, SUITE # 313
LOS ANGELES, CA 90028                           419     1/18/2019               Success Healthcare 1, LLC                               $6,816.51                                                                            $6,816.51
MEDIPRO MEDICAL STAFFING, LLC
ATTN: MCNAIR ZIMBALIST
6565 SUNSET BLVD, SUITE # 313
LOS ANGELES, CA 90028                           420     1/18/2019        Promise Hospital of East Los Angeles, L.P.                   $158,511.03                                                                          $158,511.03
Doctors Infection Control Services, Inc.
DICS c/o Barness & Barness LLP
13636 Ventura Blvd.
Los Angeles , CA 91423                          421     1/22/2019             Promise Healthcare Group, LLC                                              $78,533.33                                                         $78,533.33
Doctors Infection Control Services
Barness & Barness LLP
Daniel I. Barness
13636 Ventura Blvd.
Los Angeles, CA 91423                           422     1/22/2019        Promise Hospital of East Los Angeles, L.P.                    $78,533.33                                                                           $78,533.33

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Doctors Infection Control Services, Inc.
c/o Barness & Barness LLP
13636 Ventura Blvd.
Los Angeles, CA 91423                             423     1/22/2019                      PH-ELA, Inc.                                    $78,533.33                                                                           $78,533.33
Occupational Health Centers of Kansas P.A
P.O. Box 369
Lombard, IL 60148                                 424     1/22/2019             Promise Healthcare Group, LLC                             $1,744.00                                                                            $1,744.00
Computer Configuration Services, LLC
3002 Dow Ave. Ste 402
Tustin, CA 92780                                  425     1/22/2019             Promise Healthcare Group, LLC                              $513.33                                                                              $513.33
MARVEL CONSULTANTS INC.
28601 CHARGRIN BLVD. #210
CLEVELAND, OH 44122                               426     1/22/2019              Promise Hospital of Lee, Inc.                                                                                 $16,000.00                     $16,000.00
Musculoskeletal Institute of LA
1534 Elizabeth Avenue, Ste 201
Shreveport, LA 71101                              427     1/22/2019             Promise Healthcare Group, LLC                             $9,847.49                                                                            $9,847.49
PICCS R Us Nursing Inc
3553 ATLANTIC AVE #357
LONG BEACH, CA 90807                              428     1/22/2019             Promise Healthcare Group, LLC                            $24,775.00                                                                           $24,775.00
Time Warner Cable
7820 Crescent Executive Drive 1st Floor
Charlotte, NC 28217                               429     1/23/2019             Promise Healthcare Group, LLC                              $393.08                                                                              $393.08
Mechanical Solutions, LLC
PO BOX 19103
SHREVEPORT, LA 71149                              430     1/23/2019             Promise Healthcare Group, LLC                             $1,170.00                                                                            $1,170.00
MModal Services, Ltd.
5000 Meridian Blvd, Suite 200
Franklin, TN 37067                                431     1/24/2019           St. Alexius Hospital Corporation #1                        $27,121.54                                                                           $27,121.54
Omega Door & Hardware
924 Division St
Kansas City, KS 66103                             432     1/24/2019         Promise Hospital of Overland Park, Inc.                       $1,258.75                                                                            $1,258.75
Heritage Healthcare Services, Inc.
McCarter & English LLP
Kate Roggio Buck & Matthew J. Rifino, Esquire
Renaissance Center
405 North King Street, Suite 800
Wilmington, DE 19801                              433     1/24/2019             Promise Hospital of Dade, Inc.                          $110,845.30                                            $21,593.24                    $132,438.54
Park Place International, LLC
Goulston & Storrs PC
c/o Peter D. Bilowz, Esq.
400 Atlantic Avenue
Boston, MA 02110                                  434     1/24/2019                Promise Healthcare, Inc.                             $341,356.89                                                                          $341,356.89
Heritage Healthcare Services, Inc.
McCarter & English LLP
Kate Roggio Buck & Matthew J. Rifino, Esquire
Renaissance Center
405 North King Street, Suite 800
Wilmington, DE 19801                              435     1/24/2019              Promise Hospital of Lee, Inc.                           $89,358.53                                            $21,619.00                    $110,977.53
Harris County, et al
Linebarger Goggan Blair & Sampson, LLP
Attn: John P. Dillman
PO Box 3064
Houston, TX 77253-3064                            436     1/22/2019             Promise Healthcare Group, LLC                                                                    $0.00                                             $0.00
MModal Services, Ltd.
5000 Meridian Blvd
Suite 200
Franklin, TN 37067                                437     1/24/2019        Promise Hospital of East Los Angeles, L.P.                   $313,454.00                                                                          $313,454.00

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MModal Services, Ltd
5000 Meridian Blvd., Suite 200
Franklin, TN 37067                                              438     1/24/2019              Success Healthcare 1, LLC                             $560,384.00                                                                          $560,384.00
Airscan Technologies
131 Davis Ct
Springtown, TX 76082                                            439     1/18/2019           Promise Healthcare Group, LLC                              $1,725.00                                                                            $1,725.00
Stanley Steemer of Los Angeles County, Inc., a California
corporation
McIntyre Law Group
166 W. Ramsey St.
Banning, CA 92220                                               440     1/22/2019           Promise Healthcare Group, LLC                             $81,705.00                                                                           $81,705.00
Claim docketed in error
                                                                441     1/22/2019           Promise Healthcare Group, LLC                                                                                                                       $0.00
GFI DIGITAL
3236 W. EDGEWOOD STE A
JEFFERSON CITY, MO 65109                                        442     1/22/2019           Promise Healthcare Group, LLC                              $5,280.48                                                                            $5,280.48
Gibbs Technology Leasing
3236 W. Edgewood Dr.
St A
Jefferson City, MO 65109                                        443     1/22/2019           Promise Healthcare Group, LLC                              $7,059.73                                                                            $7,059.73
Neurology Mobile System Associates, Inc.
10661 SW 88th St, Suite 104
Miami, FL 33176                                                 444     1/25/2019           Promise Healthcare Group, LLC                                                $5,600.00                                                          $5,600.00
FOOD MANAGEMENT GROUP, INC.
CRAIG P. BOUDREAUX, JR., CEO
70 JESSE DUPONT MEMORIAL HWY
BURGESS, VA 22432                                               445     1/22/2019           Promise Healthcare Group, LLC                                              $184,323.62                                                        $184,323.62
Concentric Healthcare Solutions d/b/a Concentric Healthcare
Staffing
Burch & Cracchiolo, P.A.
Alan A. Meda, Esq.
702 E. Osborn Rd., Suite 200
Phoenix, AZ 85014                                               446     1/25/2019           Promise Hospital of Phoenix, Inc.                         $88,474.63                                                                           $88,474.63
DOMA Technologies, LLC
Attn: Accounting
841 Seahawk Circle
Virginia Beach, VA 23452                                        447     1/28/2019               Promise Healthcare, Inc.                              $16,939.54                                                                           $16,939.54
Laboratory Corporation of America
c/o Johnson Legal Network PLLC
535 Wellington Way Suite 380
Lexington, KY 40503                                             448     1/30/2019          St. Alexius Hospital Corporation #1                        $22,460.24                                                                           $22,460.24
Laboratory Corporation of America
c/o Johnson Legal Network PLLC
535 Wellington Way Suite 380
Lexington, KY 40503                                             449     1/30/2019                Quantum Health, Inc.                                $157,808.00                                                                          $157,808.00
Liberty Hardware, LLC
3827 South Broadway
St. Louis, MO 63118                                             450     1/24/2019           Promise Healthcare Group, LLC                              $7,636.25                                                                            $7,636.25
Concentric Healthcare Solutions d/b/a Concentric Healthcare
Staffing
Burch & Cracchiolo, P.A.
Alan A. Meda, Esq.
702 E. Osborn Rd., Suite 200
Phoenix, AZ 85014                                               451     1/28/2019           Promise Hospital of Phoenix, Inc.                         $88,474.63                                                                           $88,474.63




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                                                                                                                                                        Amount                                                 Amount
Dallas County
Linebarger Goggan Blair & Sampson, LLP
Attn: Elizabeth Weller and Laurie A Spindler
2777 N. Stemmons Frwy Ste 1000
Dallas, TX 75207                                                    452     1/28/2019             Promise Hospital of Dallas, Inc.                                                                                               $31,707.87     $31,707.87
PROCARE ONE
P.O. BOX 301076
DALLAS, TX 75303-1076                                               453     1/28/2019             Promise Healthcare Group, LLC                            $24,673.99                                                                           $24,673.99
Instrumentation Laboratory
180 Hartwell Road
Bedford, MA 01730                                                   454     1/28/2019         Promise Hospital of Baton Rouge, Inc.                         $4,708.18                                                                            $4,708.18
K Jett Services, LLC
PO Box 53
Belton, MO 64012                                                    455     1/30/2019         Promise Hospital of Overland Park, Inc.                       $1,490.00                                                                            $1,490.00
STAAR Surgical Company
Attn: Rachel Horta
1911 Walker Ave.
Monrovia, CA 91016                                                  456     1/30/2019             Promise Healthcare Group, LLC                             $3,642.15                                                                            $3,642.15
Texas Health and Human Services Commission
Leslea Pickle
4900 North Lamar Blvd
Austin, TX 78751                                                    457     1/29/2019             Promise Healthcare Group, LLC                             $7,940.96                                                                            $7,940.96
Rapid Laboratory Services, LLC, an Arizona Limited Liability
Company
Kasey C. Nye
5210 E Williams Circle, Suite 800
Tucson, AZ 85711                                                    458     1/29/2019             Promise Healthcare Group, LLC                            $80,040.77                                                                           $80,040.77
Medical Information Technology, Inc.
MEDITECH Circle
Westwood, MA 02090                                                  459     1/29/2019             Promise Healthcare Group, LLC                            $33,548.07                                                                           $33,548.07
Diagnostic Mobile X-ray, Inc
28100 Challenger Blvd #112
Punta Gorda, FL 33982                                               460     1/30/2019              Promise Hospital of Lee, Inc.                           $10,768.25                                                                           $10,768.25
McKnight, Elzy
Law Offices of David S. Hagen
David S. Hagen - SBN 110588
16830 Ventura Blvd., Suite 500
Encino, CA 91436-1795                                               461      2/1/2019        Promise Hospital of East Los Angeles, L.P.                   $400,000.00                                                                          $400,000.00
Dallas County
Linebarger Goggan Blair & Sampson, LLP
Elizabeth Weller
Laurie A Spindler
2777 N. Stemmons Frwy. Ste. 1000
Dallas, TX 75207                                                    462     1/29/2019             Promise Hospital of Dallas, Inc.                                                                                               $14,200.86     $14,200.86
CITY OF LOS ANGELES, OFFICE OF FINANCE
LOS ANGELES CITY ATTORNEY'S OFFICE
200 N. MAIN STREET, STE. 920
LOS ANGELES, CA 90012                                               463     1/29/2019                 HLP of Los Angeles, LLC                               $5,682.84        $14,974.15                                                         $20,656.99
Scott M. Seidel, Chapter 7 Trustee of the estate of Walnut Hill
Physicians’ Hospital, LLC
Fareed Kaisani
500 N. Akard Street, Suite 3800
Dallas, TX 75201                                                    464     1/30/2019             Promise Hospital of Dallas, Inc.                         $61,931.22                                                                           $61,931.22
The City of Paramount, et al.
City Attorney, John Cavanaugh, Esq.
16400 Colorado Avenue
Paramount, CA 90723                                                 465      2/4/2019             Promise Healthcare Group, LLC                           $297,161.83                                                                          $297,161.83

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                                                                                                                                                   Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                  Amount                                                 Amount
Veolia Water Technologies Inc DBA: Elga
Elga Labwater
5 Earl Court, Unit 100
Woodridge, IL 60517                           466      2/1/2019             Promise Healthcare Group, LLC                                                                                   $7,058.46                      $7,058.46
PRECISION DYNAMICS CORPORATION
27770 N ENTERTAINMENT DRIVE
SUITE 200
VALENCIA, CA 91455                            467     1/25/2019               Success Healthcare 2, LLC                                $181.95                                                                              $181.95
FOOD MANAGEMENT GROUP, INC.
CRAIG P. BOUDREAUX, JR., CEO
70 JESSE DUPONT MEMORIAL HWY
BURGESS, VA 22432                             468     1/25/2019             Promise Healthcare Group, LLC                                             $272,067.00                                                        $272,067.00
Change Healthcare Technologies, LLC
AR Dept
5995 Windward Parkway, MSTP 4901
Alpharetta, GA 30005                          469      2/4/2019             Promise Healthcare Group, LLC                           $564,116.09                                                                          $564,116.09
CenturyLink Communications, LLC
Attn: Legal - BKY
1025 Eldorado Blvd.
Broomfield, CO 80021                          470      2/4/2019                Promise Healthcare, Inc.                               $7,370.77                                                                            $7,370.77
CenturyLink Communications, LLC
Attn: Legal - BKY
1025 Eldorado Blvd.
Broomfield, CO 80021                          471      2/4/2019                Promise Healthcare, Inc.                                $344.87                                                                              $344.87
RIDELINKS, INC.
1 SOUTH FAIR OAKS AVE.
SUITE 302
PASADENA, CA 91105                            472      2/5/2019          Promise Healthcare of California, Inc.                                                                             $9,041.89                      $9,041.89
KPG HEALTHCARE LLC
1960 E GRAND AVE STE 940
EL SEGUNDO, CA 90245                          473      2/4/2019             Promise Healthcare Group, LLC                            $31,946.41                                                                           $31,946.41
9W Halo OpCo LP
Neal Quiriconi
1901 Myers, Suite 630
Oakbrook Terrace, IL 60181                    474      2/4/2019             Promise Healthcare Group, LLC                           $305,602.60                                                                          $305,602.60
Harris County, et al.
Linebarger Goggan Blair & Sampson, LLP
John P. Dillman
PO Box 3064
Houston, TX 77253-3064                        475      2/4/2019             Promise Healthcare Group, LLC                                                                                                       $0.00          $0.00
The City of Paramount, et al.
John Cavanaugh, Esq., City Attorney
16400 Colorado Avenue
Paramount, CA 90723                           476      2/5/2019             Promise Healthcare Group, LLC                           $297,161.83                                                                          $297,161.83
Century Cleaning
ATTN: MARIO SARMIENTO
21760 SW 101 AVE
MIAMI, FL 33190                               477      2/6/2019             Promise Healthcare Group, LLC                              $540.00                                                                              $540.00
MEDICAL SOLUTIONS, L.L.C.
1010 NORTH 102ND STREET
SUITE 300
OMAHA, NE 68114                               478      2/6/2019        Promise Hospital of East Los Angeles, L.P.                    $96,491.95                                                                           $96,491.95
RTI Surgical, Inc.
Lana Wilson
11621 Research Circle
Alachua, FL 32615                             479      2/6/2019             Promise Healthcare Group, LLC                            $23,480.00                                                                           $23,480.00


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                                                                                                                                               Amount                                                 Amount
TENACORE HOLDINGS INC.
MARK BRUCKS
1525 E. EDINGER AVE.
SANTA ANA, CA 92705                                         480      2/5/2019           Promise Healthcare Group, LLC                             $14,745.47                                                                           $14,745.47
Gregory FX Daly, Collector of Revenue
1200 Market St., Room 410
St. Louis, MO 63103                                         481      2/5/2019           Promise Healthcare Group, LLC                             $23,394.24                                                                           $23,394.24
MEDICAL ELECTRONICS, INC.
MARK BRUCKS
1525 E. EDINGER AVE.
SANTA ANA, CA 92705                                         482      2/5/2019           Promise Healthcare Group, LLC                             $15,170.09                                                                           $15,170.09
Trans Life, Inc.
c/o Law Office of Michael Berger
9454 Wilshire Blvd., 6th Floor
Beverly Hills, CA 90212                                     483      2/6/2019              Success Healthcare 1, LLC                             $117,808.59                                                                          $117,808.59
Trans Life, Inc.
c/o Law Office of Michael Berger
9454 Wilshire Blvd., 6th Floor
Beverly Hills, CA 90212                                     484      2/6/2019           Promise Healthcare Group, LLC                            $117,808.59                                                                          $117,808.59
Stryker Orthopaedics, a Division of Stryker Corporation
c/o Lori L Purkey
Purkey & Associates, PLC
5955 West Main Street, Suite 236
Kalamazoo, MI 49009                                         485      2/7/2019           Promise Healthcare Group, LLC                             $10,697.35                                                                           $10,697.35
Interstate Mechanical Corporation
1841 E Washington St
Phoenix , AZ 85034                                          486      2/7/2019           Promise Hospital of Phoenix, Inc.                          $2,070.00                                                                            $2,070.00
Interstate Mechanical Corporation
1841 E Washington St
Phoenix , AZ 85034                                          487      2/7/2019           Promise Hospital of Phoenix, Inc.                          $1,394.35                                                                            $1,394.35
Interstate Mechanical Corporation
1841 E Washington St
Phoenix , AZ 85034                                          488      2/7/2019           Promise Hospital of Phoenix, Inc.                           $702.37                                                                              $702.37
Maxim Healthcare Services, Inc.
1775 Pennsylvnia Ave NW Suite 800
Washington, DC 20006                                        489      2/8/2019                Quantum Health, Inc.                                  $2,520.00                                                                            $2,520.00
Coast Environmental Duct Cleaning, Inc.
2221 Las Palmas Dr.
Suite J
Carlsbad, CA 92011                                          490      2/9/2019           Promise Healthcare Group, LLC                              $3,637.00                                                                            $3,637.00
Immucor Inc.
3130 Gateway Dr.
Norcross, GA 30071                                          491      2/4/2019           Promise Healthcare Group, LLC                              $7,597.88                                                                            $7,597.88
COASTLINE ANESTHESIA AND PAIN MEDICAL GROUP INC
c/o GUY R BAYLEY
547 S MARENGO AVE
PASADENA, CA 91101                                          492      2/5/2019           Promise Healthcare Group, LLC                             $81,819.00                                                                           $81,819.00
Merit Health
PO Box 188
Brentwood, TN 37024                                         493      2/8/2019           Promise Healthcare Group, LLC                            $145,618.27                                                                          $145,618.27
Maxim Healthcare Services, Inc
Stinson Leonard Street LLP
Attn. Tracey Ohm
1755 Pennsylvania Ave, NW, Suite 800
Washington, DC 20006                                        494      2/8/2019              Success Healthcare 1, LLC                              $39,589.66                                                                           $39,589.66




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                                                                                                                                                                         Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                       Amount                                                  Amount
Richard L. Brown, by and through his Successor-in-interest,
Shellee Renaud
Peck Law Group
Steven C. Peck, Esq
6454 Van Nuys Boulevard, Suite 150
Van Nuys, CA 91401                                                 495      2/7/2019             Promise Healthcare Group, LLC                          $1,000,000.00                                                                        $1,000,000.00
Contrarian Funds, LLC as Transferee of Wilke, Fleury, Hoffelt,
Gould & Birney LLP
Attn: Alisa Mumola
411 West Putnam Ave., Suite 425
Greenwich, CT 06830                                                496      2/8/2019                Promise Healthcare, Inc.                             $117,716.00                                                                           $117,716.00
Maxim Healthcare Services, Inc
Stinson Leonard Street LLP
Attn. Tracey Ohm
1755 Pennsylvania Ave, NW, Suite 800
Washington, DC 20006                                               497      2/8/2019         Promise Hospital of Overland Park, Inc.                      $24,711.65                                                                            $24,711.65
Maxim Healthcare Services, Inc
Stinson Leonard Street LLP
Attn. Tracey Ohm
1755 Pennsylvania Ave, NW, Suite 800
Washington, DC 20006                                               498      2/8/2019           Promise Hospital of Salt Lake, Inc.                         $1,161.00                                                                             $1,161.00
Priority One Medical Transport, LLC
6950 Briarcliff Road
Fort Myers, FL 33912                                               499     2/11/2019              Promise Hospital of Lee, Inc.                            $1,406.00                                                                             $1,406.00
Aya Healthcare, Inc.
Legal Department
5930 Cornerstone Court West, Suite 300
San Diego, CA 92121                                                500     2/11/2019            Promise Hospital of Phoenix, Inc.                             $96.00                                                                               $96.00
Fiber Visions dba Alphagraphics
117 West 900 South
Salt Lake City, VT 84101                                           501     2/11/2019             Promise Healthcare Group, LLC                             $2,223.73                                                                             $2,223.73
Playimage Inc.
c/o Siegel & Siegel, P.A.
1600 South Dixie Highway
Suite 300
Boca Raton, FL 33432                                               502     2/11/2019                Promise Healthcare, Inc.                              $39,667.00                                                                            $39,667.00
Aya Healthcare, Inc.
Legal Department
5930 Cornerstone Court West
Suite 300
San Diego, CA 92121                                                503     2/11/2019         Promise Hospital of Wichita Falls, Inc.                       $9,596.00                                                                             $9,596.00
Rogers, David
3506 Folkstone Ct
Burbank, CA 91504                                                  504     2/11/2019               Success Healthcare 1, LLC                              $40,000.00                                                                            $40,000.00
Aya Healthcare, Inc.
Legal Department
5930 Cornerstone Court West, Suite 300
San Diego, CA 92121                                                505     2/11/2019           St. Alexius Hospital Corporation #1                       $350,084.51                                                                           $350,084.51
Buchalter, A Professional Corporation
1000 Wilshire Blvd.
Suite 1500
Los Angeles, CA 90017                                              506     2/12/2019        Promise Hospital of East Los Angeles, L.P.                    $25,081.91                                                                            $25,081.91
Buchalter, A Professional Corporation
1000 Wilshire Blvd., Suite 1500
Los Angeles, CA 90017                                              507     2/12/2019                 HLP of Los Angeles, LLC                              $12,560.60                                                                            $12,560.60




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                                                                                                                                 Current General                                        Current 503(b)(9)
                                                                                                                                                     Current Priority Current Secured                      Current Admin Total Current
                  Creditor Name and Address   Claim No. Claim Date                         Debtor                                Unsecured Claim                                         Admin Priority
                                                                                                                                                      Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                     Amount                                                 Amount
Buchalter, A Professional Corporation
1000 Wilshire Blvd., Suite 1500
Los Angeles, CA 90017                           508     2/12/2019                 Success Healthcare 1, LLC                               $796.87                                                                              $796.87
Buchalter, A Professional Corporation
1000 Wilshire Blvd., Suite 1500
Los Angeles, CA 90017                           509     2/12/2019                  Success Healthcare, LLC                              $25,261.58                                                                           $25,261.58
Buchalter, A Professional Corporation
1000 Wilshire Blvd., Suite 1500
Los Angeles, CA 90017                           510     2/12/2019                 Quantum Properties, L.P.                               $2,697.95                                                                            $2,697.95
Buchalter, A Professional Corporation
1000 Wilshire Blvd.
Suite 1500
Los Angeles, CA 90017                           511     2/12/2019                 Promise Healthcare, Inc.                             $492,842.09                                                                          $492,842.09
AIRGAS USA, LLC
110 WEST 7TH STREET, SUITE 1300
TULSA, OK 74119                                 512     2/14/2019          Promise Hospital of Wichita Falls, Inc.                        $956.10                                                                              $956.10
AIRGAS USA, LLC
110 WEST 7TH STREET, SUITE 1300
TULSA, OK 74119                                 513     2/14/2019      Promise Hospital of Florida at The Villages, Inc.                     $0.00                                                                                $0.00
Earl's Well Drilling & Pump Service, Inc.
4680 SE 166th St.
Summerfield, FL 34491                           514     2/14/2019      Promise Hospital of Florida at The Villages, Inc.                 $1,455.00                                                                            $1,455.00
MatrixCare, Inc
10900 Hampshire Ave South
Suite 100
Bloomington, MN 55438                           515     2/13/2019              Promise Healthcare Group, LLC                            $38,173.95                                                                           $38,173.95
Ceridian HCM, Inc
3311 East Old Shakopee Rd.
Minneapolis, MN 55425                           516     2/14/2019              Promise Healthcare Group, LLC                            $22,761.80                                                                           $22,761.80
Genset Services, Inc.
Attn: Dave Shield
3100 Gateway Drive
Pompano Beach, FL 33069                         517     2/13/2019              Promise Hospital of Dade, Inc.                            $1,677.00                                                                            $1,677.00
MOBILEX USA
PO BOX 17462
BALTIMORE, MD 21297                             518     2/14/2019              Promise Healthcare Group, LLC                            $33,300.00                                                                           $33,300.00
AMERICAN DIAGNOSTIC SERVICES
PO BOX 62510
BALTIMORE, MD 21264                             519     2/14/2019              Promise Healthcare Group, LLC                             $2,194.97                                                                            $2,194.97
AMERICAN DIAGNOSTIC SERVICES
PO BOX 62510
BALTIMORE, MD 21264                             520     2/14/2019          Promise Hospital of Wichita Falls, Inc.                       $2,194.97                                                                            $2,194.97
AIRGAS USA, LLC
110 WEST 7TH STREET, SUITE 1300
TULSA, OK 74119                                 521     2/14/2019          Promise Hospital of Wichita Falls, Inc.                      $13,128.31                                             $2,476.01                     $15,604.32
MOBILEX USA
PO BOX 17462
BALTIMORE, MD 21297                             522     2/14/2019              Promise Hospital of Dallas, Inc.                         $12,360.00                                                                           $12,360.00
DAY, MILTON BRYAN
8432 MRYTLE LAKE DRIVE
BATON ROUGE, LA 70810                           523     2/12/2019                 Promise Healthcare, Inc.                             $238,690.75                                                                          $238,690.75
Thomson Reuters
610 Opperman Drive
Eagan, MN 55123                                 524      2/7/2019              Promise Healthcare Group, LLC                            $13,228.00                                                                           $13,228.00




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                                                                                                                                                                       Current Priority Current Secured                      Current Admin Total Current
                 Creditor Name and Address                      Claim No. Claim Date                         Debtor                                Unsecured Claim                                         Admin Priority
                                                                                                                                                                        Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                       Amount                                                 Amount
Bio-Medical Applications of Louisiana, LLC d/b/a FMC Dialysis
Services Baton Rouge
Fresenius Medical Care North America
Attn: Sharon Taher
920 Winter Street
Waltham, MA 02451                                                 525     2/13/2019            Promise Hospital of Ascension, Inc.                       $143,447.34                                                                          $143,447.34
ForTec Medical, Inc.
6245 Hudson Crossing Parkway
Hudson, OH 44236                                                  526     2/14/2019      Promise Hospital of Florida at The Villages, Inc.                 $8,189.50                                                                            $8,189.50
AIRGAS USA, LLC
110 WEST 7TH STREET, SUITE 1300
TULSA, OK 74119                                                   527     2/14/2019            Promise Hospital of Ascension, Inc.                          $792.50                                                                              $792.50
MOBILEX USA
PO BOX 17462
BALTIMORE, MD 21297                                               528     2/14/2019          Promise Hospital of Wichita Falls, Inc.                      $33,300.00                                                                           $33,300.00
3D Medical Staffing, LLC
4700 S. 900 E.
Suite 13
Salt Lake City, UT 84117                                          529     2/14/2019              Promise Healthcare Group, LLC                            $54,587.63                                                                           $54,587.63
AMERICAN DIAGNOSTIC SERVICES
PO BOX 62510
BALTIMORE, MD 21264                                               530     2/14/2019              Promise Hospital of Dallas, Inc.                          $6,582.51                                                                            $6,582.51
Abbott Point of Care Division of Abbott Laboratories Inc.
Kohner, Mann & Kailas, S.C.
4650 North Port Washington Road
Milwaukee, WI 53212                                               531     2/15/2019        Promise Hospital of East Los Angeles, L.P.                     $14,803.29                                                                           $14,803.29
AIRGAS USA, LLC
110 WEST 7TH STREET, SUITE 1300
TULSA, OK 74119                                                   532     2/14/2019      Promise Hospital of Florida at The Villages, Inc.                  $956.10                                                                              $956.10
BROOKS, JAMES
1541 NW 48TH PL
BOCA RATON, FL 33431                                              533     2/19/2019              Promise Healthcare Group, LLC                            $37,639.15                                                                           $37,639.15
Mississippi Department of Revenue
Bankruptcy Section
PO Box 22808
Jackson, MS 39225                                                 534     2/13/2019            Promise Hospital of Vicksburg, Inc.                         $7,223.71        $15,040.59       $22,264.30                                        $44,528.60
San Diego County Treasurer-Tax Collector
Attn: BK Desk
1600 Pacific Highway, Rm 162
San Diego, CA 92101                                               535     2/13/2019                 Quantum Properties, L.P.                                                                 $38,855.00                                        $38,855.00
Huron Consulting Group Inc.
Attn: H. Katz
550 W. Van Buren Street, 17th Floor
Chicago, IL 60607                                                 536     2/13/2019              Promise Healthcare Group, LLC                           $477,927.46                                                                          $477,927.46
Claim docketed in error
                                                                  537     2/18/2019              Promise Healthcare Group, LLC                                                                                                                      $0.00
Master Investigation & Security Inc.
Millan Law Firm, PA
Stephen T. Millan, Esq.
150 West Flagler Street
Suite 1675
Miami Lakes, FL 33130                                             538     2/14/2019             Promise Properties of Dade, Inc.                                            $52,249.80                                                         $52,249.80
AIRGAS USA, LLC
110 WEST 7TH STREET, SUITE 1300
TULSA, OK 74119                                                   539     2/14/2019            Promise Hospital of Ascension, Inc.                         $7,845.65                                             $1,361.34                      $9,206.99
Claim docketed in error
                                                                  540     2/13/2019              Promise Healthcare Group, LLC                                                                                                                      $0.00

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                 Creditor Name and Address              Claim No. Claim Date                         Debtor                                Unsecured Claim                                          Admin Priority
                                                                                                                                                                 Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                               Amount                                                  Amount
Meyers, Jeremie
Denise Griffith, Esq.
16835 Algonquin St.
Suite 307
Huntington Beach, CA 92649                                541     2/15/2019                   Quantum Health, Inc.                                $12,333.14                                                                            $12,333.14
One Blood, Inc.
8669 Commodity Circle
Orlando, FL 32819                                         542      2/8/2019              Promise Healthcare Group, LLC                            $45,778.39                                                                            $45,778.39
St. Jude Medical Division of Abbott Laboratories Inc.
Kohner, Mann & Kailas, S.C.
4650 North Port Washington Road
Milwaukee, WI 53212                                       543     2/15/2019      Promise Hospital of Florida at The Villages, Inc.                $48,816.08                                                                            $48,816.08
SMT Services, Inc.
Keith Talley
4030 S 500 W Ste 90
Salt Lake City, UT 84123                                  544     2/19/2019            Promise Hospital of Salt Lake, Inc.                           $560.00                                                                              $560.00
THERXSERVICES, INC.
ATTN: NANCY KILLIAN
P.O. BOX 76063
TAMPA, FL 33675                                           545     2/18/2019              Promise Hospital of Dade, Inc.                           $94,854.87                                                                            $94,854.87
The Berke Group, LLC
2970 Peachtree Road NW, Suite 300
Atlanta, GA 30305                                         546     2/18/2019              Promise Healthcare Group, LLC                                                                                    $5,000.00                      $5,000.00
Wells Fargo Vendor Financial Services, LLC
WFVFS - Bankruptcy
PO Box 13708
Macon, GA 31208                                           547      2/8/2019                 Promise Healthcare, Inc.                               $9,606.82                                                                             $9,606.82
PICC ME PLLC
Timothy Richards
1800 S. Loop Suite 396 #223
Denton, TX 76205                                          548     2/15/2019              Promise Healthcare Group, LLC                            $86,199.63                                                                            $86,199.63
Johnson, Jeremy W.
Bankruptcy Clerk
824 Market Street, 3rd Floor
Wilmington, DE 19801                                      549     2/13/2019              Promise Healthcare Group, LLC                             $4,750.00         $12,850.00                                                         $17,600.00
Integrated Regional Laboratories, LLP
100 SE 3rd Avenue, Suite 2700
Fort Lauderdale, FL 33394                                 550     2/15/2019              Promise Hospital of Dade, Inc.                           $70,084.06                                                                            $70,084.06
Cowen, MaryAnn
Jacquelynn Carmichael
2150 So State Str. #900
SLC, UT 84111                                             551     2/19/2019            Promise Hospital of Salt Lake, Inc.                      $4,000,000.00                                                                        $4,000,000.00
Wells Fargo Vendor Financial Services, LLC
WFVFS - Bankruptcy
PO Box 13708
Macon, GA 31208                                           552      2/8/2019            Promise Hospital of Louisiana, Inc.                             $0.00                                                                                 $0.00
IPM TECH PEST MANAGEMENT
PO BOX 890
ONTARIO, CA 91762                                         553     2/18/2019              Promise Healthcare Group, LLC                             $2,960.00                                                                             $2,960.00
McBroom, Robert L.
3005 Lansing Blvd. Unit 130
Wichita Falls, TX 76309                                   554     2/20/2019          Promise Hospital of Wichita Falls, Inc.                                         $50,700.00                                                         $50,700.00
Southland Management Group, Inc.
c/o Ascher & Associates, P.C.
11022 Acacia Parkway, Suite D
Garden Grove, CA 92840                                    555     2/20/2019        Promise Hospital of East Los Angeles, L.P.                    $349,854.89                                             $93,923.08                    $443,777.97


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                                                                                                                                                              Current Priority Current Secured                      Current Admin Total Current
                  Creditor Name and Address          Claim No. Claim Date                          Debtor                                 Unsecured Claim                                         Admin Priority
                                                                                                                                                               Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                              Amount                                                 Amount
MOBILEX USA
PO BOX 17462
BALTIMORE, MD 21297                                    556     2/22/2019    Promise Skilled Nursing Facility of Overland Park, Inc.               $3,020.94                                                                            $3,020.94
The Spectranetics Corporation
Philips IGT
9965 Federal Dr
Colorado Springs, CO 80921                             557     2/22/2019               Promise Healthcare Group, LLC                             $13,605.00                                                                           $13,605.00
Integrated Office Technology dba IOTEC
12150 Mora Drive Unit 2
Santa Fe Springs, CA 90607                             558     2/20/2019               Promise Healthcare Group, LLC                               $112.21                                                                              $112.21
Sysco Los Angeles, Inc.
Arnall Golden Gregory LLP
c/o Frank N. White
171 17th Street NW, Suite 2100
Atlanta, GA 30363                                      559     2/20/2019                  Promise Healthcare, Inc.                                $8,562.13                                            $14,533.74                     $23,095.87
Integrated Office Technology dba IOTEC
12150 Mora Drive Unit 2
Santa Fe Springs, CA 90607                             560     2/20/2019               Promise Healthcare Group, LLC                                $52.64                                                                               $52.64
Integrated Office Technology dba IOTEC
12150 Mora Drive Unit 2
Santa Fe Springs, CA 90607                             561     2/20/2019               Promise Healthcare Group, LLC                              $4,524.90                                                                            $4,524.90
Sysco South Florida, Inc.
Arnall Golden Gregory LLP
c/o Frank N. White
171 17th Street NW, Suite 2100
Atlanta, GA 30363                                      562     2/20/2019                  Promise Healthcare, Inc.                                $5,709.55                                                            $12,171.75     $17,881.30
Sysco North Texas, a division of Sysco USA I, Inc.
Arnall Golden Gregory LLP
c/o Frank N. White
171 17th Street NW, Suite 2100
Atlanta, GA 30363                                      563     2/20/2019                  Promise Healthcare, Inc.                                                                                      $3,074.96                      $3,074.96
Sysco West Coast Florida Inc.
Arnall Golden Gregory LLP
c/o Frank N. White
171 17th Street NW, Suite 2100
Atlanta, GA 30363                                      564     2/20/2019                 Promise Healthcare #2, LLC                                $233.19                                              $4,687.47                      $4,920.66
Sysco West Texas, a division of Sysco USA I, Inc.
Arnall Golden Gregory LLP
c/o Frank N. White
171 17th Street NW, Suite 2100
Atlanta, GA 30363                                      565     2/20/2019            Promise Hospital of Wichita Falls, Inc.                       $2,955.71                                            $13,318.18                     $16,273.89
Sysco Arizona, a division of Sysco USA I, Inc.
Arnall Golden Gregory LLP
c/o Frank N. White
171 17th Street NW, Suite 2100
Atlanta, GA 30363                                      566     2/21/2019              Promise Hospital of Phoenix, Inc.                              $7.06                                              $4,793.29                      $4,800.35
Sysco Los Angeles, Inc.
Arnall Golden Gregory LLP
c/o Frank N. White
171 17th Street NW, Suite 2100
Atlanta, GA 30363                                      567     2/20/2019                  Success Healthcare 1, LLC                                                                                    $31,562.36                     $31,562.36
Claim docketed in error
                                                       568     2/20/2019               Promise Healthcare Group, LLC                                                                                                                      $0.00




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                 Creditor Name and Address   Claim No. Claim Date                          Debtor                                Unsecured Claim                                         Admin Priority
                                                                                                                                                      Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                     Amount                                                 Amount
Sysco Kansas City Inc.
Arnall Golden Gregory LLP
c/o Frank N. White
171 17th Street NW, Suite 2100
Atlanta, GA 30363                              569     2/20/2019                Promise Healthcare #2, LLC                               $8,680.23                                            $10,660.17                     $19,340.40
Claim docketed in error
                                               570     2/21/2019              Promise Healthcare Group, LLC                                                                                                                       $0.00
Claim docketed in error
                                               571     2/21/2019              Promise Healthcare Group, LLC                                                                                                                       $0.00
Claim docketed in error
                                               572     2/21/2019              Promise Healthcare Group, LLC                                                                                                                       $0.00
Westmed dba McCormick Ambulance
PO Box 5004
Mariposa, CA 95338                             573     2/21/2019              Promise Healthcare Group, LLC                              $2,142.00                                                                            $2,142.00
Barritt, Jason
Denise Griffith, Esq.
16835 Algonquin St. Suite 307
Huntington Beach, CA 92649                     574     2/25/2019                    Quantum Health, Inc.                                 $9,958.15                                                                            $9,958.15
MOBILEX USA
PO BOX 17462
BALTIMORE, MD 21297                            575     2/22/2019    Promise Skilled Nursing Facility of Wichita Falls, Inc.              $4,685.00                                                                            $4,685.00
Reliant Energy Retail Services, LLC
c/o Sandra Martel
P. O. Box 1046
Houston, TX 77251-9995                         576     2/25/2019    Promise Skilled Nursing Facility of Wichita Falls, Inc.             $14,983.65                                             $6,241.03                     $21,224.68
Reliant Energy Retail Services, LLC
c/o Sandra Martel
P.O. Box 1046
Houston, TX 77251-9995                         577     2/25/2019               Promise Hospital of Dallas, Inc.                            $17.88                                                 $11.92                        $29.80
City of Vidalia
Jay LaSyone, Clerk
200 Vernon Stevens Blvd.
Vidalia, LA 71373                              578     2/25/2019         Professional Rehabilitation Hospital, L.L.C.                  $112,201.02                                                                          $112,201.02
City of Vidalia
Jay LaSyone, Clerk
200 Vernon Stevens Blvd.
Vidalia, LA 71373                              579     2/25/2019         Professional Rehabilitation Hospital, L.L.C.                     $222.66                                                                              $222.66
City of Vidalia
Jay LaSyone, Clerk
200 Vernon Stevens Blvd.
Vidalia, LA 71373                              580     2/25/2019         Professional Rehabilitation Hospital, L.L.C.                  $112,201.02                                                                          $112,201.02
United Regional Health Care System
1600 11th Street
Wichita Falls, TX 76301                        581     2/21/2019              Promise Healthcare Group, LLC                            $341,812.01                                                                          $341,812.01
Telnet-Rx Inc.
3940 Prospect Ave, Suite R
Yorba Linda, CA 92886                          582     2/25/2019              Promise Healthcare Group, LLC                                                $5,008.15                                                          $5,008.15
MOBILEX USA
PO BOX 17462
BALTIMORE, MD 21297                            583     2/25/2019          Promise Hospital of Overland Park, Inc.                       $68,825.00                                                                           $68,825.00
AMERICAN DIAGNOSTIC SERVICES
PO BOX 62510
BALTIMORE, MD 21264                            584     2/25/2019          Promise Hospital of Overland Park, Inc.                        $6,423.37                                                                            $6,423.37
Boston Scientific Corporation
c/o Steven D Sass LLC
PO Box 45
Clarksville, MD 21029                          585     2/25/2019               Promise Hospital of Dallas, Inc.                          $1,852.71                                                                            $1,852.71

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                Creditor Name and Address   Claim No. Claim Date                          Debtor                                 Unsecured Claim                                          Admin Priority
                                                                                                                                                       Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                     Amount                                                  Amount
Boston Scientific Corporation
c/o Steven D Sass LLC
PO Box 45
Clarksville, MD 21029                         586     2/25/2019          Promise Hospital of East Los Angeles, L.P.                     $14,452.94                                                                            $14,452.94
Boston Scientific Corporation
c/o Steven D Sass LLC
PO Box 45
Clarksville, MD 21029                         587     2/26/2019               Promise Healthcare Group, LLC                            $255,015.23                                                                           $255,015.23
Gray Robinson Attorneys at Law
301 E. Pine Street, Suite 1400
Orlando, FL 32801                             588     2/27/2019               Promise Healthcare Group, LLC                             $26,832.08                                                                            $26,832.08
Louisiana Department of Revenue
P.O. Box 66658
Baton Rouge, LA 70896-6658                    589     2/25/2019             Promise Hospital of Vicksburg, Inc.                            $100.00                                                                              $100.00
ESR Inc.
25030 Avenue Stanford Suite 190
Valencia, CA 91355                            590     2/26/2019          Promise Hospital of East Los Angeles, L.P.                      $3,600.00                                                                             $3,600.00
Claim docketed in error
                                              591     2/25/2019               Promise Healthcare Group, LLC                                                                                                                        $0.00
Worldwide Produce
2652 Long Beach Avenue
Los Angeles, CA 90058                         592     2/25/2019               Promise Healthcare Group, LLC                              $3,100.57                                                                             $3,100.57
LEWIS BRISBOIS BISGAARD & SMITH, LLP
633 W 5TH ST SUITE 4000
LOS ANGELES, CA 90071                         593     2/25/2019               Promise Healthcare Group, LLC                            $250,731.95                                                                           $250,731.95
Claim docketed in error
                                              594     2/25/2019               Promise Healthcare Group, LLC                                                                                                                        $0.00
AMBULIFE AMBULANCE INC.
6644 VAN NUYS BLVD., SUITE B
VAN NUYS, CA 91405                            595     2/25/2019               Promise Healthcare Group, LLC                             $29,584.05                                                                            $29,584.05
SEDIGHI MD, P.A., HOOMAN
1420 W. MOCKINGBIRD LN, #420
DALLAS, TX 75247                              596     2/25/2019               Promise Healthcare Group, LLC                             $11,880.00                                                                            $11,880.00
HEALTHCARE SERVICES GROUP, INC.
PATRICK J. ORR
3220 TILLMAN DRIVE
STE 300
BENSALEM TOWNSHIP, PA 19020                   597     2/25/2019    Promise Skilled Nursing Facility of Overland Park, Inc.             $129,264.64                                                                           $129,264.64
Boston Scientific Corporation
c/o Steven D Sass LLC
PO Box 45
Clarksville, MD 21029                         598     2/26/2019               Promise Healthcare Group, LLC                             $40,132.82                                               $660.64                      $40,793.46
Claim docketed in error
                                              599     2/26/2019               Promise Healthcare Group, LLC                                                                                                                        $0.00
Boston Scientific Corporation
c/o Steven D Sass LLC
PO Box 45
Clarksville, MD 21029                         600     2/26/2019              Promise Hospital of Phoenix, Inc.                          $12,303.09                                                                            $12,303.09
Boston Scientific Corporation
c/o Steven D Sass LLC
PO Box 45
Clarksville, MD 21029                         601     2/26/2019               Promise Hospital of Dade, Inc.                             $3,343.26                                                                             $3,343.26
Heb Ababa, et al (See Attached)
Shulman Hodges & Bastian LLP
100 Spectrum Center Dr., Ste. 600
Irvine, CA 92618                              602      3/1/2019          Promise Hospital of East Los Angeles, L.P.                   $4,000,000.00                                                                        $4,000,000.00


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                 Creditor Name and Address               Claim No. Claim Date                        Debtor                                Unsecured Claim                                          Admin Priority
                                                                                                                                                                 Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                               Amount                                                  Amount
Heb Ababa, et al (See Attached)
Shulman Hodges & Bastian LLP
100 Spectrum Center Dr., Ste. 600
Irvine, CA 92618                                           603      3/1/2019          Promise Healthcare of California, Inc.                    $4,000,000.00                                                                        $4,000,000.00
AUSTIN HIGHLAND HOLDINGS, LP
3 GREENWAY PLAZA, SUITE 1000
HOUSTON, TX 77046                                          604     2/26/2019             Promise Healthcare Group, LLC                           $282,735.00                                                                           $282,735.00
County Sanitation District No. 2 of Los Angeles County
c/o Madeline Weissman, Esq.
633 W. 5th Street, Suite 4000
Los Angeles, CA 90071                                      605     2/28/2019        Promise Hospital of East Los Angeles, L.P.                    $26,845.00                                                                            $26,845.00
HEALTHCARE SERVICES GROUP, INC.
PATRICK J. ORR
3220 TILLMAN DRIVE
STE 300
BENSALEM TOWNSHIP, PA 19020                                606     2/25/2019         Promise Hospital of Overland Park, Inc.                     $113,268.04                                                                           $113,268.04
Lafayette, Robert C
13536 Mosher Court
Baton Rouge, LA 70810                                      607     2/25/2019             Promise Healthcare Group, LLC                           $500,000.00                                                                           $500,000.00
Kansas Gas Service
Attn: Bankruptcy Team
PO Box 3535
Topeka, KS 66601-3535                                      608     2/22/2019             Promise Healthcare Group, LLC                             $1,236.98                                                                             $1,236.98
Quest Diagnostics
Abigail Winston
8403 Fallbrook Ave
West Hills, CA 91304                                       609      3/4/2019             Promise Healthcare Group, LLC                            $53,545.35                                                                            $53,545.35
HEALTHCARE SERVICES GROUP, INC.
PATRICK J. ORR
3220 TILLMAN DRIVE
STE 300
BENSALEM TOWNSHIP, PA 19020                                610     2/25/2019            Promise Hospital of Phoenix, Inc.                        $148,920.61                                                                           $148,920.61
Medtronic PLC
Schleen Archambeau
800 53rd Ave NE, SLK27
Columbia Heights, MN 55421                                 611      3/4/2019             Promise Healthcare Group, LLC                                                               $283,206.42                                       $283,206.42
NAVEX Global, Inc
5500 Meadows Road, Suite 500
Lake Oswego, OR 97035                                      612      3/6/2019             Promise Healthcare Group, LLC                            $10,032.92                                                                            $10,032.92
SPECTRUM MEDICAL X-RAY COMPANY
1721 STEWART STREET
SANTA MONICA, CA 90404                                     613      3/5/2019             Promise Healthcare Group, LLC                             $4,286.57                                                                             $4,286.57
Employment Screening Associates
Burr & Forman LLP
Richard A. Robinson
1201 N. Market Street, Suite 1407
Wilmington, DE 19801                                       614      3/7/2019                Promise Healthcare, Inc.                             $157,933.75                                                                           $157,933.75
Euler Hermes N.A as Agent for OneStaff Medical, LLC
800 Red Brook Blvd, #400C
Owings Mills, MD 21117                                     615     3/11/2019         Promise Hospital of Overland Park, Inc.                      $28,641.38                                              $8,470.00                     $37,111.38
PlatinumCode
8095 215th St W
Lakeville, MN 55044                                        616     3/13/2019               St. Alexius Properties, LLC                             $1,013.53                                                                             $1,013.53
Menorah Medical Center
Heather Kofron, Esq., Senior Legal Counsel
7300 Beaufont Springs Drive
Richmond, VA 23225                                         617     3/12/2019             Promise Healthcare Group, LLC                            $50,524.42                                                                            $50,524.42

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                                                                                                                                    Amount                                                  Amount
Quality Logo Products, Inc.
c/o J. Meyers, PLLC
16414 Braeburn Ridge Trail
Delray Beach, FL 33446                         618     3/20/2019                 Promise Healthcare, Inc.                              $32,435.54                                                                            $32,435.54
Argon Medical Devices Inc
1445 Flat Creek Rd
Athens, TX 75751                               619     3/20/2019              Promise Healthcare Group, LLC                             $3,600.00                                                                             $3,600.00
TimeKeeping Systems, Inc.
Accounts Receivable
30700 Bainbridge Rd, Ste H
Solon, OH 44139                                620      3/8/2019        Promise Hospital of East Los Angeles, L.P.                      $2,131.59                                                                             $2,131.59
ICare.Com Inc.
401 E. Las Olas Blvd, Ste 1400
Fort Lauderdale, FL 33301                      621      3/4/2019              Promise Healthcare Group, LLC                          $1,456,198.55                                                                        $1,456,198.55
Teleflex Medical Inc.
3015 Carrington Mill Blvd, Suite 300
Morrisville, NC 27560-8871                     622      3/7/2019              Promise Healthcare Group, LLC                               $379.89                                                                              $379.89
ARROW INTERNATIONAL INC.
3015 CAMINGTON MILL BLVD., SUITE 300
MORRISVILLE, NC 27560-8871                     623      3/7/2019              Promise Healthcare Group, LLC                             $1,982.12                                                                             $1,982.12
Claim docketed in error
                                               624      3/8/2019              Promise Healthcare Group, LLC                                                                                                                      $0.00
YOO, JAMIE
20319 BARNARD AVE.
WALNUT, CA 91789                               625     3/10/2019                 Success Healthcare 1, LLC                             $33,046.17                                                                            $33,046.17
Ben Phillips obo Everlean Phillips
Law Office of Gia Kosmitis, APLC
3316 Line Avenue
Shreveport, LA 71104                           626     3/11/2019              Promise Healthcare Group, LLC                          $1,000,000.00                                                                        $1,000,000.00
PlatinumCode
8095 215th St W
Lakeville, MN 55044                            627     3/13/2019      Promise Hospital of Florida at The Villages, Inc.                   $278.52                                                                              $278.52
Estate of Terry Babin
Law Office of Gia Kosmitis, APLC
3316 Line Avenue
Shreveport, LA 71104                           628     3/11/2019              Promise Healthcare Group, LLC                          $1,000,000.00                                                                        $1,000,000.00
Pride Healthcare, LLC
Eckert Seamans
Christopher F. Graham
10 Bank Street, Suite 700
White Plains, NY 10606                         629     3/11/2019                 Promise Healthcare, Inc.                              $39,853.08                                                                            $39,853.08
Pride Healthcare, LLC
Eckert Seamans
Christopher F. Graham
10 Bank Street, Suite 700
White Plains, NY 10606                         630     3/11/2019              Promise Healthcare Group, LLC                            $39,853.08                                                                            $39,853.08
Southern Healthcare Agency, Inc.
301 New Pointe
Ridgeland, MS 39157                            631     3/11/2019            Promise Hospital of Vicksburg, Inc.                        $31,128.75                                                                            $31,128.75
Orkin, LLC
National Accts
PO Box 638898
Cincinatti, OH 45263                           632     3/12/2019              Promise Healthcare Group, LLC                             $9,825.00                                                                             $9,825.00
Singh, MD, Ravinder
8920 Wilshire Blvd., Ste. 520
Beverly Hills, CA 90211                        633     3/14/2019              Promise Healthcare Group, LLC                            $84,750.00                                                                            $84,750.00


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                                                                                                                                                   Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                  Amount                                                 Amount
National Research Corporation
NRC Health
1245 Q Street
Lincoln, NE 68508                             634     3/20/2019             Promise Healthcare Group, LLC                             $3,343.81                                                                            $3,343.81
National Research Corporation
NRC Health
1245 Q Street
Lincoln, NE 68508                             635     3/20/2019             Promise Healthcare Group, LLC                             $3,343.81                                                                            $3,343.81
AMP STAFFING NETWORK, LLC
JOHN Y. IGARASHI, ESQ.
18021 COWAN
IRVINE, CA 92614                              636     3/14/2019             Promise Healthcare Group, LLC                             $5,872.83                        $101,216.17                                       $107,089.00
Claim docketed in error
                                              637     3/15/2019             Promise Healthcare Group, LLC                                                                                                                      $0.00
VWR International LLC
100 Matson Ford Rd, Bldg One
Suite 200
Radnor, PA 19082                              638     3/15/2019             Promise Healthcare Group, LLC                            $14,487.48                                                                           $14,487.48
Claim docketed in error
                                              639     3/18/2019             Promise Healthcare Group, LLC                                                                                                                      $0.00
Surgical Evolution Inc.
Gardener, Riechmann & Chow
438 E. Katella Ave., Suite 202
Orange, CA 92867                              640     3/18/2019        Promise Hospital of East Los Angeles, L.P.                    $19,751.00                                                                           $19,751.00
Crown Meat & Provisions Co, Inc.
599 Williams Rd
Palm Springs, CA 92264                        641     3/19/2019             Promise Healthcare Group, LLC                            $18,105.53                                                                           $18,105.53
RADWORKS LLC
2535 W. 237TH STREET., UNIT 112
TORRANCE, CA 90505                            642     3/21/2019             Promise Healthcare Group, LLC                             $6,208.10                                                                            $6,208.10
Claim docketed in error
                                              643     3/21/2019             Promise Healthcare Group, LLC                                                                                                                      $0.00
TWC Services, Inc.
PO Box 1612
Des Moines, IA 50306-1612                     644     3/21/2019              Promise Hospital of Lee, Inc.                            $1,241.93                                                                            $1,241.93
LEWIS BRISBOIS BISGAARD & SMITH, LLP
633 W 5TH ST SUITE 4000
LOS ANGELES, CA 90071                         645     3/22/2019                Success Healthcare, LLC                               $30,557.19                                                                           $30,557.19
EMPLOYMENT DEVELOPMENT DEPARTMENT
Bankruptcy Group MIC 92E
P.O. BOX 826880
SACRAMENTO, CA 94280                          646     3/25/2019                  Quantum Health, Inc.                                $35,618.38       $266,067.67                                                        $301,686.05
PlatinumCode
8095 215th St W
Lakeville, MN 55044                           647     3/13/2019        Promise Hospital of East Los Angeles, L.P.                      $962.02                                                                              $962.02
Hobart Service
701 S. Ridge Ave
Troy, OH 45374                                648     3/20/2019             Promise Healthcare Group, LLC                             $6,308.16                                                                            $6,308.16
Surgical Evolution Inc.
Gardener, Riechmann & Chow
438 E. Katella Ave., Suite 202
Orange, CA 92867                              649     3/20/2019        Promise Hospital of East Los Angeles, L.P.                    $19,751.00                                                                           $19,751.00
Windstream
1450 N Center Point Rd.
Hiawatha, IA 52233                            650     3/19/2019             Promise Healthcare Group, LLC                           $261,185.56                                                                          $261,185.56




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                                                                                                                                                                     Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                    Amount                                                 Amount
Arjo Inc.
Commercial Collection Corp of NY
34 Seymour St
Tonawanda, NY 14150                                             651     3/22/2019             Promise Healthcare Group, LLC                            $31,233.89                                                                           $31,233.89
EMPLOYMENT DEVELOPMENT DEPARTMENT
Bankruptcy Group MIC 92E
P.O. BOX 826880
SACRAMENTO, CA 94280                                            652     3/25/2019               Success Healthcare 1, LLC                                   $0.00             $0.00                                                              $0.00
EMPLOYMENT DEVELOPMENT DEPARTMENT
Bankruptcy Group MIC 92E
P.O. BOX 826880
SACRAMENTO, CA 94280                                            653     3/25/2019        Promise Hospital of East Los Angeles, L.P.                   $197,581.04       $439,782.13                                                        $637,363.17
SPRING HOUSE WATER COMPANY, INC.
788 3RD STREET
HEALDTON, OK 73438                                              654     3/27/2019             Promise Healthcare Group, LLC                                                                                   $4,076.38                      $4,076.38
Oracle America, Inc.
Doshi Legal Group, P.C.
c/o Amish R. Doshi, Esq.
1979 Marcus Avenue, Suite 210E
Lake Success, NY 11042                                          655     3/27/2019             Promise Healthcare Group, LLC                           $319,668.00                                                                          $319,668.00
Oracle America, Inc.
Doshi Legal Group, P.C.
c/o Amish R. Doshi, Esq.
1979 Marcus Ave., Suite 210E
Lake Success, NY 11042                                          656     3/27/2019           Promise Healthcare Holdings, Inc.                         $319,668.00                                                                          $319,668.00
HEALTHCARE PROS, INC.
10833 VALLEY VIEW
SUITE 525
CYPRESS, CA 90630                                               657     3/28/2019        Promise Hospital of East Los Angeles, L.P.                    $22,192.00        $12,850.00                                                         $35,042.00

Healthcare Recruiters, LLC dba United Nursing International
4051 Veterans Memorial Blvd.
Suite 306
Metairie, LA 70002                                              658     3/28/2019         Promise Hospital of Baton Rouge, Inc.                         $5,214.75                                                                            $5,214.75
Express Employment Professionals
3612 Kemp Blvd
Wichita Falls, TX 76308                                         659     3/28/2019         Promise Hospital of Wichita Falls, Inc.                       $5,672.16                                                                            $5,672.16
Discovery Health Health Services
5726 La Jolla Blvd. Suite 104
La Jolla, CA 92037                                              660      4/1/2019             Promise Healthcare Group, LLC                             $5,314.79                                                                            $5,314.79
Management Health Systems, LLC d/b/a MedPro Healthcare
Staffing
1580 Sawgrass Corporate Pkwy. Ste 200
Sunrise, FL 33323                                               661      4/1/2019        Promise Hospital of East Los Angeles, L.P.                    $26,034.00                                                                           $26,034.00
DeGoler's, Inc.
111 Oak Street
Bonner Springs, KS 66012                                        662     3/27/2019             Promise Healthcare Group, LLC                            $42,992.02                                                                           $42,992.02
XEROX CORPORATION
ATTN: V.O. ADAMS
PO BOX 660506
DALLAS, TX 75266-9937                                           663      4/3/2019                Promise Healthcare, Inc.                             $287,650.48                                                                          $287,650.48
St. Jude Medical Division of Abbott Laboratories Inc.
Kohner, Mann & Kailas, S.C.
4650 North Port Washington Road
Milwaukee, WI 53212                                             664      4/3/2019             Promise Healthcare Group, LLC                            $31,634.57         $1,000.00                           $1,000.00                     $33,634.57




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                                                                                                                                                   Amount                                                 Amount
Abbott Diagnostics Division of Abbott Laboratories Inc.
Kohner, Mann & Kailas, S.C.
4650 North Port Washington Road
Milwaukee, WI 53212                                           665      4/3/2019              Promise Healthcare Group, LLC                             $7,663.41                                             $4,022.45                     $11,685.86
Abbott Point of Care Division of Abbott Laboratories Inc.
Kohner, Mann & Kailas, S.C.
4650 North Port Washington Road
Milwaukee, WI 53212                                           666      4/3/2019              Promise Healthcare Group, LLC                             $1,241.41                                                                            $1,241.41
CHG Medical Staffing, Inc. d/b/a RN Network
Michael C. Barnhill
2750 East Cottonwood Parkway, Suite 560
Cottonwood Heights, UT 84121                                  667      4/3/2019                 Promise Healthcare, Inc.                             $100,141.42                                                                          $100,141.42
FMLASource
Bob Mallers CFO
455 N. Cityfront Plaza Drive
NBC Tower 13th Floor
Chicago, IL 60611                                             668      4/2/2019              Promise Healthcare Group, LLC                             $4,231.41                                                                            $4,231.41
LIFE SPINE INC
13951 QUALITY DRIVE
HUNTLEY, IL 60142                                             669      4/2/2019              Promise Healthcare Group, LLC                            $36,160.00                                                                           $36,160.00
Managed Health Systems, LLC, d/b/a MedPro Healthcare
Staffing
1580 Sawgrass Corporate Pkwy.
Ste 200
Sunrise, FL 33323                                             670      4/3/2019               Promise Hospital of Lee, Inc.                            $9,128.99                                                                            $9,128.99
Abbott Laboratories Inc.
Kohner, Mann & Kailas, S.C.
4650 North Port Washington Road
Milwaukee, WI 53212                                           671      4/3/2019            Promise Hospital of Louisiana, Inc.                         $5,761.42                                              $472.64                       $6,234.06
Abbott Diabetes Care Sales Corporation
Kohner, Mann & Kailas, S.C.
4650 North Port Washington Road
Milwaukee, WI 53212                                           672      4/3/2019                 Success Healthcare 1, LLC                              $4,275.01         $4,183.76                           $4,183.76                     $12,642.53
Abbott Diagnostics Division of Abbott Laboratories Inc.
Kohner, Mann & Kailas, S.C.
4650 North Port Washington Road
Milwaukee, WI 53212                                           673      4/3/2019        Promise Hospital of East Los Angeles, L.P.                    $125,873.72         $2,051.00                           $2,051.00                    $129,975.72
Otis Elevator Company
Treasury Services
c/o Credit & Collections
5500 Village Blvd
West Palm Beach, FL 33407                                     674      4/3/2019              Promise Healthcare Group, LLC                             $4,234.75                                                                            $4,234.75
Connecticut General Life Insurance Company
Marylou Kilian Rice, Compliance Specialist
900 Cottage Grove Road, B6LPA
Hartford, CT 06152                                            675      4/5/2019            Promise Hospital of Salt Lake, Inc.                        $81,802.00                                                                           $81,802.00
SPECIALTY ADVERTISING, INC.
4317 REDDING ROAD
BOYNTON BEACH, FL 33436                                       676      4/8/2019              Promise Healthcare Group, LLC                              $965.40                                                                              $965.40
Elite Health Solutions LLC
7591 Fern Ave. Suite 1602
Shreveport, LA 71105                                          677      4/8/2019            Promise Hospital of Louisiana, Inc.                        $11,135.17                                                                           $11,135.17
Cigna HealthCare of Florida, Inc.
Marylou Kilian Rice, Compliance Specialist
900 Cottage Grove Road, B6LPA
Hartford, CT 06152                                            678      4/5/2019      Promise Hospital of Florida at The Villages, Inc.                $47,688.00                                                                           $47,688.00


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                                                                                                                                   Amount                                                 Amount
Cigna Health and Life Insurance Company
Marylou Kilian Rice, Compliance Specialist
900 Cottage Grove Road, B6LPA
Hartford, CT 06152                             679      4/5/2019                  Quantum Health, Inc.                                $52,288.00                                                                           $52,288.00
Connecticut General Life Insurance Company
Marylou Kilian Rice, Compliance Specialist
900 Cottage Grove Road, B6LPA
Hartford, CT 06152                             680      4/5/2019           Promise Hospital of Vicksburg, Inc.                        $81,802.00                                                                           $81,802.00
Connecticut General Life Insurance Company
Marylou Kilian Rice, Compliance Specialist
900 Cottage Grove Road, B6LPA
Hartford, CT 06152                             681      4/5/2019           Promise Hospital of Ascension, Inc.                        $67,941.93                                                                           $67,941.93
Cigna Health and Life Insurance Company
Marylou Kilian Rice, Compliance Specialist
900 Cottage Grove Road, B6LPA
Hartford, CT 06152                             682      4/5/2019         Promise Hospital of Baton Rouge, Inc.                        $31,646.45                                                                           $31,646.45
Medsurant, LLC
c/o Medsurant Holdings, LLC
100 Front Street, Suite 280
W. Conshohocken, PA 19428                      683      4/5/2019             Promise Healthcare Group, LLC                            $15,700.00                                                                           $15,700.00
Pacific Plumbing Specialties
8451 Miralani Dr., Suite O
San Diego, CA 92126                            684      4/8/2019             Promise Healthcare Group, LLC                             $1,063.71                                                                            $1,063.71
MEDICAL TECHNOLOGY ASSOCIATES
6651 102ND AVE. N.
PINELLAS PARK, FL 33782                        685      4/9/2019             Promise Healthcare Group, LLC                            $25,245.29                                                                           $25,245.29
Trustaff Travel Nurses, LLC
Gary F. Franke Co., L.P.A.
120 East Fourth Street, Suite 1040
Cincinnati, OH 45202                           686     4/10/2019         Promise Hospital of Overland Park, Inc.                      $13,388.06                                                                           $13,388.06
Kevin A. Smola and Associates, Inc.
16025 Arrow Hwy., Suite C
Irwindale, CA 91706                            687     4/11/2019        Promise Hospital of East Los Angeles, L.P.                                                                           $9,552.00                      $9,552.00
IGWE, NNEKA
10657 SOUTH WILTON PLACE
LOS ANGELES, CA 90047                          688     4/11/2019             Promise Healthcare Group, LLC                                $0.00                                                                                $0.00
Brink's, Incorporated
Cavazos Hendricks Poirot, P.C.
Attn: Lyndel Vargas
900 Jackson, Suite 570
Dallas, TX 75202                               689     4/12/2019        Promise Hospital of East Los Angeles, L.P.                     $3,246.45                                                                            $3,246.45
HADI JAVADI dba CREATIVE GARDENING
PMB 199, 25422 TRABUCO ROAD
#105
LAKE FOREST, CA 92630                          690     4/15/2019             Promise Healthcare Group, LLC                             $6,426.94        $37,096.00                                                         $43,522.94
Kevin A. Smola and Associates, Inc.
16025 Arrow Hwy., Suite C
Irwindale, CA 91706                            691     4/16/2019        Promise Hospital of East Los Angeles, L.P.                                                                           $5,240.00                      $5,240.00
Andersen's Door Service, Inc.
10539 Dale Ave.
Stanton, CA 90680                              692     4/17/2019        Promise Hospital of East Los Angeles, L.P.                      $557.50                                                                              $557.50
Red Hawk Fire & Security
7700 Gulf Freeway
Houston, TX 77017                              693     4/18/2019             Promise Healthcare Group, LLC                              $647.50                                                                              $647.50
Red Hawk Fire & Security
7700 Gulf Freeway
Houston, TX 77047                              694     4/18/2019                 HLP of Los Angeles, LLC                                $647.50                                                                              $647.50

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                                                                                                                                 Amount                                                 Amount
Red Hawk Fire & Security
Attn: Anita Wimbley
7700 Gulf Fwy
Houston, TX 77017                            695     4/18/2019             Promise Healthcare Group, LLC                              $150.00                                                                              $150.00
PACIFIC MOBILE DIAGNOSTICS
C/O KELLY MCSHALL
615 E. PALO VERDE DRIVE
PHOENIX, AZ 85012                            696     4/18/2019            Promise Hospital of Phoenix, Inc.                        $131,055.70                                                                          $131,055.70
Laboratory Corporation of America
c/o Johnson Legal Network PLLC
535 Wellington Way Suite 380
Lexington, KY 40503                          697     4/22/2019             Promise Healthcare Group, LLC                             $6,777.00                                                                            $6,777.00
FAIRBURN MEDICAL PRODUCTS, LLC
8533 REDWOOD LANE
HELENA, AL 35022                             698     4/23/2019         Promise Hospital of Baton Rouge, Inc.                         $4,824.68                                                                            $4,824.68
National Due Diligence Services
Attn: Cindy Jared
3191 Maguire Blvd. #200
Orlando, FL 32803                            699     4/23/2019             Promise Healthcare Group, LLC                             $4,950.00                                                                            $4,950.00
FAIRBURN MEDICAL PRODUCTS, LLC
8533 REDWOOD DR
HELENA, AL 35022                             700     4/23/2019           Promise Hospital of Ascension, Inc.                        $65,801.24                                                                           $65,801.24
Andersen's Door Service, Inc.
10539 Dale Ave.
Stanton, CA 90680                            701     4/25/2019        Promise Hospital of East Los Angeles, L.P.                     $9,334.19                                                                            $9,334.19
Arjo Inc.
Commercial Collection Corp of NY
34 Seymour St
Tonawanda, NY 14150                          702     4/23/2019             Promise Healthcare Group, LLC                            $31,233.89                                                                           $31,233.89
Eurotrol
850 N. Black Branch Rd.
Elizabethtown, KY 42701                      703     4/30/2019                 HLP of Los Angeles, LLC                                $383.00                                                                              $383.00
MONARCH LABS, LLC
17875 SKY PARK CIRCLE
SUITE K
IRVINE, CA 92614                             704     4/26/2019           Promise Hospital of Louisiana, Inc.                          $278.00                                                                              $278.00
MONARCH LABS, LLC
17875 SKY PARK CIRCLE
SUITE K
IRVINE, CA 92614                             705     4/26/2019        Promise Hospital of East Los Angeles, L.P.                      $238.13                                                                              $238.13
MONARCH LABS, LLC
17875 SKY PARK CIRCLE
SUITE K
IRVINE, CA 92614                             706     4/26/2019           Promise Hospital of Ascension, Inc.                         $1,550.00                                                                            $1,550.00
MONARCH LABS, LLC
17875 SKY PARK CIRCLE
SUITE K
IRVINE, CA 92614                             707     4/26/2019       Professional Rehabilitation Hospital, L.L.C.                     $533.00                                                                              $533.00
MONARCH LABS, LLC
17875 SKY PARK CIRCLE
SUITE K
IRVINE, CA 92614                             708     4/26/2019           Promise Hospital of Salt Lake, Inc.                          $560.00                                                                              $560.00
Rouge, Ann M
C/O Mahoney Law Group APC
249 East Ocean Blvd., #814
Long Beach, CA 90802                         709     4/30/2019        Promise Hospital of East Los Angeles, L.P.                    $94,979.00        $12,850.00                                                        $107,829.00


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                                                                                                                                                                      Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                     Amount                                                 Amount
Roque, Ann
c/o Mahoney Law Group APC
249 East Ocean Blvd., Ste.814
Long Beach, CA 90802                                             710     4/30/2019        Promise Hospital of East Los Angeles, L.P.                    $94,979.00        $12,850.00                                                        $107,829.00
BW Masterson Heating & Air-Conditioning, Inc
3811 OLD STATE ROAD
WICHITA FALLS , TX 76310                                         711      5/1/2019         Promise Hospital of Wichita Falls, Inc.                       $7,651.40                                                                            $7,651.40
FIRST QUALITY MEDICAL MANAGEMENT, INC.
9860 INDIANA AVE. # 13
RIVERSIDE, CA 92503                                              712      5/1/2019                Success Healthcare, LLC                                                   $960.00                                                            $960.00
PALM PRINTING
2400 FIRST STREET
STE 102
FT. MYERS, FL 33901                                              713      5/1/2019             Promise Healthcare Group, LLC                              $418.70                                                                              $418.70
Dallas County Hospital District d/b/a Parkland Health &
Hospital System
Attn: Steven J. Roth, Exec. VP & Gen. Counsel
Legal Affairs Dept.
5200 Harry Hines Blvd.
Dallas, TX 75235                                                 714      5/1/2019             Promise Hospital of Dallas, Inc.                        $588,953.66                                                                          $588,953.66
SCHAEFFER ELECTRIC COMPANY
4667 GREEN PARK ROAD
ST. LOUIS, MO 63123                                              715      5/2/2019           St. Alexius Hospital Corporation #1                          $227.75                                                                              $227.75
Contrarian Funds, LLC as Transferee of Atlantic Personnel &
Tenant Screening, Inc.
Attn: Alisa Mumola
411 West Putnam Ave., Suite 425
Greenwich, CT 06830                                              716      5/2/2019             Promise Healthcare Group, LLC                            $27,762.82                                                                           $27,762.82
KISS HEALTHCARE
13089 PEYTON DR. #C212
CHINO HILLS, CA 91709                                            717      5/2/2019             Promise Healthcare Group, LLC                             $1,328.90                                                                            $1,328.90
Renal Treatment Center - Southeast L.P., a subsidiary of
DaVita, Inc.
Timothy M. Swanson
1400 16th Street, Suite 600
Denver, CO 80202                                                 718      5/2/2019             Promise Hospital of Dallas, Inc.                         $35,925.04                                                                           $35,925.04
Renal Treatment Center - West, Inc., a subsidiary of DaVita,
Inc.
Timothy M. Swanson
1400 16th Street, Suite 600
Denver, CO 80202                                                 719      5/2/2019            Promise Hospital of Phoenix, Inc.                        $264,349.14                                                                          $264,349.14
SCHAEFFER ELECTRIC COMPANY
4667 GREEN PARK ROAD
ST. LOUIS, MO 63123                                              720      5/2/2019           St. Alexius Hospital Corporation #1                         $2,025.00                                                                            $2,025.00
Abbott Laboratories Inc.
Kohner, Mann & Kailas, S.C.
4650 North Port Washington Road
Milwaukee, WI 53212                                              721      5/3/2019           Promise Hospital of Louisiana, Inc.                         $5,761.42                                                $31.51                      $5,792.93
SCHAEFFER ELECTRIC COMPANY
4667 GREEN PARK ROAD
ST. LOUIS, MO 63123                                              722      5/2/2019           St. Alexius Hospital Corporation #1                          $989.18                                                                              $989.18
Metro Two Way Inc.
2013 W Commonwealth Ave
Ste E
Fullerton, CA 92833                                              723      5/3/2019             Promise Healthcare Group, LLC                                                                                                   $2,279.63      $2,279.63




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                 Creditor Name and Address   Claim No. Claim Date                         Debtor                                Unsecured Claim                                          Admin Priority
                                                                                                                                                      Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                    Amount                                                  Amount
METRO TWO WAY COMMUNICATIONS
2013 W COMMONWEALTH AVE STE E
FULLERTON, CA 92833                            724      5/3/2019              Promise Healthcare Group, LLC                                                                                    $2,279.63                      $2,279.63
Record Xpress of California, LLC
Access Information Protected
500 Unicorn Park Drive, Suite 503
Woburn, MA 01801                               725      5/3/2019                   Quantum Health, Inc.                                $65,119.52                                                                            $65,119.52
Contractors Termite and Pest Control Inc
24825 N 16th Ave #140
Phoenix, AZ 85085                              726      5/6/2019              Promise Healthcare Group, LLC                             $1,280.00                                                                             $1,280.00
Eurotrol
850 N. Black Branch Rd.
Elizabethtown, KY 42701                        727      5/6/2019              Promise Healthcare Group, LLC                             $5,028.00                                                                             $5,028.00
TOLEDO OFFICE EQUIPMENT
111 WEST OLIVE DRIVE
#B
SAN YSIDRO, CA 92173                           728      5/6/2019              Promise Healthcare Group, LLC                               $354.23                                                                               $354.23
THE VILLAGES DAILY SUN
1020 LAKE SUMMER LANDING
THE VILLAGES, FL 32162                         729      5/6/2019              Promise Healthcare Group, LLC                             $8,062.31                                                                             $8,062.31
Adkins, Tangerine
PO Box 5071
Bellflower, CA 90707                           730      5/6/2019              Promise Healthcare Group, LLC                             $2,500.00                                                                             $2,500.00
MCMURRAY, JOHN THOMAS
1 BLACKFIELD DRIVE
SUITE 358
TIBURON, CA 94920                              731      5/6/2019              Promise Healthcare Group, LLC                          $1,600,000.00                                                                         $1,600,000.00
Adkins, Tangerine
4216 E. Imperial Hwy
Lynwood, CA 90262                              732      5/6/2019        Promise Hospital of East Los Angeles, L.P.                                                                                             $2,500.00      $2,500.00
Sierra Equities, Inc
Attn: General Counsel
801 North Brand Blvd.
Suite 1010
Glendale, CA 91203                             733      5/6/2019             Promise Hospital of Phoenix, Inc.                              $0.00                                                                                 $0.00
HELMER INC
14400 BERGEN BLVD
NOBLESVILLE, IN 46060                          734      5/6/2019      Promise Hospital of Florida at The Villages, Inc.                   $223.90                                                                               $223.90
DMR MECHANICAL LLC
PO Box 19507
Shreveport, LA 71149                           735      5/6/2019            Promise Hospital of Louisiana, Inc.                                                                                                  $445.81        $445.81
TOLEDO OFFICE EQUIPMENT
111 WEST OLIVE DRIVE
#B
SAN YSIDRO, CA 92173                           736      5/6/2019              Promise Healthcare Group, LLC                                                                                                      $354.23        $354.23
GENTZLER ELECTRICAL SERVICES, INC
11545 PAGE MILL ROAD
#200
DALLAS, TX 75243                               737      5/6/2019              Promise Hospital of Dallas, Inc.                                                              $2,987.70                                         $2,987.70
CAREFREE JANITORIAL SUPPLY
PO BOX 5255
405 BARKSDALE BLVD
BOSSIER CITY, LA 71171                         738      5/6/2019              Promise Healthcare Group, LLC                             $1,234.72                                                                             $1,234.72
FOLLETT CORPORATION
801 CHURCH LANE
EASTON, PA 18040                               739      5/6/2019              Promise Healthcare Group, LLC                             $1,864.38                                                                             $1,864.38


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               Creditor Name and Address     Claim No. Claim Date                          Debtor                                 Unsecured Claim                                         Admin Priority
                                                                                                                                                       Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                      Amount                                                 Amount
DMR MECHANICAL INC.
PO BOX 19507
SHREVEPORT, LA 71149                           740      5/6/2019             Promise Hospital of Louisiana, Inc.                           $445.81                                                                               $445.81
Brian's Plumbing
901 Ohio
Wichita Falls, TX 76301                        741      5/6/2019            Promise Hospital of Wichita Falls, Inc.                         $60.00                           $6,660.17                                         $6,720.17
Merit Health River Regions
c/o Pasi
PO Box 188
Brentwood, TN 37024                            742      5/7/2019               Promise Healthcare Group, LLC                            $571,225.27                                                                          $571,225.27
Senior RX Care of Kansas, LLC
Attn: Legal
121 SE 6th Avenue
Topeka, KS 66603                               743      5/7/2019    Promise Skilled Nursing Facility of Overland Park, Inc.              $41,968.91                                            $19,271.23                     $61,240.14
Missouri Department of Revenue
General Counsel's Office
PO Box 475
Jefferson City, MO 65105-0475                  744      5/7/2019               Promise Healthcare Group, LLC                                $27.50           $114.10                                                             $141.60
Missouri Department of Revenue
General Counsel's Office
PO Box 475
Jefferson City, MO 65105-0475                  745      5/7/2019               Promise Healthcare Group, LLC                                                 $178.19                                                             $178.19
Texas Health and Human Services Commission
Leslea Pickle
4900 North Lamar Blvd
Austin, TX 78751                               746      5/6/2019               Promise Healthcare Group, LLC                              $7,940.96                                                                            $7,940.96
Saunders, Keona
4003 Memorial Dr
Belleville, IL 62220                           747      5/7/2019                 Promise Healthcare #2, LLC                                                                                                     $5,866.00      $5,866.00
Missouri Department of Revenue
Box 475
Jefferson City, MO 65105                       748      5/7/2019               Promise Healthcare Group, LLC                             $20,292.75       $277,275.87                                                        $297,568.62
Concordia Bank & Trust Company
P.O. Box 518
Vidalia, LA 71373                              749      5/8/2019                  Promise Healthcare, Inc.                                                               $4,374,577.40                                      $4,374,577.40
SAUNDERS, KEONA
4003 MEMORIAL DRIVE
BELLEVILLE, IL 62226                           750      5/7/2019               Promise Healthcare Group, LLC                              $2,382.78         $4,167.33                           $3,636.00                     $10,186.11
Claim docketed in error
                                               751      5/7/2019               Promise Healthcare Group, LLC                                                                                                                       $0.00
R & R POWER SERVICES LLC
4807 HAZEL JONES RD.
BOSSIER CITY, LA 71111                         752      5/7/2019           Promise Properties of Shreveport, LLC                                                                                                $4,853.16      $4,853.16
R & R POWER SERVICES LLC
4807 HAZEL JONES RD.
BOSSIER CITY, LA 71111                         753      5/7/2019               Promise Healthcare Group, LLC                              $4,853.16                                                                            $4,853.16
BRANTLEY, TAMARA
1608 CHRISTINE ROAD
WICHITA FALLS, TX 76302                        754      5/7/2019               Promise Healthcare Group, LLC                                                    $0.00                                                              $0.00
Surgical Direct Inc.
2355 Centerline Industrial Dr
St. Louis, MO 63146                            755      5/7/2019               Promise Healthcare Group, LLC                             $50,078.27                                                                           $50,078.27
PHOENIX EI TRANSPORTATION, INC.
2730 W. AGUA FRIA FREEWAY
#206
PHOENIX, AZ 85027                              756      5/7/2019              Promise Hospital of Phoenix, Inc.                           $2,323.00                                                                            $2,323.00


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                Creditor Name and Address   Claim No. Claim Date                          Debtor                                Unsecured Claim                                         Admin Priority
                                                                                                                                                     Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                    Amount                                                 Amount
DISCOVERY MEDICAL STAFFING
5632 LA JOLLA BLVD
LA JOLLA, CA 92037                            757      5/7/2019              Promise Healthcare Group, LLC                              $3,817.00                                                                            $3,817.00
PHILLIPS, MICHAEL
123 S. CLARK DRIVE
PH4
LOS ANGELES, CA 90048                         758      5/7/2019                 Success Healthcare 1, LLC                                                $12,500.00                                                         $12,500.00
ROYCE INTEGRATED SOLUTIONS
3863 PEMBROKE ROAD
HOLLYWOOD, FL 33021                           759      5/7/2019      Promise Hospital of Florida at The Villages, Inc.                   $607.65                                                                              $607.65
AT ABATEMENT SERVICES, INC
4915 STILLWELL
KANSAS CITY, MO 64120                         760      5/7/2019                  Promise Healthcare, Inc.                               $3,105.00                                                                            $3,105.00
Certified Nursing Registry, Inc.
Law Offices of Charles G. Smith, APC
Charles G. Smith, Esq.
15303 Ventura Blvd., Suite1650
Sherman Oaks, CA 91403-6620                   761      5/8/2019                  Success Healthcare, LLC                              $199,683.00                                                                          $199,683.00
McBroom, Robert L.
3005 Lansing Blvd. Unit 130
Wichita Falls, TX 76309                       762      5/8/2019              Promise Healthcare Group, LLC                             $50,700.00                                                                           $50,700.00
Musculoskeletal Institute of LA
1534 Elizabeth Avenue, Ste 201
Shreveport, LA 71101                          763      5/8/2019              Promise Healthcare Group, LLC                              $9,847.49                                                                            $9,847.49
NEIL H. SMITH REVOCABLE TRUST
7816 TRAVELERS TREE DRIVE
BOCA RATON, FL 33433                          764      5/8/2019              Promise Healthcare Group, LLC                            $169,629.00                                                                          $169,629.00
PASTORAL CARE ASSOCIATES
2040 W. BETHANY HOME RD
SUITE 103
PHOENIX, AZ 85015                             765      5/8/2019             Promise Hospital of Phoenix, Inc.                                             $1,800.00                           $1,800.00                      $3,600.00
Med Resources Imaging, Inc
3581 Vineland Ave
Baldwin Park, CA 91706                        766      5/8/2019              Promise Healthcare Group, LLC                                                                                                    $8,924.20      $8,924.20
PASTORAL CARE ASSOCIATES
2040 W. BETHANY HOME RD
SUITE 103
PHOENIX, AZ 85015                             767      5/8/2019             Promise Hospital of Phoenix, Inc.                                                                                                 $1,800.00      $1,800.00
McBroom, Robert L.
3005 Lansing Blvd
Unit 130
Wichita Falls, TX 76309                       768      5/8/2019    Promise Skilled Nursing Facility of Wichita Falls, Inc.                                                                                   $50,700.00     $50,700.00
PATIENT POINT HOSPITAL SOLUTIONS
11408 OTTER CREEK SOUTH ROAD
MABELVALE, AR 72103                           769      5/9/2019      Promise Hospital of Florida at The Villages, Inc.                  $2,295.00                                                                            $2,295.00
Intensive Therapeutics, Inc.
PO Box 488
Sarasota, FL 34230                            770      5/9/2019          Promise Hospital of Overland Park, Inc.                          $84.38                                                                               $84.38
ASAP Express Delivery, LLC
PO Box 6620
Shreveport, LA 71136                          771      5/9/2019             Promise Hospital of Louisiana, Inc.                          $696.00                                                                              $696.00
ASAP Express Delivery, LLC
517 W 67th St
Shreveport, LA 71106                          772      5/9/2019             Promise Hospital of Louisiana, Inc.                                                                                                 $696.00       $696.00
EXECUTONE OF CENTRAL LA, INC
11316 PENNYWOOD AVE
BATON ROUGE, LA 70809                         773      5/9/2019             Promise Hospital of Louisiana, Inc.                          $609.12                                                                              $609.12

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                 Creditor Name and Address   Claim No. Claim Date                          Debtor                                 Unsecured Claim                                        Admin Priority
                                                                                                                                                      Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                      Amount                                                Amount
Uline Shipping Supplies
12575 Uline Drive
Pleasant Prairie, WI 53158                     774      5/9/2019               Promise Healthcare Group, LLC                              $685.78                                                                              $685.78
BARAN JR. MD, JOSEPH
PO BOX 3399
SAN DIEGO, CA 92163                            775      5/9/2019                    Quantum Health, Inc.                                 $5,700.00                                                                            $5,700.00
Soler, Bill
PO Box 684
York, SC 29745                                 776      5/9/2019               Promise Healthcare Group, LLC                              $625.53                                                                              $625.53
Claim docketed in error
                                               777      5/9/2019               Promise Healthcare Group, LLC                                                                                                                      $0.00
ROBERT D. HORNE ROTH IRA
340 BIRCH ST
WINNETKA, IL 60093                             778      5/9/2019               Promise Healthcare Group, LLC                                                                                                 $367,350.00    $367,350.00
The Next Level of Performance
DBA NLP Aqua Solutions
Attn: General Counsel
PO Box 110514
Lakewood Ranch, FL 34211                       779      5/9/2019                Promise Hospital of Lee, Inc.                                                                                $435,396.84                    $435,396.84
PURTLE & ASSOCIATES, LLC
9441 STEVENS ROAD
SUITE 200
SHREVEPORT, LA 71106                           780      5/6/2019    Promise Behavioral Health Hospital of Shreveport, Inc.               $4,620.00                                                                            $4,620.00
MILLARD, PATRICIA
528 SE 33RD STREET
CAPE CORAL, FL 33904                           781      5/9/2019               Promise Healthcare Group, LLC                                               $1,969.42                                                          $1,969.42
Millard, Patricia Anne
528 SE 33rd St.
Cape Coral, FL 33904                           782      5/9/2019               Promise Properties of Lee, Inc.                                                                                                     $0.00          $0.00
SIMON, JOSEPH
7466 SANTA DOMINGO WAY
BUENA PARK, CA 90620                           783      5/9/2019          Promise Hospital of East Los Angeles, L.P.                                       $4,590.24                                                          $4,590.24
Quatrex Corporation
1185 Blanton Rd
Sharon, SC 29742                               784      5/9/2019               Promise Healthcare Group, LLC                                                                                                   $1,251.06      $1,251.06
ENT MEDICAL CENTER
5258 DIJON DR.
BATON ROUGE, LA 70808                          785     5/10/2019            Promise Hospital of Baton Rouge, Inc.                         $390.00                                                                              $390.00
PROMISE MEDICAL GROUP, PLLC
9202 NW. 26TH STREET
WILDWOOD, FL 34785-7413                        786     5/10/2019            HLP Properties at the Villages, L.L.C.                      $17,850.00                                                                           $17,850.00
MECHANICAL CONCEPTS, LLC
P.O. BOX 3570
SHREVEPORT, LA 71133-3570                      787      5/9/2019             Promise Hospital of Louisiana, Inc.                         $7,071.78                                                                            $7,071.78
ROBERT D. HORNE ROTH IRA
340 BIRCH ST
WINNETKA, IL 60093                             788      5/9/2019               Promise Healthcare Group, LLC                                                              $367,350.00                                       $367,350.00
ENT MEDICAL CENTER
5258 DIJON DR.
BATON ROUGE, LA 70808                          789     5/10/2019            Promise Hospital of Baton Rouge, Inc.                                                                                                $390.00       $390.00
Stericycle Solutions, Inc
Attn: General Counsel
28161 N. Keith Drive
Lake Forest, IL 60045                          790      5/9/2019               Promise Healthcare Group, LLC                            $66,512.21                                                                           $66,512.21
DAWSON, MD, MARK
717 CURTIS DRIVE
RAYNE, LA 70578                                791     5/10/2019               Promise Healthcare Group, LLC                                $0.00                                                                                 $0.00

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                                                                                                                                                     Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                    Amount                                                 Amount
BOSSIER CITY-PARISH SALES & TAX
P.O. BOX 71313
BOSSIER CITY, LA 71171                        792     5/10/2019              Promise Healthcare Group, LLC                                                $1,721.65                                                          $1,721.65
Royal Cup Coffee
160 Cleage Dr
Birmingham, AL 35217                          793     5/10/2019             Promise Hospital of Phoenix, Inc.                            $325.60                                                                              $325.60
MAJESTIC MEDICAL SOLUTIONS, INC.
207 W EASTBANK STREET
GONZALES, LA 70737                            794     5/10/2019              Promise Healthcare Group, LLC                              $2,543.46                                                                            $2,543.46
Elite Medical Staffing, LLC
Raymond C. Carr, Esq.
625 Court Street, Suite 200
Clearwater, FL 33756                          795     5/10/2019           Promise Hospital of Wichita Falls, Inc.                      $17,718.99                                                                           $17,718.99
LIFE TIME FITNESS, INC
ATTN: A/R
2902 CORPORATE PLACE
CHANHASSEN, MN 55317                          796     5/10/2019                  Promise Healthcare, Inc.                               $3,609.11                                                                            $3,609.11
Certified Nursing Registry, Inc.
Law Offices of Charles G. Smith, APC
Charles G. Smith, Esq.
15303 Ventura Blvd., Suite1650
Sherman Oaks, CA 91403-6620                   797     5/13/2019           Promise Healthcare of California, Inc.                      $199,683.00                                                                          $199,683.00
Claim docketed in error
                                              798      5/9/2019              Promise Healthcare Group, LLC                                                                                                                       $0.00
M&R MEDCARE TRANSPORTATION, LLC
5286 W. HUNTER DRIVE
WEST VALLEY CITY, UT 84120                    799     5/10/2019              Promise Healthcare Group, LLC                               $578.75                                                                              $578.75
COMMERCIAL ELECTRIC MOTOR SERVICE
3121 WASHINGTON BLVD
ST. LOUIS, MO 63103                           800      5/9/2019              Promise Healthcare Group, LLC                               $767.75                                                                              $767.75
SIDNEY, CHARKARMALY
501 NORTH ROSSMORE AVE #205
LOS ANGELES, CA 90004                         801      5/9/2019         Promise Hospital of East Los Angeles, L.P.                     $23,392.25         $2,973.56                                                         $26,365.81
WITH YOU IN MIND PUBLICATIONS
502 N. MAIN STREET
PMB 116
WEATHERFORD, TX 76086                         802     5/10/2019           Promise Hospital of Wichita Falls, Inc.                        $360.00                                                                              $360.00
Neogenomics Laboratories, Inc.
Harold C. Klaskin, Esq.
Law Offices of Harold C. Klaskin, APC
12021 Wilshire Blvd., #510
Los Angeles, CA 90025                         803      5/9/2019         Promise Hospital of East Los Angeles, L.P.                     $15,247.63                                                                           $15,247.63
WITH YOU IN MIND PUBLICATIONS
502 N. MAIN STREET
PMB 116
WEATHERFORD, TX 76086                         804     5/10/2019    Promise Skilled Nursing Facility of Wichita Falls, Inc.               $360.00                                                                              $360.00
Elite Medical Staffing, LLC
Raymond C. Carr, Esq.
625 Court Street, Suite 200
Clearwater, FL 33756                          805     5/10/2019    Promise Skilled Nursing Facility of Wichita Falls, Inc.               $727.88                                                                              $727.88
Affordable Dentures Avon Park, PA
1048 US 275 Suite 1060
Avon Park, FL 33825                           806     5/10/2019                Promise Hospital of Lee, Inc.                                                                                                    $815.00       $815.00
Affordable Dentures
1048 US27 S Suite 1060
Avon Park, FL 33825                           807     5/10/2019                Promise Hospital of Lee, Inc.                             $815.00                                                                              $815.00


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                                                                                                                                                    Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                   Amount                                                 Amount
Certified Nursing Registry, Inc.
Law Offices of Charles G. Smith, APC
Charles G. Smith, Esq.
15303 Ventura Blvd., Suite1650
Sherman Oaks, CA 91403-6620                    808     5/13/2019                Promise Healthcare, Inc.                             $199,683.00                                                                          $199,683.00
AT&T Corp
c/o AT&T Services, Inc.
Karen Cavagnaro, Esq.
One AT&T Way, Room 3A104
Bedminster, NJ 07921                           809     5/13/2019        Promise Hospital of East Los Angeles, L.P.                      $789.69                                                                              $789.69
M & R Medcare Transportation
5286 W Hunter Dr.
West Valley City, UT 84120                     810     5/10/2019           Promise Hospital of Salt Lake, Inc.                                                                                                 $578.75       $578.75
Emdur DO, Ph.D., Larry I.
2073 Manchester Ave.
Cardiff, CA 92007                              811     5/10/2019          Promise Healthcare of California, Inc.                       $1,025.00        $12,850.00                                                         $13,875.00
Cook Medical, LLC
Attn: General Counsel
PO Box 1608
Bloomington, IN 47402                          812     5/13/2019             Promise Hospital of Dallas, Inc.                          $3,222.25                                                                            $3,222.25
EMDUR, LARRY DO
2073 MANCHESTER AVE.
CARDIFF, CA 92007                              813     5/10/2019          Promise Healthcare of California, Inc.                       $1,025.00        $12,850.00                                                         $13,875.00
SUMMAGE, TRACY
2624 HORACEK RD
HAUGHTON, LA 71037-8337                        814     5/13/2019             Promise Healthcare Group, LLC                                                   $0.00                                                              $0.00
EMDUR, LARRY DO
2073 MANCHESTER AVE.
CARDIFF, CA 92007                              815     5/10/2019          Promise Healthcare of California, Inc.                                                                                            $13,875.00     $13,875.00
Emdur DO, Ph.D., Larry I.
2073 Manchester Ave.
Cardiff, CA 92007                              816     5/10/2019          Promise Healthcare of California, Inc.                                                                                            $13,875.00     $13,875.00
Pacific Bell Telephone Company
% AT&T Services, Inc.
Karen Cavagnaro-Lead Paralegal
One AT&T Way, Suite 3A104
Bedminster, NJ 07921                           817     5/13/2019        Promise Hospital of East Los Angeles, L.P.                    $78,310.61                                                                           $78,310.61
Arkadin, Inc.
1501 E. Woodfield Road Suite 400E
Schaumburg, IL 60173                           818     5/13/2019             Promise Healthcare Group, LLC                            $11,627.97                                                                           $11,627.97
Arkadin, Inc.
1501 E. Woodfield
Suite 400E
Schaumburg, IL 60173                           819     5/13/2019             Promise Healthcare Group, LLC                                                                                                  $11,627.97     $11,627.97
MAINE STANDARDS COMPANY, LLC
221 US ROUTE 1
CUMBERLAND FORESIDE, ME 04110                  820     5/13/2019           Promise Hospital of Ascension, Inc.                          $617.00                                                                              $617.00
MILFORD PLUMBING SUPPLY
10943 LIN VALLE DR
ST. LOUIS, MO 63123                            821     5/13/2019             Promise Healthcare Group, LLC                              $834.48                                                                              $834.48
A&E TECHNICAL SERVICE, INC. DBA
204 CARNATION AVE.
METAIRIE, LA 70001                             822     5/13/2019         Promise Hospital of Baton Rouge, Inc.                          $764.32                                                                              $764.32




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                                                                                                                                                     Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                    Amount                                                 Amount
SAI Global Compliance, Inc
SAI Global Compliance, Inc
Attn: B. Schmitz, Accounting Mgr
205 W. Wacker Dr.
Suite 1800
Chicago, IL 60606                               823     5/13/2019                Promise Healthcare, Inc.                              $78,925.00                                                                           $78,925.00
Dunn, Lydia
113 Seargent S Prentiss Drive
Natchez, MS 39120                               824     5/13/2019             Promise Healthcare Group, LLC                                               $1,458.65                                                          $1,458.65
Summage, Tracy D.
2624 Horacek Rd
Haughton, LA 71037                              825     5/13/2019             Promise Healthcare Group, LLC                             $4,500.00                                                                            $4,500.00
True-See Systems, LLC
Attn: Patti O. Kemp
5146 Murphy Drive
Metairie, LA 70006                              826     5/13/2019             Promise Healthcare Group, LLC                              $941.15                                                                              $941.15
Cook Medical, LLC
Attn: General Counsel
PO Box 1608
Bloomington, IN 47402                           827     5/13/2019            Promise Hospital of Phoenix, Inc.                          $8,532.33                                                                            $8,532.33
Pivotal Tax Solutions, LLC
Law Office of Sterling R. Threet
c/o Sterling R. Threet
2345 E. University Dr., #2
Mesa, AZ 85213                                  828     5/13/2019                Success Healthcare, LLC                              $123,072.80                                                                          $123,072.80
CarePoint Shift Nursing, Inc.
11100 Valley Blvd Ste 342
El Monte, CA 91731-2533                         829     5/13/2019             Promise Healthcare Group, LLC                                               $1,870.00                                                          $1,870.00
Pivotal Tax Solutions, LLC
Law Office of Sterling R. Threet
c/o Sterling R. Threet
2345 E. University Dr., #2
Mesa, AZ 85213                                  830     5/13/2019                Promise Healthcare, Inc.                             $123,072.80                                                                          $123,072.80
Claim docketed in error
                                                831     5/13/2018             Promise Healthcare Group, LLC                                                                                                                      $0.00
PROMED APPAREL, LLC
6610 E. BASELINE RD #101
MESA, AZ 85206                                  832     5/13/2019             Promise Healthcare Group, LLC                                                                                                     $966.74       $966.74
CarePoint Shift Nursing
11100 Valley Blvd #342
El Monte, CA 91731                              833     5/13/2019             Promise Healthcare Group, LLC                                                                                                   $1,870.00      $1,870.00
NURSES INTERNET
6055 E. WASHINGTON BLVD
SUITE 409
COMMERCE, CA 90040                              834     5/13/2019        Promise Hospital of East Los Angeles, L.P.                     $8,596.00                                                                            $8,596.00
PROMED APPAREL, LLC
6610 E. BASELINE RD.
SUITE 101
MESA, AZ 85206                                  835     5/13/2019             Promise Healthcare Group, LLC                              $966.74                                                                              $966.74
Medical Repair Service
204 Carnation Avenue
Metairie, LA 70001                              836     5/13/2019         Promise Hospital of Baton Rouge, Inc.                                                                                                 $764.32       $764.32
Nurses Internet Staffing Services, Inc.
6055 E. Washington Blvd.
Suite 409
Commerce, CA 90040                              837     5/13/2019        Promise Hospital of East Los Angeles, L.P.                                                                                           $8,596.00      $8,596.00


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               Creditor Name and Address   Claim No. Claim Date                          Debtor                                 Unsecured Claim                                          Admin Priority
                                                                                                                                                      Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                    Amount                                                  Amount
ASSISTED TRANSPORTATION SERVICES
101 S. KANSAS AVE.
TOPEKA, KS 66603                             838     5/14/2019           Promise Hospital of Overland Park, Inc.                       $17,828.23                                                                            $17,828.23
ASSISTED TRANSPORTATION SERVICES, INC.
1625 S 45TH STREET
KANSAS CITY, KS 66106                        839     5/14/2019           Promise Hospital of Overland Park, Inc.                       $31,500.00                                                                            $31,500.00
GREENBARG, TODD
58 ARDSLEY AVENUE WEST
IRVINGTON, NY 10533                          840     5/14/2019               Promise Healthcare Group, LLC                            $176,364.79                                                                           $176,364.79
SPECIALTY DOORS AND AUTOMATION, INC.
4700 LONG BEACH BLVD
LONG BEACH, CA 90805                         841     5/14/2019               Promise Healthcare Group, LLC                                $491.98                                                                               $491.98
AIRE-MASTER
PO BOX 43258
PHOENIX, AZ 85080                            842     5/14/2019              Promise Hospital of Phoenix, Inc.                           $2,505.48                                                                             $2,505.48
Chase Transcriptions, Inc.
Ulmer & Berne LLP
c/o Chase Transcriptions
Attn: Todd Atkinson, Esq.
1660 W.2nd St., Suite 1100
Cleveland, OH 44113                          843     5/15/2019                  Promise Healthcare, Inc.                               $95,133.67                                                                            $95,133.67
Chase Transcriptions, Inc.
Ulmer & Berne LLP
c/o Chase Transcriptions, Inc.
Attn: Todd Atkinson, Esq.
1660 W.2nd St., Suite 1100
Cleveland, OH 44113                          844     5/15/2019                 Promise Healthcare #2, LLC                              $22,328.25                                                                            $22,328.25
SPECIALTY DOORS & AUTOMATION, INC.
4700 LONG BEACH BLVD
LONG BEACH, CA 90805                         845     5/14/2019               Promise Healthcare Group, LLC                                                                                                       $491.98        $491.98
Specialty Doors & Automation, Inc.
4700 Long Beach Blvd.
Long Beach, CA 90805                         846     5/14/2019               Promise Healthcare Group, LLC                                $491.98                                                                               $491.98
ALLCARE NURSING SERVICES INC.
3675 HUNTINGTON DR.,
STE 228
PASADENA, CA 91107                           847     5/14/2019          Promise Hospital of East Los Angeles, L.P.                                                                                            $49,996.64     $49,996.64
ALLCARE NURSING SERVICES INC.
3675 HUNTINGTON DR.,
STE 228
PASADENA, CA 91107                           848     5/14/2019          Promise Hospital of East Los Angeles, L.P.                                                                            $49,996.64                     $49,996.64
Ambitrans Medical Transport, Inc.
Latham, Shuker, Eden & Beaudine, LLP
Justin M. Luna, Esq.
PO Box 3353
Orlando, FL 32802-3353                       849     5/14/2019                Promise Hospital of Lee, Inc.                           $159,767.33                                                                           $159,767.33
Claim docketed in error
                                             850     5/14/2018               Promise Healthcare Group, LLC                                                                                                                        $0.00
Stuttgart, LP
3 Greenway Plaza, Suite 1000
Houston, TX 77046                            851     5/14/2019               Promise Healthcare Group, LLC                           $1,696,448.00                                                                         $1,696,448.00
SUN, DANIEL AND ALICE
4821 LAUREL STREET
BELLAIRE, TX 77401                           852     5/14/2019               Promise Healthcare Group, LLC                            $180,952.00                                                                           $180,952.00
ASSISTED TRANSPORTATION SERVICES
101 S. KANSAS AVE.
TOPEKA, KS 66603                             853     5/14/2019    Promise Skilled Nursing Facility of Overland Park, Inc.              $40,116.08                                                                            $40,116.08

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                                                                                                                                                                     Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                   Amount                                                  Amount
TEXAS FLYING LEGENDS MUSEUM'S ASSIGNED INTEREST
FROM MARCO LP (#95 & #137)
3 GREENWAY PLZ STE 1000
HOUSTON, TX 77046-0333                                         854     5/14/2019             Promise Healthcare Group, LLC                          $7,916,667.00                                                                         $7,916,667.00
C. R. Bard, Inc.
c/o Becton Dickinson and Company
Attn: Sabina Downing
1 Becton Drive
Franklin Lakes, NJ 07417                                       855     5/15/2019        Promise Hospital of East Los Angeles, L.P.                                                                            $8,240.70                      $8,240.70
NEPHRON 503B OUTSOURCING FACILITY
4500 12TH STREET EXTENSION
WEST COLUMBIA, SC 29172                                        856     5/16/2019           Promise Hospital of Salt Lake, Inc.                           $750.00                                                                               $750.00

CRG Financial LLC as Transferee of Nilesh B. Dave, Md., Pa
Attn: Allison R. Axenrod
100 Union Ave
Cresskill, NJ 07626                                            857     5/15/2019             Promise Hospital of Dallas, Inc.                                            $45,360.00                                                         $45,360.00
GAINES, DELORES
2616 GEORGIA AVENUE
KANSAS CITY, KS 66104                                          858     5/15/2019             Promise Healthcare Group, LLC                                 $0.00                                                                                 $0.00
Immediate Respiratory Staffers, Inc.
8777 East Via De Ventura
Suite 390
Scottsdale, AZ 85258                                           859     5/14/2019             Promise Healthcare Group, LLC                             $7,097.00                                                                             $7,097.00
Kevin A. Smola and Associates, Inc.
16025 Arrow Hwy., Suite C
Irwindale, CA 91706                                            860     5/15/2019        Promise Hospital of East Los Angeles, L.P.                                                                                            $5,240.00      $5,240.00
Kevin A. Smola and Associates, Inc.
16025 Arrow Hwy., Suite C
Irwindale, CA 91706                                            861     5/15/2019        Promise Hospital of East Los Angeles, L.P.                                                                            $5,240.00                      $5,240.00
Immediate Respiratory Staffers Inc
8777 East Via De Ventura # 390
Scottsdale, AZ 85258                                           862     5/14/2019             Promise Healthcare Group, LLC                                                                                                    $7,097.00      $7,097.00

CRG Financial LLC as Transferee of Nilesh B. Dave, Md., Pa
Attn: Allison R. Axenrod
100 Union Ave
Cresskill, NJ 07626                                            863     5/15/2019             Promise Healthcare Group, LLC                                               $45,360.00                                                         $45,360.00
Certified Nursing Registry, Inc.
Law Offices of Charles G. Smith, APC
15303 Ventura Blvd., # 1650
Sherman Oaks, CA 91403-6620                                    864     5/16/2019                Success Healthcare, LLC                              $199,683.00                                                                           $199,683.00
Johnson County Wastewater
Customer Service
11811 S. Sunset Drive , Suite 2500
Olathe, KS 66061                                               865     5/13/2019             Promise Healthcare Group, LLC                            $11,124.55                                                                            $11,124.55

CRG Financial LLC as Transferee of Nilesh B. Dave, Md., Pa
Attn: Allison R. Axenrod
100 Union Ave
Cresskill, NJ 07626                                            866     5/15/2019             Promise Hospital of Dallas, Inc.                                            $45,360.00                                                         $45,360.00
AT&T Corp
% AT&T Services, Inc.
Karen Cavagnaro, Esq.
One AT&T Way, Room 3A104
Bedminster, NJ 07921                                           867     5/17/2019             Promise Healthcare Group, LLC                             $5,328.26                                                                             $5,328.26


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                                                                                                                                                  Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                 Amount                                                 Amount
Southwestern Bell Telephone Company
AT&T Corp
% AT&T Services, Inc.
Karen Cavagnaro, Esq.
One AT&T Way, Room 3A104
Bedminster, NJ 07921                        868     5/17/2019              Promise Healthcare Group, LLC                            $50,376.27                                                                           $50,376.27
BellSouth Telecommunications, Inc.
% AT&T Services, Inc.
Karen Cavagnaro, Esq.
One AT&T Way, Room 3A104
Bedminster, NJ 07921                        869     5/17/2019        Professional Rehabilitation Hospital, L.L.C.                   $11,522.19                                                                           $11,522.19
AT&T Corp
c/o AT&T Services, Inc.
Karen Cavagnaro, Esq.
One AT&T Way, Room 3A104
Bedminster, NJ 07921                        870     5/17/2019                  Success Healthcare, LLC                              $10,156.30                                                                           $10,156.30
CENTRAL OFFICE OF SHREVEPORT
2800 YOUREE DRIVE
STE 362
SHREVEPORT, LA 71104                        871     5/17/2019              Promise Healthcare Group, LLC                                                                                    $645.00                        $645.00
AT&T Corp
c/o AT&T Services, Inc.
Karen Cavagnaro, Esq.
One AT&T Way, Room 3A104
Bedminster, NJ 07921                        872     5/17/2019            St. Alexius Hospital Corporation #1                         $7,261.56                                                                            $7,261.56
Southwestern Bell Telephone Company
c/o AT&T Services, Inc.
Karen A. Cavagnaro - Lead Paralegal
One AT&T Way, Room 3A104
Bedminster, NJ 07921                        873     5/17/2019            St. Alexius Hospital Corporation #1                         $2,453.08                                                                            $2,453.08
Thomas & Company
Attn: Kathy Wilson
P.O. Box 280100
Nashville, TN 37228                         874     5/17/2019              Promise Healthcare Group, LLC                             $4,652.45                                                                            $4,652.45
INTERMED GROUP, INC.
13301 NW US HIGHWAY 441
ALACHUA, FL 32615-8512                      875     5/17/2019      Promise Hospital of Florida at The Villages, Inc.                 $1,377.00                                                                            $1,377.00
Truly Nolen Branch 079
432 S. Williams Blvd.
Tucson, AZ 85711                            876     5/17/2019               Promise Hospital of Lee, Inc.                            $1,049.40                                                                            $1,049.40
QUINTANILLA, GLADY
24636 OVERLOOK DR
CORONA, CA 92883-5236                       877     5/17/2019              Promise Healthcare Group, LLC                             $6,000.00                                                                            $6,000.00
ADVENTURE HEALTHCARE SOLUTIONS, INC.
P.O. BOX 244
CARDIFF, CA 92007                           878     5/17/2019                 Promise Healthcare, Inc.                               $9,108.04                                                                            $9,108.04
ADVENTURE HEALTHCARE SOLUTIONS, INC.
P.O. BOX 244
CARDIFF, CA 92007                           879     5/17/2019                 Promise Healthcare, Inc.                                                                                                     $9,108.04      $9,108.04
Pacific Bell Telephone Company
% AT&T Services, Inc.
Karen Cavagnaro-Lead Paralegal
One AT&T Way, Suite 3A104
Bedminster, NJ 07921                        880     5/20/2019                 Success Healthcare 1, LLC                               $897.02                                                                              $897.02
Quintanilla, Glady
24636 Overlook Dr
Corona, CA 92883                            881     5/17/2019              Promise Healthcare Group, LLC                                                                                                   $6,000.00      $6,000.00

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               Creditor Name and Address      Claim No. Claim Date                         Debtor                                Unsecured Claim                                           Admin Priority
                                                                                                                                                        Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                     Amount                                                   Amount
Southwestern Bell Telephone Company
c/o AT&T Services, Inc.
Karen A. Cavagnaro - Lead Paralegal
One AT&T Way, Room 3A104
Bedminster, NJ 07921                            882     5/20/2019              Promise Hospital of Dallas, Inc.                            $1,756.94                                                                              $1,756.94
LAWTON BROTHERS, INC.
2515 DINNEEN AVENUE
ORLANDO, FL 32804                               883     5/20/2019      Promise Hospital of Florida at The Villages, Inc.                    $546.71                                                                                $546.71
NIGHTINGALE NURSES, LLC
DRAWER 1256
TROY, MI 48007                                  884     5/20/2019                   Quantum Health, Inc.                                   $4,661.75                                                                              $4,661.75
GALVEZ, MARIBELLE P.
2912 PARKWOOD COURT
FULLERTON, CA 92835                             885     5/20/2019              Promise Healthcare Group, LLC                                  $0.00                                                                                  $0.00
MEDSERVICE REPAIR, INC
1234 ALLISON RD
MUNDELEIN, IL 60060                             886     5/20/2019              Promise Healthcare Group, LLC                               $2,680.00                                                                              $2,680.00
Claim docketed in error
                                                887     5/20/2019              Promise Healthcare Group, LLC                                                                                                                         $0.00
MIDWEST PAGING
405-C HWY C
PURDY, MO 65734                                 888     5/20/2019                  Success Healthcare, LLC                                  $924.48                                                                                $924.48
HARRIS, CRAIG R.
4472 OLYVIA PLACE
ROANOKE, VA 24018                               889     5/20/2019              Promise Healthcare Group, LLC                            $776,500.77                                                                            $776,500.77
Med Service Repair
1234 Allanson Rd
Mundelein, IL 60060                             890     5/20/2019              Promise Healthcare Group, LLC                                                                                                     $2,680.00        $2,680.00
ACI SPECIALTY BENEFITS
6480 WEATHERS PLACE
SUITE 300
SAN DIEGO, CA 92121                             891     5/20/2019              Promise Healthcare Group, LLC                                $650.00                                                                                $650.00
ALVARADO HOSPITAL, LLC
JOANNA COX, PATIENT FINANCIAL SVS. DIRECTOR
6655 ALVARADO ROAD
SAN DIEGO, CA 92120                             892     5/20/2019           Promise Healthcare of California, Inc.                       $83,697.00                                                                             $83,697.00
ROBERT SCOT BUILDING VENTURE
ROBERT HARRIS, MANAGER
P.O. BOX 437
GLENCOE, IL 60022                               893     5/20/2019              Promise Healthcare Group, LLC                           $1,300,000.00                                                                          $1,300,000.00
GE Precision Healthcare LLC
c/o Stephanie F. Gilley, Authorized Agent
25 Whitney Drive, Suite 106
Milford, OH 45150                               894     5/20/2019               Promise Hospital of Lee, Inc.                            $43,042.48                                                                             $43,042.48
ROBERT SCOT BUILDING VENTURE
PO BOX 437
GLENCOE, IL 60022                               895     5/20/2019              Promise Healthcare Group, LLC                                                                                                 $1,300,000.00    $1,300,000.00
Impact Network, LLC
Jay M. Simon, A.P.L.C.
Jay M. Simon, Attorney at Law
8480 Bluebonnet Blvd.
Suite G
Baton Rouge, LA 70810                           896     5/21/2019            Promise Hospital of Ascension, Inc.                         $55,050.00                                                                             $55,050.00
Surgical Program Development, LLC
18000 Studebaker Road, # 700
Cerritos, CA 90703                              897     5/21/2019                 Promise Healthcare, Inc.                            $45,900,000.00                                                                         $45,900,000.00


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                                                                                                                                                                  Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                               Amount                                                   Amount
Surgical Program Development, LLC
18000 Studebaker Road, #700
Cerritos, CA 90703                                        898     5/21/2019                 Success Healthcare 1, LLC                           $45,900,000.00                                                                         $45,900,000.00
California Department of Tax and Fee Administration
(functional successor to Board of Equalization 7
Special Ops, MIC:55
P.O. Box 942879
Sacramento , CA 94279-0055                                899     5/20/2019                   Quantum Health, Inc.                                                     $2,593.66                                                            $2,593.66
Neurologica Corp.
Akerman LLP
Michael Goldberg, Esq./Joan Levit, Esq.
350 E. Las Olas Blvd., #1600
Fort Lauderdale, FL 33301                                 900     5/17/2019               Promise Hospital of Lee, Inc.                              $9,352.00                                                                              $9,352.00
TERRACON CONSULTANTS, INC
P.O. BOX 959673
ST. LOUIS, MO 63195-9673                                  901     5/20/2019                 Promise Healthcare, Inc.                                 $6,170.00                                                                              $6,170.00
HASLINGER DIVERSIFIED VENTURES, LTD.
2524 IRA ROAD
AKRON, OH 44333                                           902     5/20/2019              Promise Healthcare Group, LLC                           $3,958,356.00                                                                          $3,958,356.00
FREEDOM MEDICAL, INC
219 WELSH POOL RD
EXTON, PA 19341                                           903     5/21/2019              Promise Healthcare Group, LLC                           $1,106,243.62                                                                          $1,106,243.62
Zimmer Biomet
345 East Main Street
Warsaw, IN 46580                                          904     5/22/2019                 Promise Healthcare, Inc.                               $43,099.55                                                                             $43,099.55
GE Precision Healthcare LLC aka GE Healthcare OEC
DeHaan & Bach, LPA
c/o Stephanie F. Gilley, Authorized Agent
25 Whitney Drive, Suite 106
Milford, OH 45150                                         905     5/20/2019      Promise Hospital of Florida at The Villages, Inc.                                                                                         $4,575.00        $4,575.00
DeGoler's, Inc.
111 Oak Street
Bonner Springs, KS 66012                                  906     5/22/2019          Promise Hospital of Overland Park, Inc.                       $42,992.02                                                                             $42,992.02
FLOWERS, SHENITHA
1087 MAGNOLIA LANE
PORT GIBSON, MS 39150                                     907     5/21/2019            Promise Hospital of Vicksburg, Inc.                              $0.00                                                                                  $0.00
GE Precision LLC aka GE Healthcare Diagnostic Imaging
DeHaan & Bach, LPA
c/o Stephanie F. Gilley, Authorized Agent
25 Whitney Drive, Suite 106
Milford, OH 45150                                         908     5/20/2019               Promise Hospital of Lee, Inc.                                                                                                    $5,232.13        $5,232.13
Lindley , Christian
143 Mustang Drive
Grand Cane, LA 71032                                      909     5/21/2019          Promise Properties of Shreveport, LLC                                                                                                 $3,127.38        $3,127.38
Flowers Davis, Shenitha
104 Grand Bear Cir.
Vicksburg, MS 39183                                       910     5/21/2019              Promise Healthcare Group, LLC                                                                                                         $0.00           $0.00
Terracon Consultants, Inc.
Attn: Megan Thomas
10841 S. Ridgeview Rd.
Olathe, KS 66061                                          911     5/20/2019                 Promise Healthcare, Inc.                                                                                                       $6,170.00        $6,170.00
Roche Diagnostics Corporation
Douglas Durbin
Senior Corporate Credit Analyst
Roche Diagnostics Corporation
9115 Hague Road-Building B3-1, Mail Stop A3-A
Indianapolis, IN 46256                                    912     5/22/2019          Promise Hospital of Baton Rouge, Inc.                            $922.72                                                                                $922.72

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                Creditor Name and Address       Claim No. Claim Date                         Debtor                                Unsecured Claim                                         Admin Priority
                                                                                                                                                        Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                       Amount                                                 Amount
Roche Diagnostics Corporation
Douglas Durbin
Senior Corporate Credit Analyst
9115 Hague Road-Building B3-1
Mail Stop A3-A
Indianapolis, IN 46256                            913     5/22/2019      Promise Hospital of Florida at The Villages, Inc.                 $9,991.76                                                                            $9,991.76
Temp-Con LLC
Attn: Sarah Dawson
15670 S Keeler Street
Olathe, KS 66062                                  914     5/22/2019          Promise Hospital of Overland Park, Inc.                       $2,580.47                                             $6,360.00                      $8,940.47
Roche Diagnostics Corporation
Douglas Durbin
Senior Corporate Credit Analyst
9115 Hague Road-Building B3-1, Mail Stop A3-A
Indianapolis, IN 46256                            915     5/22/2019            Promise Hospital of Louisiana, Inc.                        $18,784.15                                            $18,976.98                     $37,761.13
Roche Diagnostics Corporation
Douglas Durbin
Senior Corporate Credit Analyst
9115 Hague Road-Building B3-1, Mail Stop A3-A
Indianapolis, IN 46256                            916     5/22/2019             Promise Hospital of Phoenix, Inc.                         $19,544.88                                                                           $19,544.88
BE WELL NURSING LLC
815 S. CENTRAL AVE.
SUITE 1
GLENDALE, CA 91204                                917     5/22/2019        Promise Hospital of East Los Angeles, L.P.                    $157,212.18                                                                          $157,212.18
BE WELL NURSING LLC
815 S. CENTRAL AVE.
SUITE 1
GLENDALE, CA 91204                                918     5/22/2019                 Success Healthcare 1, LLC                            $157,212.18                                                                          $157,212.18
Duranotic Door, Inc.
14901 W.117TH ST
Olathe, KS 66062                                  919     5/22/2019          Promise Hospital of Overland Park, Inc.                                                                                               $940.00       $940.00
DURANOTIC DOOR, INC
14901 W. 117TH STREET
OLATHE, KS 66062                                  920     5/22/2019          Promise Hospital of Overland Park, Inc.                        $940.00                                                                              $940.00
AirGas USA LLC
2015 Vaughn Rd Suite 400
Kennesaw, GA 30144                                921     5/21/2019              Promise Healthcare Group, LLC                                                                                                   $1,942.52      $1,942.52
Roche Diagnostics Corporation
Douglas Durbin
Senior Corporate Credit Analyst
9115 Hague Road-Building B3-1, Mail Stop A3-A
Indianapolis, IN 46256                            922     5/22/2019                 Promise Healthcare, Inc.                              $71,180.30                                            $20,426.66                     $91,606.96
Roche Diagnostics Corporation
Douglas Durbin
Senior Corporate Credit Analyst
9115 Hague Road-Building B3-1, Mail Stop A3-A
Indianapolis, IN 46256                            923     5/22/2019               Promise Hospital of Lee, Inc.                           $12,233.28                                             $1,449.68                     $13,682.96
Roche Diagnostics Corporation
Douglas Durbin
Senior Corporate Credit Analyst
9115 Hague Road-Building B3-1, Mail Stop A3-A
Indianapolis, IN 46256                            924     5/22/2019              Promise Hospital of Dade, Inc.                            $4,356.04                                                                            $4,356.04
Roche Diagnostics Corporation
Douglas Durbin
Senior Corporate Credit Analyst
9115 Hague Road-Building B3-1, Mail Stop A3-A
Indianapolis, IN 46256                            925     5/22/2019        Professional Rehabilitation Hospital, L.L.C.                     $195.21                                                                              $195.21

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                Creditor Name and Address       Claim No. Claim Date                        Debtor                                Unsecured Claim                                         Admin Priority
                                                                                                                                                       Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                      Amount                                                 Amount
Roche Diagnostics Corporation
Douglas Durbin
Senior Corporate Credit Analyst
9115 Hague Road-Building B3-1, Mail Stop A3-A
Indianapolis, IN 46256                            926     5/22/2019           Promise Hospital of Vicksburg, Inc.                         $5,152.26                                                                            $5,152.26
AIRGAS USA, LLC
PO BOX 532609
ATLANTA, GA 30353-2909                            927     5/21/2019             Promise Healthcare Group, LLC                             $1,930.03                                                                            $1,930.03
LINDLEY, CHRISTIAN
143 MUSTANG DRIVE
GRAND CANE, LA 71032                              928     5/21/2019         Promise Properties of Shreveport, LLC                         $3,127.38                                                                            $3,127.38
CUNNINGHAM, RASHAD
1517 EAST HELMICK STREET
CARSON, CA 90746                                  929     5/22/2019        Promise Hospital of East Los Angeles, L.P.                                                                                           $4,700.00      $4,700.00
CUNNINGHAM, RASHAD
1517 EAST HELMICK STREET
CARSON, CA 90746                                  930     5/22/2019        Promise Hospital of East Los Angeles, L.P.                     $4,700.00                                                                            $4,700.00
Watkins, George
5274 Felicia St
Camarillo, CA 93012                               931     5/23/2019                Success Healthcare, LLC                                                                                                    $264,196.00    $264,196.00
Medreach Ambulance Services
Grant Mercantile Agency
PO Box 658
Oakhurst , CA 93644                               932     5/22/2019               Success Healthcare 1, LLC                              $85,094.55                                                                           $85,094.55
X-Spine Systems Inc.
Goldman Evans and Trammell LLC
10323 Cross Creek Blvd F
Tampa , FL 33647                                  933     5/23/2019             Promise Healthcare Group, LLC                            $13,750.00                                                                           $13,750.00
Fukuda Denshi USA, Inc.
Fox Rothschild LLP
Attn: Robert Amkraut
1001 4th Ave. Suite 4500
Seattle, WA 98154                                 934     5/23/2019              Promise Hospital of Lee, Inc.                            $2,417.34                                             $1,208.45                      $3,625.79
Fukuda Denshi USA, Inc.
Fox Rothschild LLP
Attn: Robert Amkraut
1001 4th Ave. Suite 4500
Seattle, WA 98154                                 935     5/23/2019         Promise Hospital of Overland Park, Inc.                       $5,718.82                                                $77.61                      $5,796.43
Fukuda Denshi USA, Inc.
Fox Rothschild LLP
Attn: Robert Amkraut
1001 4th Ave. Suite 4500
Seattle, WA 98154                                 936     5/23/2019             Promise Hospital of Dade, Inc.                           $10,206.64                                             $2,612.00                     $12,818.64
Fukuda Denshi USA, Inc.
Fox Rothschild LLP
Attn: Robert Amkraut
1001 4th Ave. Suite 4500
Seattle, WA 98154                                 937     5/23/2019            Promise Properties of Dade, Inc.                          $10,206.64                                             $2,612.00                     $12,818.64
California Medical Response, Inc.
Law Offices of Marks & Acalin LLP
Attn: R.A. Marks
4221 Wilshire Boulevard, Suite 330
Los Angeles, CA 90010                             938     5/23/2019             Promise Healthcare Group, LLC                            $62,844.37                                                                           $62,844.37
HOPWOOD, JAMES
418 OLD YORK RD
COPPLL, TX 75017-3739                             939     5/24/2019             Promise Healthcare Group, LLC                              $150.00                                                                              $150.00


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                                                                                                                                                            Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                           Amount                                                 Amount
Carefusion 211, Inc
26125 N Riverwoods
Mettawa, IL 60045                                       940     5/24/2019           Promise Hospital of Phoenix, Inc.                        $142,557.45                                                                          $142,557.45
Diamond Diagnostics LLC
Attn: General Counsel
Mike Factor
1324 N. Farrell Ct. #102
Gilbert, AZ 85233                                       941     5/22/2019           Promise Hospital of Phoenix, Inc.                          $5,736.28                                                                            $5,736.28
ACCOUNTABLE HEALTHCARE STAFFING,INC.
P.O. BOX 732800
DALLAS, TX 75373-2800                                   942     5/22/2019           Promise Hospital of Phoenix, Inc.                         $12,870.00                                                                           $12,870.00
GALVEZ, MARIBELLE P.
2912 PARKWOOD COURT
FULLERTON, CA 92835                                     943     5/20/2019           Promise Healthcare Group, LLC                                                                                                        $0.00          $0.00
St. Alexius Hospital/Funding Partners Designee, LLC
Staci Laurino
11036 Tesson Ferry Rd
St. Louis, MO 63123                                     944     5/21/2019           Promise Healthcare Group, LLC                              $6,000.00                                                                            $6,000.00
DIAMOND DIAGNOSTICS, LLC
Mike Factor
1324 N FARRELL COURT
#102
GILBERT, AZ 85233                                       945     5/22/2019           Promise Hospital of Phoenix, Inc.                          $5,736.28                                                                            $5,736.28
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                                    946     5/23/2019             Promise Healthcare #2, LLC                                                              $5,348,316.57                                      $5,348,316.57
RIVERPARK AMBULATORY SURGICAL
107 FRONT STREET
VIDALIA, LA 71373                                       947     5/23/2019               Promise Healthcare, Inc.                               $3,985.04                                                                            $3,985.04
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                                    948     5/23/2019                 HLP HealthCare, Inc.                                                                $5,348,316.57                                      $5,348,316.57
Carefusion 211, Inc.
26125 N Riverwoods Blvd
Mettawa, IL 60045                                       949     5/24/2019        Promise Hospital of Overland Park, Inc.                     $239,173.52                                            $11,552.68                    $250,726.20
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                                    950     5/23/2019          Promise Healthcare Holdings, Inc.                                                          $5,348,316.57                                      $5,348,316.57
Carefusion 211,Inc.
26125 N Riverwoods Blvd.
Mettawa, IL 60045                                       951     5/24/2019           Promise Healthcare Group, LLC                            $109,977.04                                             $1,784.80                    $111,761.84
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                                    952     5/23/2019            Promise Hospital of Dallas, Inc.                                                         $5,348,316.57                                      $5,348,316.57
REED MECHANICAL EQUIPMENT, INC.
P.O. BOX 6631
SHREVEPORT, LA 71136                                    953     5/21/2019          Promise Hospital of Louisiana, Inc.                          $351.20                                                                               $351.20




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                 Creditor Name and Address   Claim No. Claim Date                          Debtor                                 Unsecured Claim                                         Admin Priority
                                                                                                                                                       Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                      Amount                                                 Amount
Carefusion 211 Inc
26125 N Riverwoods Blvd
Mettawa, IL 60045                              954     5/24/2019    Promise Skilled Nursing Facility of Wichita Falls, Inc.              $73,625.76                                              $426.82                      $74,052.58
Carefusion, 211 Inc.
26125 N Riverwoods Blvd.
Mettawa, IL 60045                              955     5/24/2019              Promise Hospital of Salt Lake, Inc.                       $143,223.52                                                                          $143,223.52
Carefusion 211, Inc.
26125 N Riverwoods Blvd.
Mettawa, IL 60045                              956     5/24/2019          Promise Hospital of East Los Angeles, L.P.                    $298,274.40                                             $2,209.44                    $300,483.84
Laurino, Staci T.
11036 Tesson Ferry Rd
St. Louis, MO 63123                            957     5/21/2019               Promise Healthcare Group, LLC                                                                                                   $12,000.00     $12,000.00
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                           958     5/23/2019    Promise Skilled Nursing Facility of Overland Park, Inc.                                              $5,348,316.57                                      $5,348,316.57
Claim docketed in error
                                               959     5/21/2019               Promise Healthcare Group, LLC                                                                                                                       $0.00
Southern Textile Services LLC
Bayard, P.A.
Attn: Evan T. Miller
600 N. King Street
Wilmington, DE 19801                           960     5/23/2019             Promise Hospital of Ascension, Inc.                         $38,865.47                                                                           $38,865.47
Southern Textile Services LLC
Bayard, P.A.
Attn: Evan T. Miller
600 N. King Street
Wilmington, DE 19801                           961     5/23/2019                  Promise Healthcare, Inc.                              $119,144.82                                                                          $119,144.82
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                           962     5/23/2019               Promise Healthcare Group, LLC                                                             $5,348,316.57                                      $5,348,316.57
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                           963     5/23/2019                         PH-ELA, Inc.                                                                    $5,348,316.57                                      $5,348,316.57
MARTIN, AREE
21338 HIPASS DRIVE
DIAMOND BAR, CA 91765                          964     5/10/2019          Promise Hospital of East Los Angeles, L.P.                       $500.00                                                                               $500.00
ACCOUNTABLE HEALTHCARE STAFFING,INC.
P.O. BOX 732800
DALLAS, TX 75373-2800                          965     5/22/2019       Promise Hospital of Florida at The Villages, Inc.                 $19,476.13                                                                           $19,476.13
Express Ambulance
Grant Mercantile Agency
PO Box 658
Oakhurst, CA 93644                             966     5/23/2019                    Quantum Health, Inc.                                 $23,189.41                                                                           $23,189.41
AngioDynamics, Inc
14 Plaza Drive
Latham, NY 12110                               967     5/24/2019                  Success Healthcare 1, LLC                                $812.00                                                                               $812.00
TOTAL ENVIRONMENTAL MANAGEMENT INC
1415 N BURTON PLACE
ANAHEIM, CA 92806                              968     5/23/2019               Promise Healthcare Group, LLC                             $12,600.00                                                                           $12,600.00




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                                                                                                                                                              Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                             Amount                                                 Amount
Smith & Nephew, Inc.
Attn: Kacey L. Faughnan, Esq.
7135 Goodlett Farms Parkway
Cordova, TN 38016                                       969     5/24/2019              Promise Healthcare Group, LLC                              $489.00                                                                               $489.00
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                                    970     5/23/2019          Promise Hospital of Baton Rouge, Inc.                                                        $5,348,316.57                                      $5,348,316.57
Southern Textile Services LLC
Bayard, P.A.
Attn: Evan T. Miller
600 N. King Street
Wilmington, DE 19801                                    971     5/23/2019            Promise Hospital of Vicksburg, Inc.                        $21,017.00                                                                           $21,017.00
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                                    972     5/23/2019      Promise Hospital of Florida at The Villages, Inc.                                                $5,348,316.57                                      $5,348,316.57
Office Of Statewide Health Planning and Development
2020 W El Camino Ave , Suite 1000
Sacramento , CA 95833-2988                              973     5/23/2019        Promise Hospital of East Los Angeles, L.P.                      $2,921.66                                                                            $2,921.66
Diamond Diagnostics LLC
Attn: General Counsel
Mike Factor
1324 N. Farrell Ct. #102
Gilbert, AZ 85233                                       974     5/22/2019             Promise Hospital of Phoenix, Inc.                                                                                                $5,736.28      $5,736.28
Diamond Diagnostics LLC
1324 N Farrell Ct, 102
Gilbert, AZ 85233                                       975     5/22/2019             Promise Hospital of Phoenix, Inc.                                                                                                $5,736.28      $5,736.28
Reed Mechanical Equipment, Inc
P.O. Box 6631
Shreveport, LA 71136-6631                               976     5/21/2019            Promise Hospital of Louisiana, Inc.                                                                                                 $351.20        $351.20
Claim docketed in error
                                                        977     5/22/2019              Promise Healthcare Group, LLC                                                                                                                      $0.00
Diamond Diagnostics LLC
1324 N. Farrell Ct. 102
Gilbert, AZ 85233                                       978     5/22/2019             Promise Hospital of Phoenix, Inc.                                                                                                $5,736.28      $5,736.28
Diamond Diagnostics
Attn: General Counsel
1324 N. Farrell Court 102
Gilbert, AZ 85233                                       979     5/22/2019             Promise Hospital of Phoenix, Inc.                          $5,736.28                                                                            $5,736.28
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                                    980     5/23/2019        Promise Hospital of East Los Angeles, L.P.                                                     $5,348,316.57                                      $5,348,316.57
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                                    981     5/23/2019                  Success Healthcare, LLC                                                              $5,348,316.57                                      $5,348,316.57
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                                    982     5/23/2019            Promise Hospital of Ascension, Inc.                                                        $5,348,316.57                                      $5,348,316.57

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               Creditor Name and Address   Claim No. Claim Date                          Debtor                                Unsecured Claim                                         Admin Priority
                                                                                                                                                    Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                   Amount                                                 Amount
AngioDynamics, Inc.
PO Box 1549
Albany, NY 12201-1549                        983     5/24/2019         Promise Hospital of East Los Angeles, L.P.                      $3,245.76                                                                            $3,245.76
Hopwood, James
418 Old York Rd
Coppell, TX 75019-3739                       984     5/24/2019              Promise Healthcare Group, LLC                               $150.00                                                                              $150.00
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                         985     5/23/2019          Promise Hospital of Overland Park, Inc.                                                       $5,348,316.57                                     $5,348,316.57
RIVERPARK IMAGING CENTER
107 FRONT STREET
VIDALIA, LA 71373                            986     5/23/2019                  Promise Healthcare, Inc.                              $11,026.69                                                                           $11,026.69
Advantage Medical Professionals
3340 SEVERN AVE STE 320
METAIRIE, LA 70002                           987     5/27/2019            Promise Hospital of Ascension, Inc.                         $70,799.31                                                                           $70,799.31
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                         988     5/23/2019    Promise Skilled Nursing Facility of Wichita Falls, Inc.                                             $5,348,316.57                                     $5,348,316.57
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                         989     5/23/2019             Promise Hospital of Louisiana, Inc.                                                        $5,348,316.57                                     $5,348,316.57
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                         990     5/23/2019             Promise Hospital of Phoenix, Inc.                                                          $5,348,316.57                                     $5,348,316.57
PUCHLIK DESIGN ASSOCIATES INC
859 SOUTH RAYMOND AVENUE
PASADENA, CA 91105                           991     5/23/2019                  Success Healthcare, LLC                                   $0.00                                                                                $0.00
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                         992     5/23/2019                Promise Hospital of Lee, Inc.                                                           $5,348,316.57                                     $5,348,316.57
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                         993     5/23/2019         Professional Rehabilitation Hospital, L.L.C.                                                   $5,348,316.57                                     $5,348,316.57
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                         994     5/23/2019             Promise Hospital of Salt Lake, Inc.                                                        $5,348,316.57                                     $5,348,316.57
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                         995     5/23/2019                    Quantum Health, Inc.                                                                $5,348,316.57                                     $5,348,316.57




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                                                                                                                                                                    Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                   Amount                                                 Amount
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                                         996     5/23/2019                 Success Healthcare 1, LLC                                                              $5,348,316.57                                       $5,348,316.57
Amerita, Inc
6912 S. Quentin St. Ste 50
Centennial, CO 80112                                         997     5/28/2019             Promise Hospital of Salt Lake, Inc.                        $81,230.00                                                                            $81,230.00
Koslow, Howard
17231 Coral Cove Way
Boca Raton, FL 33496                                         998     5/28/2019                  Promise Healthcare, Inc.                                                              $4,780,000.00                                       $4,780,000.00
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                                         999     5/23/2019             Promise Hospital of Vicksburg, Inc.                                                        $5,348,316.57                                       $5,348,316.57
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                                         1000    5/23/2019           Promise Hospital of Wichita Falls, Inc.                                                      $5,348,316.57                                       $5,348,316.57
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                                         1001    5/23/2019               Promise Hospital of Dade, Inc.                                                           $5,348,316.57                                       $5,348,316.57
Baronoff, Peter R.
25652 El Chaval Place
Temecula, CA 92590                                           1002    5/23/2019                  Promise Healthcare, Inc.                                   $0.00                     $10,506,641.91                                      $10,506,641.91
Baronoff, Peter R.
25652 El Chaval Place
Temecula, CA 92590                                           1003    5/23/2019                  Success Healthcare, LLC                                                              $10,506,641.91                                      $10,506,641.91
Southern Textile Services LLC
Attn: Evan T. Miller
Bayard, P.A.
600 N. King Street
Wilmington, DE 19801                                         1004    5/23/2019             Promise Hospital of Louisiana, Inc.                        $34,234.10                                                                            $34,234.10
United Regional Physician Group
PO Box 9261
Wichita Falls, TX 76308                                      1005    5/23/2019              Promise Healthcare Group, LLC                                $11.28                                                                                 $11.28
Southern Textile Services LLC
Bayard, P.A.
Attn: Evan T. Miller
600 N. King Street
Wilmington, DE 19801                                         1006    5/23/2019         Professional Rehabilitation Hospital, L.L.C.                   $25,028.25                                                                            $25,028.25
Baronoff, Peter R.
25652 El Chaval Place
Temecula, CA 92590                                           1007    5/23/2019                  Promise Healthcare, Inc.                             $914,276.20                                                                           $914,276.20
Baronoff, Peter R.
25652 El Chaval Place
Temecula, CA 92590                                           1008    5/23/2019             Promise Hospital of Louisiana, Inc.                             $0.00                     $10,506,641.91                                      $10,506,641.91
Varilease Finance, Inc. as Servicer for VFI KR VPEI, LLC
Jaffe Raitt Heuer & Weiss, PC
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste 2500
Southfield, MI 48034                                         1009    5/23/2019    Promise Skilled Nursing Facility of Wichita Falls, Inc.                                                                                  $106,478.41     $106,478.41


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                                                                                                                                                 Current General                                        Current 503(b)(9)
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                  Creditor Name and Address                 Claim No. Claim Date                          Debtor                                 Unsecured Claim                                         Admin Priority
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                                                                                                                                                     Amount                                                 Amount
Brown, Doris
4979 HWY 27
Vicksburg, MS 39180                                           1010    5/28/2019               Promise Healthcare Group, LLC                                  $0.00                                                                                $0.00
ANGIODYNAMICS, INC
P.O. BOX 1549
ALBANY, NY 12201-1549                                         1011    5/24/2019          Promise Hospital of East Los Angeles, L.P.                      $3,245.76                                                                            $3,245.76
Keller, Michael P.
Katten Muchin Rosenman LLP
Attn: Kenneth J. Ottaviano, Esq.
525 W. Monroe Street
Chicago, IL 60661                                             1012    5/28/2019               Promise Healthcare Group, LLC                                  $0.00                                                                                $0.00
Pollard, Donald E.
Katten Muchin Rosenman LLP
Attn: Kenneth J. Ottaviano, Esq.
525 W. Monroe Street
Chicago, IL 60661                                             1013    5/28/2019               Promise Healthcare Group, LLC                                  $0.00                                                                                $0.00
ADVANTAGE NURSING SERVICES INC
3340 SEVERN AVE STE 320
METAIRIE, LA 70002                                            1014    5/27/2019            Promise Hospital of Baton Rouge, Inc.                          $798.75                                                                              $798.75
Health Net of California, Inc.
c/o Katten Muchin Rosenman LLP
Attn: William B. Freeman
515 South Flower Street
Suite 1000
Los Angeles, CA 90071                                         1015    5/28/2019          Promise Hospital of East Los Angeles, L.P.                     $34,195.05                                                                           $34,195.05
Pitney Bowes Inc
27 Waterview Dr, 3rd Fl
Shelton, CT 06484                                             1016    5/28/2019              Promise Hospital of Phoenix, Inc.                           $2,377.68                                                                            $2,377.68
Duffie, Mary
The Law Office of John J. Pawloski, LLC
1900 Locust Street, Suite 302
St. Louis, MO 63103                                           1017    5/28/2019             St. Alexius Hospital Corporation #1                        $500,000.00                                                                          $500,000.00
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                                         1018    5/29/2019             Promise Hospital of Vicksburg, Inc.                          $3,406.33                                              $353.10                       $3,759.43
Roofing Constructors, Inc. dba Western Roofing Service
c/o CRF Solutions
PO Box 1389
Simi Valley, CA 93062                                         1019    5/17/2019               Promise Healthcare Group, LLC                              $6,353.00                                                                            $6,353.00
PUCHLIK DESIGNS ASSOCIATES, INC
859 SOUTH RAYMOND AVENUE
PASADENA, CA 91105                                            1020    5/23/2019              Promise Hospital of Phoenix, Inc.                          $64,500.04                                                                           $64,500.04
Varilease Finance, Inc. as Servicer for VFI KR SPE 1, LLC
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield , MI 48034                                         1021    5/23/2019          Promise Hospital of East Los Angeles, L.P.                                                                                          $106,478.41    $106,478.41
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                                         1022    5/29/2019    Promise Skilled Nursing Facility of Overland Park, Inc.                 $36.82                                                                               $36.82
Varilease Finance, Inc. as Servicer for VFI KR SPE 1, LLC
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield , MI 48034                                         1023    5/23/2019                         PH-ELA, Inc.                                                                                                         $106,478.41    $106,478.41




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                  Creditor Name and Address                 Claim No. Claim Date                      Debtor                                 Unsecured Claim                                          Admin Priority
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Varilease Finance, Inc. as Servicer for VFI KR SPE 1, LLC
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield , MI 48034                                         1024    5/23/2019             Promise Hospital of Lee, Inc.                                                                                                 $106,478.41     $106,478.41
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                                         1025    5/29/2019              Success Healthcare 1, LLC                               $3,497.43                                                 $53.47                        $3,550.90
Varilease Finance, Inc. as Servicer for VFI KR SPE 1, LLC
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield , MI 48034                                         1026    5/23/2019            Promise Healthcare Group, LLC                                                                                                  $106,478.41     $106,478.41
Varilease Finance, Inc. as Servicer for VFI KR SPE 1, LLC
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield , MI 48034                                         1027    5/23/2019              Promise Healthcare #2, LLC                                                                                                   $106,478.41     $106,478.41
Varilease Finance, Inc. as Servicer for VFI KR VPEI, LLC
Jaffe Raitt Heuer & Weiss, PC
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste 2500
Southfield, MI 48034                                          1028    5/23/2019          Promise Hospital of Vicksburg, Inc.                                                                                              $106,478.41     $106,478.41
Baronoff, Peter R.
25652 El Chaval Place
Temecula, CA 92590                                            1029    5/23/2019         Promise Properties of Shreveport, LLC                            $0.00                      $10,506,641.91                                      $10,506,641.91
Ovchar, Viola
Gary Rand and Suzanne E. Rand-Lewis PLCS
c/o Suzanne E. Rand-Lewis
5990 Sepulveda Blvd. #630
Sherman Oaks, CA 91411                                        1030    5/28/2019              Success Healthcare 1, LLC                            $3,000,000.00                                                                          $3,000,000.00
Koslow, Howard
17231 Coral Cove Way
Boca Raton, FL 33496                                          1031    5/28/2019           Vidalia Real Estate Partners, LLC                                                          $4,780,000.00                                       $4,780,000.00
Koslow, Howard
17231 Coral Cove Way
Boca Raton, FL 33496                                          1032    5/28/2019          Promise Hospital of Louisiana, Inc.                                                         $4,780,000.00                                       $4,780,000.00
Koslow, Howard
17231 Coral Cove Way
Boca Raton, FL 33496                                          1033    5/28/2019              Success Healthcare 1, LLC                                                               $4,780,000.00                                       $4,780,000.00
Koslow, Howard
17231 Coral Cove Way
Boca Raton, FL 33496                                          1034    5/28/2019            Bossier Land Acquisition Corp.                                                            $4,780,000.00                                       $4,780,000.00
Varilease Finance, Inc. as Servicer for VFI KR VPEI, LLC
Jaffe Raitt Heuer & Weiss, PC
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste 2500
Southfield, MI 48034                                          1035    5/23/2019           Promise Hospital of Phoenix, Inc.                                                                                               $106,478.41     $106,478.41
Varilease Finance, Inc. as Servicer for VFI KR VPEI, LLC
Jaffe Raitt Heuer & Weiss, PC
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste 2500
Southfield, MI 48034                                          1036    5/23/2019              Success Healthcare 1, LLC                                                                                                    $106,478.41     $106,478.41
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                                         1037    5/29/2019               Promise Healthcare, Inc.                               $4,475.21                                              $1,037.55                        $5,512.76


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                  Creditor Name and Address                 Claim No. Claim Date                         Debtor                                Unsecured Claim                                         Admin Priority
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                                                                                                                                                   Amount                                                 Amount
FMG Leading
Attn: General Counsel
P.O. Box 13313
Newport Beach, CA 92658                                       1038    5/24/2019              Promise Healthcare Group, LLC                            $63,000.17                                                                            $63,000.17
AVT - Florida, L.P. (f/k/a TFG-Florida, L.P.)
Attn: General Counsel
6995 Union Park Center, Suite 400
Cottonwood Heights, UT 84047                                  1039    5/29/2019                 Promise Healthcare, Inc.                             $234,732.97                        $497,943.77                                        $732,676.74
AVT - Florida, L.P. (f/k/a TFG-Florida, L.P.)
Attn: General Counsel
6995 Union Park Center, Suite 400
Cottonwood Heights, UT 84047                                  1040    5/29/2019                 Promise Healthcare, Inc.                             $270,769.45                        $439,945.00                                        $710,714.45
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                                          1041    5/23/2019           Promise Healthcare of California, Inc.                                                      $5,348,316.57                                       $5,348,316.57
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                                         1042    5/29/2019                 Success Healthcare 1, LLC                               $559.55                                                                                $559.55
Leidos Health LLC
Attn: Contract Administrator
705 E Main Street
Westfield, IN 46074                                           1043    5/28/2019                 Promise Healthcare, Inc.                              $89,196.52                                                                            $89,196.52
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                                         1044    5/29/2019          Promise Hospital of Wichita Falls, Inc.                       $2,400.19                                              $691.50                         $3,091.69
Red Ball Oxygen Co Inc
Attn: General Counsel
609 North Market St.
Shreveport, LA 71137                                          1045    5/30/2019            Promise Hospital of Louisiana, Inc.                        $12,643.47                                                                            $12,643.47
KATENA PRODUCTS INC
4 STEWART COURT
DENVILLE, NJ 07834                                            1046    5/28/2019                 Success Healthcare 1, LLC                              $2,632.79                                                                              $2,632.79
Alere Informatics, Inc.
c/o Kohner, Mann & Kailas, S.C.
Samuel C. Wisotzkey, Esq.
4650 North Port Washington Rd.
Milwaukee, WI 53212                                           1047    5/29/2019        Promise Hospital of East Los Angeles, L.P.                      $8,090.96                                                                              $8,090.96
DAVID RIKER, MD INC.
3040 BRANT ST.
SAN DIEGO, CA 92103                                           1048    5/24/2019                   Quantum Health, Inc.                                $34,000.00                                                                            $34,000.00
Koslow, Howard
17231 Coral Cove Way
Boca Raton, FL 33496                                          1049    5/28/2019          Promise Properties of Shreveport, LLC                                                        $4,780,000.00                                       $4,780,000.00
Lonestar Ambulance 1, LLC
PO Box 4320
Houston, TX 77210                                             1050    5/28/2019              Promise Healthcare Group, LLC                             $6,250.98                                                                              $6,250.98
Varilease Finance, Inc. as Servicer for VFI KR SPE 1, LLC
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield , MI 48034                                         1051    5/23/2019      Promise Hospital of Florida at The Villages, Inc.                                                                                     $106,478.41     $106,478.41
Baronoff, Peter R.
25652 El Chaval Place
Temecula, CA 92590                                            1052    5/23/2019              Bossier Land Acquisition Corp.                                $0.00                     $10,506,641.91                                      $10,506,641.91


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                  Creditor Name and Address                 Claim No. Claim Date                       Debtor                                Unsecured Claim                                       Admin Priority
                                                                                                                                                                Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                 Amount                                               Amount
Koslow, Howard
17231 Coral Cove Way
Boca Raton, FL 33496                                          1053    5/28/2019                Success Healthcare, LLC                                                            $4,780,000.00                                      $4,780,000.00
Varilease Finance, Inc. as Servicer for VFI KR SPE 1, LLC
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield , MI 48034                                         1054    5/23/2019               Promise Healthcare, Inc.                                                                                                 $106,478.41    $106,478.41
JOHN A. SERPA, MD. PA.
P.O. BOX 160837
HIALEAH, FL 33016                                             1055    5/28/2019            Promise Healthcare Group, LLC                                                 $0.00                          $19,360.00                     $19,360.00
Varilease Finance, Inc. as Servicer for VFI KR SPE 1, LLC
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield , MI 48034                                         1056    5/23/2019            Promise Hospital of Dade, Inc.                                                                                              $106,478.41    $106,478.41
Varilease Finance, Inc. as Servicer for VFI KR SPE 1, LLC
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield , MI 48034                                         1057    5/23/2019          Promise Hospital of Ascension, Inc.                                                                                           $106,478.41    $106,478.41
Varilease Finance, Inc. as Servicer for VFI KR SPE 1, LLC
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield , MI 48034                                         1058    5/23/2019         Promise Hospital of Wichita Falls, Inc.                                                                                        $106,478.41    $106,478.41
Varilease Finance, Inc. as Servicer for VFI KR VPEI, LLC
Jaffe Raitt Heuer & Weiss, PC
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste 2500
Southfield, MI 48034                                          1059    5/23/2019          Promise Hospital of Salt Lake, Inc.                                                                                           $106,478.41    $106,478.41
Varilease Finance, Inc. as Servicer for VFI KR VPEI, LLC
Jaffe Raitt Heuer & Weiss, PC
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste 2500
Southfield, MI 48034                                          1060    5/23/2019                Success Healthcare, LLC                                                                                                 $106,478.41    $106,478.41
Varilease Finance, Inc. as Servicer for VFI KR VPEI, LLC
Jaffe Raitt Heuer & Weiss, PC
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste 2500
Southfield, MI 48034                                          1061    5/23/2019                 Quantum Health, Inc.                                                                                                   $106,478.41    $106,478.41
Claim docketed in error
                                                              1062    5/23/2019            Promise Healthcare Group, LLC                                                                                                                    $0.00
Varilease Finance, Inc. as Servicer for VFI KR SPE 1, LLC
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield , MI 48034                                         1063    5/23/2019         Promise Hospital of Baton Rouge, Inc.                                                                                          $106,478.41    $106,478.41
Varilease Finance, Inc. as Servicer for VFI KR SPE 1, LLC
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield , MI 48034                                         1064    5/23/2019         Promise Healthcare of California, Inc.                                                                                         $106,478.41    $106,478.41




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                  Creditor Name and Address                 Claim No. Claim Date                          Debtor                                 Unsecured Claim                                          Admin Priority
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                                                                                                                                                     Amount                                                  Amount
Varilease Finance, Inc. as Servicer for VFI KR SPE 1, LLC
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield , MI 48034                                         1065    5/23/2019              Promise Healthcare Holdings, Inc.                                                                                                $106,478.41    $106,478.41
Varilease Finance, Inc. as Servicer for VFI KR SPE 1, LLC
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield , MI 48034                                         1066    5/23/2019               Promise Hospital of Dallas, Inc.                                                                                                $106,478.41    $106,478.41
Varilease Finance, Inc. as Servicer for VFI KR SPE 1, LLC
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield , MI 48034                                         1067    5/23/2019           Promise Hospital of Overland Park, Inc.                                                                                             $106,478.41    $106,478.41
CT Lien Solutions
28 Liberty Street, 42nd Floor
New York, NY 10005                                            1068    5/21/2019               Promise Healthcare Group, LLC                             $49,874.24                                                                            $49,874.24
Varilease Finance, Inc. as Servicer for VFI KR SPE 1, LLC
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield , MI 48034                                         1069    5/23/2019                    HLP HealthCare, Inc.                                                                                                       $106,478.41    $106,478.41
AngioDynamics Inc
P.O. Box 1549
Albany, NY 12201-1549                                         1070    5/24/2019       Promise Hospital of Florida at The Villages, Inc.                  $3,969.06                                                                             $3,969.06
Varilease Finance, Inc. as Servicer for VFI KR VPEI, LLC
Jaffe Raitt Heuer & Weiss, PC
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste 2500
Southfield, MI 48034                                          1071    5/23/2019    Promise Skilled Nursing Facility of Overland Park, Inc.                                                                                    $106,478.41    $106,478.41
Baton Rouge General Medical Center
Mr. Corey A. Doughty
9490 Picardy Ave., Bldg 100
Baton Rouge, LA 70809                                         1072    5/24/2019            Promise Hospital of Baton Rouge, Inc.                       $746,084.14                                                                           $746,084.14
Varilease Finance, Inc. as Servicer for VFI KR SPE 1, LLC
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield , MI 48034                                         1073    5/23/2019             Promise Hospital of Louisiana, Inc.                                                                                               $106,478.41    $106,478.41
BATON ROUGE GENERAL MEDICAL CENTER
MR. COREY A. DOUGHTY
9490 PICARDY AVE., BLDG 100
BATON ROUGE, LA 70809                                         1074    5/24/2019            Promise Hospital of Baton Rouge, Inc.                       $127,893.25                                                                           $127,893.25
Claim docketed in error
                                                              1075    5/28/2019               Promise Healthcare Group, LLC                                                                                                                        $0.00
Claim docketed in error
                                                              1076    5/28/2019               Promise Healthcare Group, LLC                                                                                                                        $0.00
ICARE.COM, INC
401 E. LAS OLAS BLVD
SUITE 1400
FORT LAUDERDALE, FL 33301                                     1077    5/28/2019               Promise Healthcare Group, LLC                           $1,461,439.88                                                                         $1,461,439.88
Baronoff, Peter R.
25652 El Chaval Place
Temecula, CA 92590                                            1078    5/23/2019                   Success Healthcare, LLC                              $914,276.20                                                                           $914,276.20




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                Creditor Name and Address                 Claim No. Claim Date                            Debtor                                Unsecured Claim                                          Admin Priority
                                                                                                                                                                      Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                    Amount                                                  Amount
TECHSCAN, INC
PO BOX 189
MANCHACA, TX 78652                                          1079    5/24/2019               Promise Hospital of Louisiana, Inc.                         $3,127.27                                                                             $3,127.27
ICARE.COM, INC
401 E. LAS OLAS BLVD
SUITE 1400
FORT LAUDERDALE, FL 33301                                   1080    5/28/2019    PHG Technology Development and Services Company, Inc.               $1,461,439.88                                                                        $1,461,439.88
COHEN, RICHARD
16030 LAUREL CREEK DRIVE
DELRAY BEACH, FL 33446                                      1081    5/28/2019                    Promise Healthcare, Inc.                                                 $25,171.28                                                         $25,171.28
SAMUEL ETCHIE MD
7770 REGENTS RD. #109
SAN DIEGO, CA 92122                                         1082    5/28/2019                      Quantum Health, Inc.                                $80,000.00                                                                            $80,000.00
COASTLINE ANESTHESIA AND PAIN MEDICAL GROUP INC
c/o GUY R BAYLEY
547 S MARENGO AVE
PASADENA, CA 91101                                          1083    5/28/2019                 Promise Healthcare Group, LLC                                 $0.00                                                                                 $0.00
Ingram, MD, J Kevin
1154 Logan Sewell Rd.
Vidalia, LA 71373                                           1084    5/28/2019                 Promise Healthcare Group, LLC                                               $10,977.00                                                         $10,977.00
QUICKSILVER EXPRESS COURIER OR AZ, INC.
TINA M. TACKER
203 E. LITTLE CANADA RD
ST PAUL, MN 55117                                           1085    5/28/2019                 Promise Healthcare Group, LLC                               $961.94                                                                              $961.94
Olympus Healthcare, Inc. and/or subsidiary Apollo Renal
Center, LLC
Attn: General Counsel
P.O. Box 557912
Miami, FL 33255                                             1086    5/28/2019                 Promise Healthcare Group, LLC                           $120,528.33                                                                           $120,528.33
TECHSCAN, INC
PO BOX 189
MANCHACA, TX 78652                                          1087    5/24/2019                  HLP Properties of Vidalia, LLC                           $1,800.00                                                                             $1,800.00
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                                       1088    5/29/2019             Promise Hospital of Overland Park, Inc.                       $5,111.48                                               $990.97                       $6,102.45
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                                       1089    5/29/2019         Promise Hospital of Florida at The Villages, Inc.                   $862.53                                                                              $862.53
Shultz Ira, Edward J
29709 Somerset RD
Perrysburg, OH 43551                                        1090    5/28/2019                 Promise Healthcare Group, LLC                                              $800,000.00                                                        $800,000.00
Ross, Hoyt
7005 Equestrian Trail
Summerfield, NC 27358                                       1091    5/28/2019          HLP Properties at the Villages Holdings, LLC                    $62,700.00                                                                            $62,700.00
TECHSCAN, INC
PO BOX 189
MANCHACA, TX 78652                                          1092    5/24/2019               Promise Hospital of Vicksburg, Inc.                         $2,250.00                                                                             $2,250.00
Medline Industries, Inc.
c/o Arent Fox LLP
Attn: Robert M. Hirsh
1301 Avenue of the Americas
Floor 42
New York, NY 10019                                          1093    5/28/2019                 Promise Healthcare Group, LLC                                                                                  $200,000.00                    $200,000.00
TECHSCAN, INC
PO BOX 189
MANCHACA, TX 78652                                          1094    5/24/2019                 Promise Healthcare Group, LLC                             $2,250.00                                                                             $2,250.00


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               Creditor Name and Address   Claim No. Claim Date                          Debtor                                Unsecured Claim                                          Admin Priority
                                                                                                                                                     Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                   Amount                                                  Amount
PMA Companies
Earp Cohn P.C.
Allen A. Etish, Esquire
20 Brace Road, Suite 400
Cherry Hill, NJ 08034                        1095    5/29/2019                  Success Healthcare, LLC                             $2,379,833.18                                                                         $2,379,833.18
LAW OFFICES OF LOUISE T. JEROSLOW
P.O. BOX 43251
SOUTH MIAMI, FL 33243                        1096    5/28/2019               Promise Hospital of Dade, Inc.                            $1,650.00                                                                             $1,650.00
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                        1097    5/29/2019               Promise Hospital of Dade, Inc.                            $6,306.21                                              $1,465.12                      $7,771.33
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                        1098    5/29/2019    Promise Skilled Nursing Facility of Wichita Falls, Inc.              $4,523.94                                               $693.24                       $5,217.18
DTG MEDICAL ELECTRONICS, INC.
19961 W 162ND ST
OLATHE, KS 66062                             1099    5/28/2019           Promise Hospital of Wichita Falls, Inc.                      $21,368.36                                                                            $21,368.36
B & I Contractors
c/o Michael F. Kayusa, Esq.
2077 First Street, Suite 201
Fort Myers, FL 33901                         1100    5/28/2019                Promise Hospital of Lee, Inc.                           $37,852.11                                                                            $37,852.11
B & I Contractors
c/o Michael F Kayusa, Esq.
2077 First Street, #201
Fort Myers, FL 33901                         1101    5/28/2019               Promise Hospital of Dade, Inc.                           $16,988.49                                                                            $16,988.49
ICARE.COM, INC
401 E. LAS OLAS BLVD
SUITE 1400
FORT LAUDERDALE, FL 33301                    1102    5/28/2019                  Promise Healthcare, Inc.                            $1,461,439.88                                                                         $1,461,439.88
Medcentris
Jones Walker LLP
Attn: Mark Mintz
201 St. Charles Avenue, 49th Fl
New Orleans, LA 70170                        1103    5/30/2019         Professional Rehabilitation Hospital, L.L.C.                  $182,069.52                                                                           $182,069.52
QUICKSILVER EXPRESS COURIER
P.O. BOX 64417
ST. PAUL, MN 55164-0417                      1104    5/28/2019              Promise Healthcare Group, LLC                                                                                                       $961.91        $961.91
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                             1105    5/30/2019              Promise Healthcare Group, LLC                                  $0.00                                                                                 $0.00
STREAMLINE VERIFY, LLC
100 BOULEVARD OF THE AMERICAS
LAKEWOOD, NJ 08701                           1106    5/24/2019              Promise Healthcare Group, LLC                              $1,937.78                                                                             $1,937.78
Medcentris
Jones Walker LLP
Attn: Mark Mintz
201 St. Charles Avenue, 49th Fl
New Orleans, LA 70170                        1107    5/30/2019             Promise Hospital of Louisiana, Inc.                       $350,872.37                                                                           $350,872.37
Sandhill Investors, LLC
c/o Warner, Sechrest & Butts, P.A.
c/o Sean G. Hipworth, Esq.
5200 SW 91st Terrace, Suite 101
Gainesville, FL 32608                        1108    5/24/2019     Promise Rejuvenation Center at the Villages, Inc.                  $93,863.11                                                                            $93,863.11




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                 Creditor Name and Address                      Claim No. Claim Date                        Debtor                                Unsecured Claim                                          Admin Priority
                                                                                                                                                                        Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                      Amount                                                  Amount
Medcentris
Jones Walker LLP
Attn: Mark Mintz
201 St. Charles Avenue, 49th Fl
New Orleans, LA 70170                                             1109    5/30/2019        Promise Hospital of East Los Angeles, L.P.                   $596,834.69                                                                           $596,834.69
ICARE.COM, INC
401 E. LAS OLAS BLVD
SUITE 1400
FORT LAUDERDALE, FL 33301                                         1110    5/28/2019                Success Healthcare, LLC                             $1,461,439.88                                                                         $1,461,439.88
DTG MEDICAL ELECTRONICS, INC.
19961 W 162ND ST
OLATHE, KS 66062                                                  1111    5/28/2019             Promise Hospital of Dallas, Inc.                         $48,077.98                                                                            $48,077.98
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                                             1112    5/29/2019         Promise Hospital of Baton Rouge, Inc.                            $36.94                                                                                $36.94
DTG MEDICAL ELECTRONICS, INC.
19961 W 162ND ST
OLATHE, KS 66062                                                  1113    5/28/2019         Promise Hospital of Overland Park, Inc.                       $4,744.53                                                                             $4,744.53
Claim docketed in error
                                                                  1114    5/29/2019             Promise Healthcare Group, LLC                                                                                                                       $0.00
AKF3 YAMATO, LLC
ARENT FOX LLP
BETH M. BROWNSTEIN, ESQ
1301 AVENUE OF THE AMERICAS FLOOR 42
NEW YORK, NY 10019                                                1115    5/29/2019                Promise Healthcare, Inc.                              $93,810.42                                                                            $93,810.42
AKF3 Yamato, LLC
Arent Fox LLP
Beth M. Brownstein, Esq.
1301 Avenue of the Americas, Floor 42
New York, NY 10019                                                1116    5/29/2019                Promise Healthcare, Inc.                                                                                                      $9,228.94      $9,228.94
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                                                  1117    5/30/2019               Promise Healthcare #2, LLC                                  $0.00                                                                                 $0.00
Bio-Medical Applications of Louisiana, LLC d/b/a FMC Dialysis
Services Baton Rouge
c/o Fresenius Medical Care North America
Attn: Russell P. Plato, Assistant General Counsel
920 Winter Street
Waltham, MA 02451-1457                                            1118    5/29/2019           Promise Hospital of Ascension, Inc.                        $63,734.99                                                                            $63,734.99
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                                                  1119    5/30/2019                Quantum Properties, L.P.                                   $0.00                                                                                 $0.00
Mindray DS USA, Inc. / Mindray North America
Attn: General Counsel
800 MacArthur Blvd.
Mahwah, NJ 07430                                                  1120    5/29/2019           Promise Hospital of Louisiana, Inc.                        $13,088.92                                                                            $13,088.92
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                                                  1121    5/30/2019          Promise Healthcare of California, Inc.                           $0.00                                                                                 $0.00
Blue Cross of California d/b/a/ Anthem Blue Cross
c/o Shipman & Goodwin LLP
attn: Eric Goldstein
One Constitution Plaza
Hartford, CT 06103                                                1122    5/30/2019        Promise Hospital of East Los Angeles, L.P.                                                       $183,020.38                                       $183,020.38
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                                                  1123    5/30/2019                Promise Healthcare, Inc.                                   $0.00                                                                                 $0.00

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                                                                                                                                                Amount                                                 Amount
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                                           1124    5/30/2019                    HLP Properties, Inc.                                    $0.00                                                                                $0.00
Pringley, Frederick M.
S. Alexander Faris, Esq.
300 Delaware Avenue, Suite 1100
Wilmington, DE 19801                                       1125    5/29/2019      Promise Hospital of Florida at The Villages, Inc.                     $0.00                                                                                $0.00
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                                      1126    5/29/2019             Promise Hospital of Phoenix, Inc.                          $7,992.14                                             $1,125.82                      $9,117.96
KAREN G. RIDEOUT IRA
DAVID C RIDOUT, EXECUTOR
7129 KINROSS DRIVE
RALEIGH, NC 27613                                          1127    5/29/2019              Promise Healthcare Group, LLC                           $235,180.00                                                                          $235,180.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                                           1128    5/30/2019                        PH-ELA, Inc.                                        $0.00                                                                                $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                                           1129    5/30/2019        Promise Hospital of East Los Angeles, L.P.                          $0.00                                                                                $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                                           1130    5/30/2019                  Success Healthcare, LLC                                   $0.00                                                                                $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                                           1131    5/30/2019          Promise Hospital of Overland Park, Inc.                           $0.00                                                                                $0.00
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                                      1132    5/29/2019            Promise Hospital of Louisiana, Inc.                         $5,880.53                                                                            $5,880.53
Kinetic Concepts, Inc.
KCI A Division of Acelity
c/o Martha G. Geraths
12930 IH-10 West
San Antonio, TX 78249                                      1133    5/31/2019            Promise Hospital of Ascension, Inc.                        $11,839.05                                                                           $11,839.05
Ruben Gonzalez, Individually and as the personal
representative of the estate of Marta Gonzalez
S. Alexander Faris, Esq.
300 Delaware Avenue, Suite 1100
Wilmington, DE 19801                                       1134    5/29/2019                 Promise Healthcare, Inc.                                   $0.00                                                                                $0.00
Deaf Expression Inc
11721 W 62nd Ter
Shawnee, KS 66203                                          1135    5/28/2019              Promise Healthcare Group, LLC                             $3,774.67                                                                            $3,774.67
Estate of Karen G Ridout, David C Ridout,Executor
7129 Kinross Drive
Raleigh, NC 27613                                          1136    5/29/2019              Promise Healthcare Group, LLC                                                                                                 $217,726.00    $217,726.00

KAREN G. RIDOUT IRA (DECEASED) SON (DAVID) IS EXECUTOR
7129 KINROSS DRIVE
RALEIGH, NC 27613                                          1137    5/29/2019              Promise Healthcare Group, LLC                           $217,726.00                                                                          $217,726.00
Pringley, Ericka
300 Delaware Avenue Suite 1100
Wilmington, DE 19801                                       1138    5/29/2019      Promise Hospital of Florida at The Villages, Inc.                     $0.00                                                                                $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                                           1139    5/30/2019          Promise Hospital of Wichita Falls, Inc.                           $0.00                                                                                $0.00




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                                                                                                                                                             Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                            Amount                                                 Amount
Estate of Karen G Ridout ,David C Ridout , Executor
7129 Kinross Drive
Raleigh, NC 27613                                       1140    5/29/2019             Promise Healthcare Group, LLC                                                                                                 $235,180.00    $235,180.00
Claim docketed in error
                                                        1141    5/29/2019             Promise Healthcare Group, LLC                                                                                                                      $0.00
BUCKHALTER, TAMALA
3645 JOSEPHINE COURT
COMPTON, CA 90221                                       1142    5/29/2019          Promise Healthcare of California, Inc.                                                                                                                $0.00
Cunningham, Nikki
9907 Cedar Street
Bellflower, CA 90706                                    1143    5/30/2019               Success Healthcare 1, LLC                                                $52,500.00                                                         $52,500.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                                        1144    5/30/2019            Promise Properties of Dade, Inc.                               $0.00                                                                                $0.00
Kinetic Concepts, Inc.
KCI A Division of Acelity
c/o Martha G. Geraths
12930 IH-10 West
San Antonio, TX 78249                                   1145    5/31/2019        Promise Hospital of East Los Angeles, L.P.                    $33,322.42                                                                           $33,322.42
SW General, Inc.
Danelle Kelling
8465 N. Pima Road
Scottsdale, AZ 85258                                    1146    5/30/2019            Promise Hospital of Phoenix, Inc.                         $42,339.69                                                                           $42,339.69
Hill's Bros. Lock & Safe, Inc.
9177 Garden Grove Blvd.
Garden Grove, CA 92844                                  1147    5/29/2019        Promise Hospital of East Los Angeles, L.P.                     $8,490.89                                                                            $8,490.89
SPEEDCAST CONNECT
8511 WELLSFORD PLACE
SUITE D
SANTA FE SPRINGS, CA 90670                              1148    5/29/2019             Promise Healthcare Group, LLC                             $1,686.06                                                                            $1,686.06
KAREN G. RIDEOUT IRA
DAVID C RIDOUT, EXECUTOR
7129 KINROSS DRIVE
RALEIGH, NC 27613                                       1149    5/29/2019             Promise Healthcare Group, LLC                           $217,726.00                                                                          $217,726.00
Cummins, Inc
Attn: General Counsel
2671 Edison Ave.
Fort Myers, FL 33916                                    1150    5/24/2019             Promise Healthcare Group, LLC                             $2,304.17                                                                            $2,304.17
SECURE NURSING SERVICE, INC.
3333 WILSHIRE BLVD.
SUITE 625
LOS ANGELES, CA 90010                                   1151    5/29/2019             Promise Healthcare Group, LLC                                               $2,170.00                                                          $2,170.00
Mindray DS USA,inc./Mindray North America
Attn: General Counsel
800 MacArthur Blvd.
Mahwah, NJ 07430                                        1152    5/29/2019           Promise Hospital of Vicksburg, Inc.                        $62,226.56                                                                           $62,226.56
Mindray DS USA,inc./ Mindray North America
Attn: General Counsel
800 MacArthur Blvd.
Mahwah, NJ 07430                                        1153    5/29/2019                Promise Healthcare, Inc.                                $847.82                                                                              $847.82
ST. CHRISTOPHER IMAGING, LLC
1725 ELIZABETH AVE
SHREVEPORT, LA 71101                                    1154    5/24/2019             Promise Healthcare Group, LLC                            $40,800.00                                                                           $40,800.00
Red Ball Oxygen Co Inc
Attn: General Counsel
609 North Market St.
Shreveport, LA 71137                                    1155    5/30/2019                Promise Healthcare, Inc.                               $5,373.22                                                                            $5,373.22

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                 Creditor Name and Address                       Claim No. Claim Date                         Debtor                                Unsecured Claim                                          Admin Priority
                                                                                                                                                                          Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                        Amount                                                  Amount
Mindray DS USA, inc./Mindray North America
Attn: General Counsel
800 MacArthur Blvd.
Mahwah, NJ 07430                                                   1156    5/29/2019           Promise Healthcare of California, Inc.                       $4,289.30                                                                             $4,289.30
Mindray DS USA,inc./Mindray North America
Attn: General Counsel
800 MacArthur Blvd.
Mahwah, NJ 07430                                                   1157    5/29/2019            Promise Hospital of Louisiana, Inc.                         $2,723.59                                                                             $2,723.59
AmeriHealth Caritas Louisiana, Inc.
Lucian B. Murley, Esquire
Saul Ewing Arnstein & Lehr LLP
1201 North Market Street, Suite 2300
P.O. Box 1266
Wilmington, DE 19899                                               1158    5/30/2019                 Promise Healthcare, Inc.                             $738,361.87                                                                           $738,361.87
Mindray DS USA,inc./Mindray North America
Attn: General Counsel
800 MacArthur Blvd.
Mahwah, NJ 07430                                                   1159    5/29/2019      Promise Hospital of Florida at The Villages, Inc.                 $5,764.99                                                                             $5,764.99
Mindray DS USA ,inc./Mindray North America
Attn: General Counsel
800 MacArthur Blvd.
Mahwah, NJ 07430                                                   1160    5/29/2019            Promise Hospital of Salt Lake, Inc.                           $380.65                                                                              $380.65
Barbara Taylor, Deborah Harris, Jacquelyn Taylor, Andre Taylor
and Tina Davis.
Robert J. Liskey
The Liskey Law Firm
117 E. Colorado Blvd., Suite 600
Pasadena, CA 91105                                                 1161    5/29/2019        Promise Hospital of East Los Angeles, L.P.                   $5,000,000.00                                                                        $5,000,000.00
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                                              1162    5/29/2019              Promise Hospital of Dallas, Inc.                          $1,339.09                                               $203.55                       $1,542.64
Red Ball Oxygen Co Inc
Attn: General Counsel
609 North Market St.
Shreveport, LA 71137                                               1163    5/30/2019                 Promise Healthcare, Inc.                              $12,643.47                                                                            $12,643.47
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                                              1164    5/29/2019          Promise Hospital of Baton Rouge, Inc.                         $8,438.53                                               $342.03                       $8,780.56
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                                              1165    5/29/2019               Promise Hospital of Lee, Inc.                            $7,322.24                                              $3,614.60                     $10,936.84
McInnis Brothers Construction, Inc.
Attn: Ben Baldwin
119 Pearl Street
Minden, LA 71055                                                   1166    5/30/2019                 Promise Healthcare, Inc.                              $12,452.05                         $173,801.75                                       $186,253.80
PMA Companies
Allen A. Etish, Esquire
Earp Cohn P.C.
20 Brace Road - Suite 400
Cherry Hill, NJ 08034                                              1167    5/29/2019           Promise Healthcare of California, Inc.                    $3,586,803.13                                                                        $3,586,803.13
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                                              1168    5/29/2019            Promise Hospital of Salt Lake, Inc.                        $10,358.99                                              $4,721.00                     $15,079.99
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                                              1169    5/29/2019                 Promise Healthcare, Inc.                              $17,807.36                                              $1,531.87                     $19,339.23


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                Creditor Name and Address          Claim No. Claim Date                         Debtor                                Unsecured Claim                                          Admin Priority
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                                                                                                                                          Amount                                                  Amount
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                                1170    5/29/2019                 Promise Healthcare, Inc.                              $47,653.52                                             $11,913.38                     $59,566.90
Mindray DS USA ,inc./Mindray North America
Attn: General Counsel
800 MacArthur Blvd.
Mahwah, NJ 07430                                     1171    5/29/2019          Promise Hospital of Baton Rouge, Inc.                         $1,883.71                                                                             $1,883.71
SandHill Investors, LLC
Warner, Sechrest 7 Butts, P.A.
c/o Sean G. Hipworth, Esq.
5200 SW 91st Terrace, Suite 101
Gainesville, FL 32608                                1172    5/24/2019      Promise Hospital of Florida at The Villages, Inc.                $93,863.11                                                                            $93,863.11

RUBEN GONZALEZ, INDIVIDUALLY AND AS THE PERSONAL
REPRESENTATIVE OF THE ESTATE OF MARTA GONZALEZ
S. ALEXANDER FARIS, ESQ.
300 DELAWARE AVENUE SUITE 1100
WILMINGTON , DE 19801                                1173    5/29/2019              Promise Hospital of Dade, Inc.                                $0.00                                                                                 $0.00
Louisiana Department of Health
Attn: Kimberly Humbles, General Counsel
PO Box 3836
Baton Rouge, LA 70821                                1174    5/30/2019          Promise Hospital of Baton Rouge, Inc.                       $131,873.00                                                                           $131,873.00
Apodaca, Mark
1749 Sierra Bonita Drive
Placentia, CA 92870                                  1175    5/30/2019                 Success Healthcare 1, LLC                                                $50,074.00                                                         $50,074.00
OLBERTS, KATHLEEN A.
3589 COOPER ISLAND RD
WEST SACRAMENTO, CA 95691                            1176    5/28/2019              Promise Healthcare Group, LLC                                 $0.00                                                                                 $0.00
Wells Fargo Vendor Financial Services, LLC
Attn: Kimberly Park
1010 Thomas Edison Blvd SW
Cedar Rapids, IA 52404                               1177    5/29/2019              Promise Hospital of Dallas, Inc.                          $3,363.57                                                                             $3,363.57
Red Ball Oxygen Co Inc
Attn: General Counsel
609 North Market St.
Shreveport, LA 71137                                 1178    5/30/2019            Promise Hospital of Louisiana, Inc.                         $5,373.22                                                                             $5,373.22
Garda CL Southwest, Inc.
GardaWorld
2000 NW Corporate Boulevard
Boca Raton , FL 33431                                1179    5/30/2019            St. Alexius Hospital Corporation #1                           $978.81                                                                              $978.81
Medcentris
Jones Walker - Attn: Mark Mintz
201 St. Charles Avenue, 49th Fl
New Orleans , LA 70170                               1180    5/30/2019              Promise Healthcare Group, LLC                          $1,495,932.63                                                                        $1,495,932.63
McInnis Brothers Construction, Inc.
Attn: Ben Baldwin
119 Pearl Street
Minden, LA 71055                                     1181    5/30/2019            Promise Hospital of Louisiana, Inc.                                                           $186,253.80                                       $186,253.80
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                                     1182    5/30/2019                 Success Healthcare 1, LLC                                  $0.00                                                                                 $0.00
SmartRoom
3732 West 120th St
Hawthorne, CA 90250                                  1183    5/30/2019              Promise Healthcare Group, LLC                                $23.03                                                                               $23.03




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                Creditor Name and Address   Claim No. Claim Date                          Debtor                                 Unsecured Claim                                         Admin Priority
                                                                                                                                                      Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                     Amount                                                 Amount
WILLIAMS, THERESA
BERGER HARRIS LLP
DAVID B. ANTHONY, ESQUIRE
1105 N. MARKET STREET, 11TH FOOR
WILMINGTON, DELAWARE 19810                    1184    5/30/2019                  Success Healthcare 1, LLC                             $999,999.99                                                                          $999,999.99
Williams, Theresa
Berger Harris LLP
David B. Anthony, Esquire
1105 N. Market Street, 11th Floor
Wilmington, DE 19801                          1185    5/30/2019                   HLP of Los Angeles, LLC                              $999,999.99                                                                          $999,999.99
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1186    5/31/2019                     HLP Properties, Inc.                                     $0.00                                                                                $0.00
Nuance Communications, Inc.
Vorys, Sater, Seymour and Pease LLP
c/o Tiffany Strelow Cobb
52 East Gay Street
Columbus, OH 43215                            1187    5/30/2019                  Promise Healthcare, Inc.                              $197,275.00                                                            $11,231.53    $208,506.53
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                              1188    5/30/2019                    HLP HealthCare, Inc.                                      $0.00                                                                                $0.00
Brown, Doris
4979 Hwy 27
Vicksburg, MS 39180                           1189    5/28/2019               Promise Healthcare Group, LLC                                                                                                        $0.00          $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1190    5/31/2019                    Quantum Health, Inc.                                      $0.00                                                                                $0.00
Clafin Medical Equipment
1206 Jefferson Blvd.
Warwick, RI 02886                             1191    5/28/2019               Promise Healthcare Group, LLC                             $19,610.35                                                                           $19,610.35
Medcentris
Jones Walker LLP
Attn: Mark Mintz
201 St. Charles Avenue, 49th Fl
New Orleans, LA 70170                         1192    5/30/2019             Promise Hospital of Vicksburg, Inc.                        $183,150.73                                                                          $183,150.73
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                              1193    5/30/2019              Vidalia Real Estate Partners, LLC                               $0.00                                                                                $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                              1194    5/30/2019            HLP Properties at the Villages, L.L.C.                            $0.00                                                                                $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                              1195    5/30/2019              Promise Healthcare Holdings, Inc.                               $0.00                                                                                $0.00
Leder, Lawrence
16456 Braeburn Ridge Trail
Delray Beach, FL 33446                        1196    5/30/2019              Vidalia Real Estate Partners, LLC                                                          $4,780,000.00                                      $4,780,000.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                              1197    5/30/2019    Promise Skilled Nursing Facility of Overland Park, Inc.                   $0.00                                                                                $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1198    5/31/2019    Promise Skilled Nursing Facility of Overland Park, Inc.                   $0.00                                                                                $0.00




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                                                                                                                                 Current General                                        Current 503(b)(9)
                                                                                                                                                     Current Priority Current Secured                      Current Admin Total Current
                 Creditor Name and Address   Claim No. Claim Date                          Debtor                                Unsecured Claim                                         Admin Priority
                                                                                                                                                      Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                     Amount                                                 Amount
Kinetic Concepts, Inc.
KCI A Division of Acelity
c/o Martha G. Geraths
12930 IH-10 West
San Antonio, TX 78249                          1199    5/31/2019          Promise Hospital of Overland Park, Inc.                       $24,522.06                                                                           $24,522.06
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1200    5/30/2019                    Quantum Health, Inc.                                     $0.00                                                                                $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                             1201    5/31/2019             Promise Healthcare Holdings, Inc.                               $0.00                                                                                $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                             1202    5/31/2019                  Quantum Properties, L.P.                                   $0.00                                                                                $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1203    5/30/2019             Promise Hospital of Salt Lake, Inc.                             $0.00                                                                                $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                             1204    5/31/2019                    HLP HealthCare, Inc.                                     $0.00                                                                                $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                             1205    5/31/2019           Promise Properties of Shreveport, LLC                             $0.00                                                                                $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1206    5/30/2019                   HLP of Los Angeles, LLC                                   $0.00                                                                                $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                             1207    5/31/2019         Promise Hospital of East Los Angeles, L.P.                          $0.00                                                                                $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                             1208    5/31/2019           Promise Hospital of Wichita Falls, Inc.                           $0.00                                                                                $0.00
Claim docketed in error
                                               1209    5/31/2019              Promise Healthcare Group, LLC                                                                                                                       $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1210    5/30/2019               Bossier Land Acquisition Corp.                                $0.00                                                                                $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1211    5/30/2019    Promise Skilled Nursing Facility of Wichita Falls, Inc.                  $0.00                                                                                $0.00
AmeriHealth Caritas Louisiana, Inc.
Saul Ewing Arnstein & Lehr LLP
1201 N. Market Street, Suite 2300
P.O. Box 1266
Wilmington, DE 19899                           1212    5/30/2019            Promise Hospital of Ascension, Inc.                        $738,361.87                                                                          $738,361.87
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1213    5/30/2019            Promise Hospital of Ascension, Inc.                              $0.00                                                                                $0.00
Claim docketed in error
                                               1214    5/30/2019              Promise Healthcare Group, LLC                                                                                                                       $0.00
NIEHAUS BUILDING SERVICES LLC
4209 SARPY AVENUE
ST. LOUIS, MO 63110                            1215    5/28/2019              Promise Healthcare Group, LLC                             $10,699.83                                                                           $10,699.83
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1216    5/30/2019                Promise Hospital of Lee, Inc.                                $0.00                                                                                $0.00


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                                                                                                                                         Current General                                        Current 503(b)(9)
                                                                                                                                                             Current Priority Current Secured                      Current Admin Total Current
                Creditor Name and Address             Claim No. Claim Date                         Debtor                                Unsecured Claim                                         Admin Priority
                                                                                                                                                              Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                             Amount                                                 Amount
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                                        1217    5/30/2019              Promise Hospital of Dade, Inc.                                $0.00                                                                                $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                                        1218    5/30/2019                    LH Acquisition, LLC                                     $0.00                                                                                $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                                        1219    5/30/2019            Promise Hospital of Vicksburg, Inc.                             $0.00                                                                                $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                                        1220    5/30/2019              Promise Properties of Lee, Inc.                               $0.00                                                                                $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                                      1221    5/31/2019      Promise Hospital of Florida at The Villages, Inc.                     $0.00                                                                                $0.00
LOUSIANA DEPARTMENT OF HEALTH
KIMBERLY HUMBLES, GENERAL COUNSEL
PO BOX 3836
BATON ROUGE, LA 70821                                   1222    5/30/2019        Professional Rehabilitation Hospital, L.L.C.                      $11.00                                                                               $11.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                                        1223    5/30/2019          Promise Hospital of Baton Rouge, Inc.                             $0.00                                                                                $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                                      1224    5/31/2019           Promise Healthcare of California, Inc.                           $0.00                                                                                $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                                      1225    5/31/2019                Promise Healthcare #2, LLC                                  $0.00                                                                                $0.00
LifeFleet Southeast, Inc.
Danelle Kelling
8465 N. Pima Road
Scottsdale, AZ 85258                                    1226    5/30/2019      Promise Hospital of Florida at The Villages, Inc.               $258,043.67                                                                          $258,043.67
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                                      1227    5/31/2019                 Promise Healthcare, Inc.                                   $0.00                                                                                $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                                        1228    5/30/2019            Promise Hospital of Louisiana, Inc.                             $0.00                                                                                $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                                        1229    5/30/2019       HLP Properties at the Villages Holdings, LLC                         $0.00                                                                                $0.00
Spectrum a/k/a Charter Communications Inc.
Sheppard Mullin Richter Hampton LLP
Edward H. Tillinghast, III, Esq.
30 Rockefeller Plaza
New York, NY 10112                                      1230    5/30/2019          Promise Hospital of Overland Park, Inc.                      $15,064.18                                                                           $15,064.18
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                                        1231    5/30/2019                  HLP of Shreveport, Inc.                                   $0.00                                                                                $0.00
Securitas Security Services USA Inc.
Attn: Tom Roszhart, Business Services Group (00220)
4330 Park Terrace Drive
Westlake Village, CA 91361                              1232    5/30/2019            St. Alexius Hospital Corporation #1                        $29,964.50                                                                           $29,964.50
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                                        1233    5/30/2019               HLP Properties of Vidalia, LLC                               $0.00                                                                                $0.00


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                                                                                                                                       Current General                                        Current 503(b)(9)
                                                                                                                                                           Current Priority Current Secured                      Current Admin Total Current
                   Creditor Name and Address     Claim No. Claim Date                            Debtor                                Unsecured Claim                                         Admin Priority
                                                                                                                                                            Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                           Amount                                                 Amount
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                                 1234    5/31/2019                     HLP of Los Angeles, LLC                                   $0.00                                                                                $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                                   1235    5/30/2019    PHG Technology Development and Services Company, Inc.                      $0.00                                                                                $0.00
Leder, Lawrence
16456 Braeburn Ridge Trail
Delray Beach, FL 33446                             1236    5/30/2019                     Success Healthcare, LLC                                                              $4,780,000.00                                     $4,780,000.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                                   1237    5/30/2019     Promise Behavioral Health Hospital of Shreveport, Inc.                    $0.00                                                                                $0.00
Leder, Lawrence
16456 Braeburn Ridge Trail
Delray Beach, FL 33446                             1238    5/30/2019             Promise Properties of Shreveport, LLC                                                        $4,780,000.00                                     $4,780,000.00
ZIMBLEMAN, JAMIE
20 JUNIPER PASS WAY
OCALA, FL 34480                                    1239    5/30/2019        Promise Rejuvenation Center at the Villages, Inc.                                    $3,000.00                                                          $3,000.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                                 1240    5/31/2019                 Promise Healthcare Group, LLC                                 $0.00                                                                                $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                                   1241    5/30/2019         Promise Hospital of Florida at The Villages, Inc.                     $0.00                                                                                $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                                 1242    5/31/2019                     Success Healthcare, LLC                                   $0.00                                                                                $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                                 1243    5/31/2019                 Promise Hospital of Dallas, Inc.                              $0.00                                                                                $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                                 1244    5/31/2019             Promise Hospital of Baton Rouge, Inc.                             $0.00                                                                                $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                                 1245    5/31/2019                 Bossier Land Acquisition Corp.                                $0.00                                                                                $0.00
LeJay, Kathy
14022 S Northwood Ave
Compton, CA 90222                                  1246    5/30/2019                 Promise Healthcare Group, LLC                                 $0.00                                                                                $0.00
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                              1247    5/29/2019           Promise Hospital of East Los Angeles, L.P.                       $113.90                                               $349.54                        $463.44
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                                   1248    5/30/2019               Promise Rejuvenation Centers, Inc.                              $0.00                                                                                $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                                   1249    5/30/2019                Promise Hospital of Phoenix, Inc.                              $0.00                                                                                $0.00
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                              1250    5/29/2019           Promise Hospital of East Los Angeles, L.P.                     $19,603.71                                             $4,994.47                     $24,598.18
AVT - Florida, L.P. ( f/k/a TFG-Florida, L.P.)
Attn: General Counsel
6995 Union Park Center, Suite 400
Cottonwood Heights, UT 84047                       1251    5/29/2019                    Promise Healthcare, Inc.                             $138,955.72                        $149,710.19                                       $288,665.91




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                                                                                                                                    Current General                                        Current 503(b)(9)
                                                                                                                                                        Current Priority Current Secured                      Current Admin Total Current
                Creditor Name and Address      Claim No. Claim Date                          Debtor                                 Unsecured Claim                                         Admin Priority
                                                                                                                                                         Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                        Amount                                                 Amount
Leder, Lawrence
16456 Braeburn Ridge Trail
Delray Beach, FL 33446                           1252    5/30/2019             Promise Hospital of Louisiana, Inc.                                                         $4,780,000.00                                     $4,780,000.00
Leder, Lawrence
16456 Braeburn Ridge Trail
Delray Beach, FL 33446                           1253    5/30/2019               Bossier Land Acquisition Corp.                                                            $4,780,000.00                                     $4,780,000.00
Leder, Lawrence
16456 Braeburn Ridge Trail
Delray Beach, FL 33446                           1254    5/30/2019                  Success Healthcare 1, LLC                                                              $4,780,000.00                                     $4,780,000.00
East Baton Rouge Medical Center, LLC
Jones Walker
Attn: Mark Mintz
201 St. Charles Avenue, 49th FL
New Orleans, LA 70170                            1255    5/30/2019               Promise Healthcare Group, LLC                            $537,606.88                                                                          $537,606.88
Our Lady of the Lake Regional Medical Center
5959 South Sherwood Forest Blvd.
Baton Rouge, LA 70816                            1256    5/29/2019               Promise Healthcare Group, LLC                             $30,185.59                                                                           $30,185.59
Medcentris
Jones Walker
Attn: Mark Mintz
201 St. Charles Avenue, 49th FL
New Orleans, LA 70170                            1257    5/30/2019            Promise Hospital of Baton Rouge, Inc.                       $183,005.32                                                                          $183,005.32
Claim docketed in error
                                                 1258    5/31/2019               Promise Healthcare Group, LLC                                                                                                                       $0.00
CREATIVE WASTE SOLUTIONS, LLC
P.O. BOX 161
COLLINSVILLE, CT 06022                           1259    5/30/2019               Promise Healthcare Group, LLC                              $3,377.94                                                                            $3,377.94
Stewart B. Barmen IRA Rollover
Stewart B. Barmen
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                             1260    5/30/2019                  St. Alexius Properties, LLC                           $646,758.00                                                                          $646,758.00
Claim docketed in error
                                                 1261    5/30/2019               Promise Healthcare Group, LLC                                                                                                                       $0.00
HUDSON HOLDINGS, INC., DBA PRESTON PHARMACY
2622 W CENTRAL AVE
SUITE 302
WICHITA, KS 67203                                1262    5/30/2019    Promise Skilled Nursing Facility of Overland Park, Inc.             $113,203.65                                                                          $113,203.65
Rodriguez, Mary
9331 Rose St
Bellflower, CA 90706                             1263    5/30/2019          Promise Hospital of East Los Angeles, L.P.                                        $6,000.00        $6,000.00              $0.00                     $12,000.00
Kinetic Concepts, Inc.
KCI A Division of Acelity
c/o Martha G. Geraths
12930 IH-10 West
San Antonio, TX 78249                            1264    5/31/2019                  Promise Healthcare, Inc.                               $62,562.70                                                                           $62,562.70
Kinetic Concepts, Inc.
KCI A Division of Acelity
c/o Martha G. Geraths
12930 IH-10 West
San Antonio, TX 78249                            1265    5/31/2019               Promise Hospital of Dallas, Inc.                          $11,476.14                                                                           $11,476.14
Kinetic Concepts, Inc.
KCI A Division of Acelity
c/o Martha G. Geraths
12930 IH-10 West
San Antonio, TX 78249                            1266    5/31/2019         Professional Rehabilitation Hospital, L.L.C.                    $17,901.70                                                                           $17,901.70




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                                                                                                                                               Current General                                         Current 503(b)(9)
                                                                                                                                                                    Current Priority Current Secured                      Current Admin Total Current
                 Creditor Name and Address                    Claim No. Claim Date                       Debtor                                Unsecured Claim                                          Admin Priority
                                                                                                                                                                     Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                   Amount                                                  Amount
Butterfield Trust (Bermuda)
Clarien Trust Limited
As Trustee of George G. Strong Jr. Gift Trust
Hal Masters
25 Reid Street
Hamilton HM11
Bermuda                                                         1267    5/30/2019            Promise Healthcare Group, LLC                                 $0.00                                                                                 $0.00
BUTTERFIELD TRUST (BERMUDA) LIMITED AS TRUSTEE OF
GEORGE G. STRONG GIFT TRUST II
CLARIEN TRUST LIMITED AS TRUSTEE OF GEORGE G. STRONG
GIFT TRUST II
HAL MASTERS
25 REID STREET
HAMILTON, BERMUDA HM11                                          1268    5/30/2019            Promise Healthcare Group, LLC                                 $0.00                                                                                 $0.00
American Medical Response of Maricopa, LLC
Danelle Kelling
8465 N. Pima Road
Scottsdale, AZ 85258                                            1269    5/30/2019           Promise Hospital of Phoenix, Inc.                        $100,298.83                                                                           $100,298.83
Bio-Medical Applications of Louisiana, LLC d/b/a Shreveport
Regional Dialysis Center
Fresenius Medical Care North America
Attn: Sharon Taher & Russell P. Plato
920 Winter Street
Waltham, MA 02451                                               1270    5/29/2019          Promise Hospital of Louisiana, Inc.                       $198,300.36                                                                           $198,300.36
Claim docketed in error
                                                                1271    5/31/2019            Promise Healthcare Group, LLC                                                                                                                       $0.00
Claim docketed in error
                                                                1272    5/31/2019            Promise Healthcare Group, LLC                                                                                                                       $0.00
Claim docketed in error
                                                                1273    5/31/2019            Promise Healthcare Group, LLC                                                                                                                       $0.00
Claim docketed in error
                                                                1274    5/31/2019            Promise Healthcare Group, LLC                                                                                                                       $0.00
Claim docketed in error
                                                                1275    5/31/2019            Promise Healthcare Group, LLC                                                                                                                       $0.00
Claim docketed in error
                                                                1276    5/31/2019            Promise Healthcare Group, LLC                                                                                                                       $0.00
MacDougall Enterprises, LTD
Hal Masters
25 Reid Street
Hamilton HM11
Bermuda                                                         1277    5/30/2019            Promise Healthcare Group, LLC                                 $0.00                                                                                 $0.00
HEADINGLEY HOLDINGS, LTD.
ALFREDA ROCHESTER
65 FRONT STREET, SECOND FLOOR
HAMILTON HM12
BERMUDA                                                         1278    5/30/2019            Promise Healthcare Group, LLC                          $3,315,609.82                                                                        $3,315,609.82
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                                              1279    5/31/2019           Vidalia Real Estate Partners, LLC                              $0.00                                                                                 $0.00
Kinetic Concepts, Inc.
KCI A Division of Acelity
c/o Martha G. Geraths
12930 IH-10 West
San Antonio, TX 78249                                           1280    5/31/2019         Promise Hospital of Wichita Falls, Inc.                     $33,717.80                                                                            $33,717.80




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                                                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                                                        Current Priority Current Secured                      Current Admin Total Current
                 Creditor Name and Address                     Claim No. Claim Date                          Debtor                                Unsecured Claim                                          Admin Priority
                                                                                                                                                                         Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                       Amount                                                  Amount
Wells Fargo Vendor Financial Services, LLC
Attn: Kimberly Park
1010 Thomas Edison Blvd SW
Cedar Rapids, IA 52404                                           1281    5/29/2019               Promise Hospital of Dallas, Inc.                          $2,329.13                                                                             $2,329.13
William H.Myers Profit Sharing Plan and Trust fbo William H.
Myers, Trustee
c/o Porter, Wright, Morris & Arthur LLP
9132 Strada Place, 3rd Floor
Naples, FL 34108-2683                                            1282    5/29/2019              Promise Healthcare Group, LLC                                  $0.00                                                                                 $0.00
GROSVENOR TRUST COMPANY LIMITED AS TRUSTEE OF
JACQUES TRUST
ALFREDA ROCHESTER
65 FRONT STREET, SECOND FLOOR
HAMILTON HM12
BERMUDA                                                          1283    5/30/2019              Promise Healthcare Group, LLC                           $1,386,884.48                                                                        $1,386,884.48
Wells Fargo Vendor Financial Services LLC
Attn: Kimberly Park
1010 Thomas Edison Blvd SW
Cedar Rapids, IA 52404                                           1284    5/29/2019              Promise Healthcare Group, LLC                              $2,231.22                                                                             $2,231.22
Nautilus Insurance Company, c/o Berkley Select, LLC
Mary F. Caloway
Buchanan Ingersoll & Rooney
919 N. Market Street, Ste. 990
Wilmington, DE 19801                                             1285    5/31/2019                  Promise Healthcare, Inc.                             $762,841.91                                                                           $762,841.91
Wells Fargo Vendor Financial Services, LLC
Attn: Kimberly Park
1010 Thomas Edison Blvd SW
Cedar Rapids, IA 52404                                           1286    5/29/2019                  Promise Healthcare, Inc.                               $2,231.22                                                                             $2,231.22
Mary Louise Goebel Trust U/A dated 9/30/92, William H
Myers, Trustee
c/o Porter, Wright, Morris & Arthur LLP
9132 Strada Place, 3rd Floor
Naples, FL 34108-2683                                            1287    5/29/2019              Promise Healthcare Group, LLC                                  $0.00                                                                                 $0.00
Louisiana Department of Health
Kimberly Humbles, General Counsel
PO Box 3836
Baton Rouge, LA 70821                                            1288    5/30/2019             Promise Hospital of Louisiana, Inc.                       $359,332.00                                                                           $359,332.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                                             1289    5/30/2019            Promise Hospital of Ascension, Inc.                        $646,758.00                                                                           $646,758.00
Louisiana Department of Health
Kimberly Humbles, General Counsel
PO Box 3836
Baton Rouge, LA 70821                                            1290    5/30/2019            Promise Hospital of Ascension, Inc.                        $122,804.00                                                                           $122,804.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                                             1291    5/30/2019    Promise Skilled Nursing Facility of Wichita Falls, Inc.            $646,758.00                                                                           $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                                             1292    5/30/2019              Promise Properties of Dade, Inc.                         $646,758.00                                                                           $646,758.00
Balboa Capital Corporation
575 Anton Boulevard
12th Floor
Costa Mesa, CA 92626                                             1293    5/29/2019           Promise Hospital of Wichita Falls, Inc.                      $13,020.25                                                                            $13,020.25
BEJARANO, GINA
6214 COLLEGE AVE
SAN DIEGO, CA 92120                                              1294    5/30/2019                    Quantum Health, Inc.                                                   $11,033.57                                                         $11,033.57

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                 Creditor Name and Address                       Claim No. Claim Date                          Debtor                                 Unsecured Claim                                         Admin Priority
                                                                                                                                                                           Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                          Amount                                                 Amount
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                                               1295    5/30/2019                HLP Properties of Vidalia, LLC                          $646,758.00                                                                          $646,758.00
McInnis Brothers Construction, Inc
Attn: Ben Baldwin
119 Pearl Street
Minden, LA 71055                                                   1296    5/30/2019           Promise Properties of Shreveport, LLC                                                           $186,253.80                                       $186,253.80
Wells Fargo Vendor Financial Services, LLC
Attn: Kimberly Park
1010 Thomas Edison Blvd SW
Cedar Rapids, IA 52404                                             1297    5/29/2019               Promise Hospital of Dallas, Inc.                          $10,396.19                                                                           $10,396.19
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                                               1298    5/30/2019                  Success Healthcare 1, LLC                             $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                                               1299    5/30/2019      Promise Rejuvenation Center at the Villages, Inc.                 $646,758.00                                                                          $646,758.00
Wells Fargo Vendor Financial Services, LLC
Attn: Kimberly Park
1010 Thomas Edison Blvd SW
Cedar Rapids, IA 52404                                             1300    5/29/2019                   Success Healthcare, LLC                               $51,627.82                                                                           $51,627.82
CRG Financial LLC as Transferee of nThrive Solutions, Inc. aka
nThrive Revenue Systems, LLC
Attn: Allison Axenrod
100 Union Ave
Cresskill, NJ 07626                                                1301    5/30/2019                  Promise Healthcare, Inc.                              $109,295.16                                                                          $109,295.16
TEG Architects LLC
426 E. Court Ave.
Jeffersonville, IN 47130                                           1302    5/30/2019             Promise Hospital of Louisiana, Inc.                         $40,163.83                                                                           $40,163.83
LAFAYETTE, ROBERT C.
WALTERS, PAPILLION, THOMAS, CULLENS, LLC
c/o DAVID ABBOUD THOMAS
12345 PERKINS ROAD, BUILDING ONE
BATON ROUGE, LA 70810                                              1303    5/30/2019             Promise Hospital of Ascension, Inc.                        $500,000.00                                                                          $500,000.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                                                   1304    5/30/2019           Promise Properties of Shreveport, LLC                              $0.00                                                                                $0.00
Greenbarg, Gerson
17063 Ryton Lane
Boca Raton, FL 33496                                               1305    5/30/2019               Promise Healthcare Group, LLC                             $40,000.00                                                                           $40,000.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                                                   1306    5/30/2019               Promise Hospital of Dallas, Inc.                               $0.00                                                                                $0.00
Leder, Lawrence
16456 Braeburn Ridge Trail
Delray Beach, FL 33446                                             1307    5/30/2019                  Promise Healthcare, Inc.                                                               $4,780,000.00                                     $4,780,000.00
R/M Arizona Holdings, Inc.
Danelle Kelling
8465 N. Pima Road
Scottsdale, AZ 85258                                               1308    5/30/2019              Promise Hospital of Phoenix, Inc.                          $34,649.96                                                                           $34,649.96
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                                               1309    5/30/2019    Promise Skilled Nursing Facility of Overland Park, Inc.             $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                                               1310    5/30/2019               Bossier Land Acquisition Corp.                           $646,758.00                                                                          $646,758.00


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                                                                                                                                                     Current General                                        Current 503(b)(9)
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                 Creditor Name and Address                        Claim No. Claim Date                         Debtor                                Unsecured Claim                                         Admin Priority
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                                                                                                                                                         Amount                                                 Amount
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                                                1311    5/30/2019            Promise Hospital of Louisiana, Inc.                       $646,758.00                                                                          $646,758.00
McKesson Medical-Surgical, Inc.
Stephanie Hampton
4345 Southpoint Blvd.
Jacksonville, FL 32216                                              1312    5/31/2019            Promise Hospital of Phoenix, Inc.                            $947.23                                                                              $947.23
Louisiana Health Service & Indemnity Company d/b/a Blue
Cross and Blue Shield of Louisiana
Allison N. Pham
P.O. Box 98029
Baton Rouge, LA 70989-9029                                          1313    5/31/2019            Promise Hospital of Louisiana, Inc.                        $14,622.46                                                                           $14,622.46
Akanke Butterfield Trust (Bermuda)
Clarien Trust Limited as Trustee of Jeanne Adele Strong Burdick
Gift Trust
25 Reid Street
Hamilton, HM 11
Bermuda                                                             1314    5/30/2019             Promise Healthcare Group, LLC                                  $0.00                                                                                $0.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                                                1315    5/30/2019               Promise Healthcare #2, LLC                             $646,758.00                                                                          $646,758.00
Founding Partners Capital Management Company
Founding Partners Capital
Management Company
2 S. Biscayne Blvd., Suite 2100
Miami, FL 33131                                                     1316    5/31/2019             Promise Healthcare Group, LLC                                  $0.00                                                                                $0.00
AVT - Florida, L.P. ( f/k/a TFG-Florida, L.P.)
Attn: General Counsel
6995 Union Park Center, Suite 400
Cottonwood Heights, UT 84047                                        1317    5/29/2019                 Promise Healthcare, Inc.                             $106,061.45                        $125,228.31                                       $231,289.76
Woodbury, Edmund C.
1169 Cherry Street
Winnetka, IL 60093                                                  1318    5/31/2019             Promise Healthcare Group, LLC                                  $0.00                                                                                $0.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                                                1319    5/30/2019                  HLP of Shreveport, Inc.                             $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                                                1320    5/30/2019         Promise Hospital of Overland Park, Inc.                      $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                                                1321    5/30/2019              Promise Hospital of Dallas, Inc.                        $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                                                1322    5/30/2019          Promise Hospital of Wichita Falls, Inc.                     $646,758.00                                                                          $646,758.00
Zimbleman, Jamie
12105 Lexington Park Dr Apt 108
Tampa, FL 33626                                                     1323    5/30/2019     Promise Rejuvenation Center at the Villages, Inc.                                                                                        $3,000.00      $3,000.00
Stewart B. Barmen IRA Rollover
Stewart B. Barmen
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                                                1324    5/30/2019            Promise Hospital of Vicksburg, Inc.                       $646,758.00                                                                          $646,758.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                                                  1325    5/31/2019            Promise Hospital of Louisiana, Inc.                             $0.00                                                                                $0.00




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              Creditor Name and Address           Claim No. Claim Date                          Debtor                                 Unsecured Claim                                         Admin Priority
                                                                                                                                                            Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                           Amount                                                 Amount
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                                1326    5/30/2019         HLP Properties at the Villages Holdings, LLC                   $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                                1327    5/30/2019            Promise Properties of Shreveport, LLC                       $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
Stewart B. Barmen
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                                1328    5/30/2019               Promise Healthcare Group, LLC                            $646,758.00                                                                          $646,758.00
KENNEDY, KEITH W.
2911 TURTLE CREEK BLVD., SUITE #450
DALLAS, TX 75219                                    1329    5/30/2019      Promise Rejuvenation Center at the Villages, Inc.                       $0.00                                                                                $0.00
Stewart B. Barmen IRA Rollover
Stewart B. Barmen
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                                1330    5/30/2019            HLP Properties at the Villages, L.L.C.                      $646,758.00                                                                          $646,758.00
Kinetic Concepts, Inc.
KCI A Division of Acelity
c/o Martha G. Geraths
12930 IH-10 West
San Antonio, TX 78249                               1331    5/31/2019               Promise Hospital of Dallas, Inc.                          $11,476.14                                                                           $11,476.14
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                                1332    5/30/2019               Vidalia Real Estate Partners, LLC                        $646,758.00                                                                          $646,758.00
Dialysis Clinic, Inc.
Bradley Arant Boult Cummings, LLP
Attn: Austin L. McMullen
1600 Division Street, Suite 700
Nashville, TN 37203                                 1333    5/31/2019           Promise Hospital of Overland Park, Inc.                       $65,587.09                                                                           $65,587.09
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                                  1334    5/31/2019           Promise Hospital of Overland Park, Inc.                            $0.00                                                                                $0.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                                1335    5/30/2019                Promise Hospital of Lee, Inc.                           $646,758.00                                                                          $646,758.00
Kinetic Concepts, Inc.
KCI A Division of Acelity
c/o Martha G. Geraths
12930 IH-10 West
San Antonio , TX 78249                              1336    5/31/2019                  Success Healthcare 1, LLC                              $37,338.44                                                                           $37,338.44
CASH ACCELERATION SOLUTIONS FOR HEALTHCARE, LLC
3950 VIA DOLCE
APT# 510
MARINA DEL RAY, CA 90292                            1337    5/30/2019                  Success Healthcare 1, LLC                              $87,735.65                                                                           $87,735.65
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                                1338    5/30/2019              Promise Hospital of Salt Lake, Inc.                       $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                                1339    5/30/2019    Promise Behavioral Health Hospital of Shreveport, Inc.              $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
Stewart B. Barmen
5301 Fifth Avenue
Unit 3
Pittsburgh, PA 15232                                1340    5/30/2019                         PH-ELA, Inc.                                   $646,758.00                                                                          $646,758.00


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                                                                                                                                                                 Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                Amount                                                 Amount
Stewart B. Barmen IRA Rollover
Stewart B. Barmen
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                                    1341    5/30/2019                 Promise Hospital of Dade, Inc.                          $646,758.00                                                                          $646,758.00
STEWART B. BARMEN IRA ROLLOVER
STEWART B. BARMEN
5301 FIFTH AVENUE, UNIT 3
PITTSBURGH, PA 15232                                    1342    5/30/2019              St. Alexius Hospital Corporation #1                        $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                                    1343    5/30/2019              Promise Rejuvenation Centers, Inc.                         $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
Stewart B Barmen
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                                    1344    5/30/2019                       LH Acquisition, LLC                               $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                                    1345    5/30/2019           Professional Rehabilitation Hospital, L.L.C.                  $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                                    1346    5/30/2019               Promise Healthcare Holdings, Inc.                         $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
Stewart B. Barmen
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                                    1347    5/30/2019                      HLP HealthCare, Inc.                               $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
Stewart B. Barmen
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                                    1348    5/30/2019    PHG Technology Development and Services Company, Inc.                $646,758.00                                                                          $646,758.00
Stewart B Barmen IRA Rollover
Stewart B Barmen
5301 Fifth Avenue, Unit 3
Pittsburgh , PA 15232                                   1349    5/30/2019           Promise Hospital of East Los Angeles, L.P.                    $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                                    1350    5/30/2019             Promise Hospital of Baton Rouge, Inc.                       $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                                    1351    5/30/2019                    Promise Healthcare, Inc.                             $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
Stewart B Barmen
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                                    1352    5/30/2019                     Quantum Health, Inc.                                $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                                    1353    5/30/2019             Promise Healthcare of California, Inc.                      $646,758.00                                                                          $646,758.00
CLAFIN MEDICAL EQUIPMENT
455 WARWICK INDUSTRIAL DRIVE
WARWICK, RI 02886                                       1354    5/28/2019                Promise Healthcare Group, LLC                                                                                                   $19,610.35     $19,610.35
Nautilus Insurance Company, c/o Berkley Select, LLC
Buchanan Ingersoll & Rooney
Mary F. Caloway
919 N. Market St., Suite 990
Wilmington, DE 19801                                    1355    5/31/2019                    Success Healthcare, LLC                              $321,790.12                                                                          $321,790.12
CyraCom, LLC.
5780 N. Swan Road
Tucson, AZ 85718                                        1356    5/31/2019              St. Alexius Hospital Corporation #1                           $528.93                                                                              $528.93

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                                                                                                                                                       Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                      Amount                                                 Amount
Claim docketed in error
                                               1357    5/31/2019               Promise Healthcare Group, LLC                                                                                                                       $0.00
Reid, Felicita
Daniela Romero, Esq.
Law Office of Daniela Romero, APLC
1015 North Lake Ave., #212
Pasadena, CA 91104                             1358    5/31/2019          Promise Hospital of East Los Angeles, L.P.                    $500,000.00                                                                          $500,000.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                           1359    5/30/2019               Promise Properties of Lee, Inc.                          $646,758.00                                                                          $646,758.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                             1360    5/31/2019          Promise Hospital of East Los Angeles, L.P.                          $0.00                                                                                $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                             1361    5/31/2019    Promise Skilled Nursing Facility of Wichita Falls, Inc.                   $0.00                                                                                $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                             1362    5/31/2019              Promise Hospital of Salt Lake, Inc.                             $0.00                                                                                $0.00
BIOMERIEUX, INC
P.O. BOX 500308
ST LOUIS, MO 63150-0308                        1363    5/31/2019          Promise Hospital of East Los Angeles, L.P.                     $11,172.92                                                                           $11,172.92
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                           1364    5/31/2019                   Success Healthcare, LLC                              $646,758.00                                                                          $646,758.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                             1365    5/31/2019             Promise Hospital of Ascension, Inc.                              $0.00                                                                                $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                             1366    5/31/2019                         PH-ELA, Inc.                                         $0.00                                                                                $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                             1367    5/31/2019                   HLP of Shreveport, Inc.                                    $0.00                                                                                $0.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                           1368    5/30/2019                     HLP Properties, Inc.                               $646,758.00                                                                          $646,758.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                             1369    5/31/2019             Promise Hospital of Vicksburg, Inc.                              $0.00                                                                                $0.00
Kinetic Concepts, Inc.
KCI A Division of Acelity
c/o Martha G. Geraths
12930 IH-10 West
San Antonio , TX 78249                         1370    5/31/2019            Promise Hospital of Baton Rouge, Inc.                        $11,839.05                                                                           $11,839.05
Lehmann DO, Ryan K.
Seigfreid Bingham, P.C.
David E. Shay
2323 Grand Blvd., Suite 1000
Kansas City, MO 64108                          1371    5/31/2019                   Success Healthcare, LLC                               $34,719.79                                                                           $34,719.79
Kinetic Concepts, Inc.
KCI A Division of Acelity
c/o Martha G. Geraths
12930 IH-10 West
San Antonio , TX 78249                         1372    5/31/2019    Promise Skilled Nursing Facility of Overland Park, Inc.               $5,441.95                                                                            $5,441.95




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                                                                                                                                                                       Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                      Amount                                                 Amount
Kinetic Concepts, Inc.
KCI A Division of Acelilty
c/o Martha G. Geraths
12930 IH-10 West
San Antonio, TX 78249                                            1373    5/31/2019             Promise Hospital of Phoenix, Inc.                         $21,162.99                                                                           $21,162.99
Stewart B Barmen IRA Rollover
Stewart B Barmen
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                                             1374    5/30/2019                 Quantum Properties, L.P.                             $646,758.00                                                                          $646,758.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                                               1375    5/31/2019               Promise Hospital of Lee, Inc.                                $0.00                                                                                $0.00
Kinetic Concepts, Inc.
KCI A Division of Acelity
c/o Martha G. Geraths
12930 IH-10 West
San Antonio, TX 78249                                            1376    5/31/2019            Promise Hospital of Louisiana, Inc.                        $32,375.95                                                                           $32,375.95
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                                               1377    5/31/2019             Promise Properties of Dade, Inc.                               $0.00                                                                                $0.00
Stewart B Barmen IRA Rollover
Stewart B Barmen
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                                             1378    5/30/2019      Promise Hospital of Florida at The Villages, Inc.               $646,758.00                                                                          $646,758.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                                               1379    5/31/2019              Promise Properties of Lee, Inc.                               $0.00                                                                                $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                                               1380    5/31/2019              Promise Hospital of Dade, Inc.                                $0.00                                                                                $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                                               1381    5/31/2019                    LH Acquisition, LLC                                     $0.00                                                                                $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                                               1382    5/31/2019                 Success Healthcare 1, LLC                                  $0.00                                                                                $0.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                                             1383    5/30/2019                  HLP of Los Angeles, LLC                             $646,758.00                                                                          $646,758.00
Lucille E. Robbins Trust U/A dated 7/31/92, William H Myers,
Trustee
c/o Porter, Wright, Morris & Arthur LLP
9132 Strada Place, 3rd Floor
Naples, FL 34108-2683                                            1384    5/29/2019              Promise Healthcare Group, LLC                                 $0.00                                                                                $0.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                                             1385    5/30/2019             Promise Hospital of Phoenix, Inc.                        $646,758.00                                                                          $646,758.00
Experian Health, Inc.
c/o FrankGecker LLP
Joseph D. Frank
1327 W. Washington Blvd.
Suite 5G-H
Chicago, IL 60607                                                1386    5/31/2019                 Success Healthcare 1, LLC                              $1,426.53                                                                            $1,426.53




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                                                                                                                                                          Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                          Amount                                                Amount
Kinetic Concepts, Inc.
KCI A Division of Acelity
c/o Martha G. Geraths
12930 IH-10 West
San Antonio , TX 78249                           1387    5/31/2019               Promise Hospital of Vicksburg, Inc.                        $34,548.87                                                                           $34,548.87
Founding Partners Capital Management Company
Attn: Daniel S. Newman, Receiver
2 S. Biscayne Blvd., Suite 2100
Miami, FL 33131                                  1388    5/31/2019                 Promise Healthcare Group, LLC                                 $0.00                                                                                $0.00
Brown, James F
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                               1389    5/31/2019              HLP Properties at the Villages, L.L.C.                           $0.00                                                                                $0.00
Brown, James F
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                               1390    5/31/2019          HLP Properties at the Villages Holdings, LLC                         $0.00                                                                                $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                               1391    5/31/2019                  HLP Properties of Vidalia, LLC                               $0.00                                                                                $0.00
Kinetic Concepts, Inc.
KCI A Division of Acelity
c/o Martha G. Geraths
12930 IH-10 West
San Antonio , TX 78249                           1392    5/31/2019               Promise Hospital of Salt Lake, Inc.                        $35,294.62                                                                           $35,294.62
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                               1393    5/31/2019               Promise Rejuvenation Centers, Inc.                              $0.00                                                                                $0.00
Kinetic Concepts, Inc.
KCI A Division of Acelity
c/o Martha G. Geraths
12930 IH-10 West
San Antonio , TX 78249                           1394    5/31/2019                  Promise Hospital of Lee, Inc.                             $839.04                                                                              $839.04
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                               1395    5/31/2019        Promise Rejuvenation Center at the Villages, Inc.                      $0.00                                                                                $0.00
Kinetic Concepts, Inc.
KCI A Division of Acelity
c/o Martha G. Geraths
12930 IH-10 West
San Antonio , TX 78249                           1396    5/31/2019         Promise Hospital of Florida at The Villages, Inc.                $13,949.72                                                                           $13,949.72
Brown, James F
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                               1397    5/31/2019     Promise Behavioral Health Hospital of Shreveport, Inc.                    $0.00                                                                                $0.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                             1398    5/30/2019                    Success Healthcare 2, LLC                            $646,758.00                                                                          $646,758.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                               1399    5/31/2019    PHG Technology Development and Services Company, Inc.                      $0.00                                                                                $0.00
Harrell, Micahel
1784 Pine Tree Trail
Brookhaven, MS 39601                             1400    5/31/2019           Professional Rehabilitation Hospital, L.L.C.                                     $54,000.00                                                         $54,000.00
ALACHUA COUNTY
PO BOX 5038
GAINESVILLE, FL 32627                            1401    5/31/2019         Promise Hospital of Florida at The Villages, Inc.                 $2,399.25                                                                            $2,399.25




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                                                                                                                                                   Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                  Amount                                                 Amount
McKesson Medical-Surgical, Inc.
Stephanie Hampton
4345 Southpoint Blvd
Jacksonville, FL 32216                         1402    5/31/2019               Promise Healthcare, Inc.                              $25,982.38                                                                           $25,982.38
CAESARS ENTERTAINMENT CORPORATION
SAMUEL A. SCHWARTZ, ESQ.
100 N CITY PARKWAY, STE 1600
LAS VEGAS, NV 89106                            1403    5/31/2019            Promise Healthcare Group, LLC                              $100.00                                                                              $100.00
Becton, Dickinson and Company
McCarter & English, LLP
Attn: Lisa S. Bonsall, Esq.
100 Mulberry Street
Four Gateway Center
Newark, NJ 07102                               1404    5/31/2019            Promise Hospital of Dade, Inc.                           $32,440.84                                            $18,245.05                     $50,685.89
Becton, Dickinson and Company
McCarter & English, LLP
Attn: Lisa S. Bonsall, Esq.
100 Mulberry Street
Four Gateway Center
Newark, NJ 07102                               1405    5/31/2019         Promise Hospital of Wichita Falls, Inc.                                                                            $8,058.96                      $8,058.96
3M Health Information Systems
3M Company
Dentons US LLP
c/o Alison Franklin
303 Peachtree St., NE, Suite 5300
Atlanta, GA 30308                              1406    5/31/2019               Promise Healthcare, Inc.                               $8,755.29                                                                            $8,755.29
Becton, Dickinson and Company
McCarter & English, LLP
Attn: Lisa S. Bonsall, Esq.
100 Mulberry Street
Four Gateway Center
Newark, NJ 07102                               1407    5/31/2019        Promise Hospital of Overland Park, Inc.                                                                             $7,560.00                      $7,560.00
US Foods, Inc.
Bryan Cave Leighton Paisner, LLP
Leslie A. Bayles
161 North Clark Street, Suite 4300
Chicago, IL 60601                              1408    5/31/2019         Promise Hospital of Baton Rouge, Inc.                        $1,728.99                          $3,973.48         $10,019.36                     $15,721.83
McKesson Medical-Surgical, Inc.
Stephanie Hampton
4345 Southpoint Blvd.
Jacksonville, FL 32216                         1409    5/31/2019            Promise Hospital of Dallas, Inc.                          $5,083.20                                                                            $5,083.20
3M Health Information Systems
3M Company
Dentons US LLP
c/o Alison Franklin
303 Peachtree St., NE, Suite 5300
Atlanta, GA 30308                              1410    5/31/2019                Success Healthcare, LLC                              $47,576.45                                                            $54,712.92    $102,289.37
Accident Fund Insurance Company of America
c/c Geoffrey T. Pavlic
200 N. Grand Avenue
P.O. Box 40785
Lansing, MI 48901-7985                         1411    5/31/2019               Promise Healthcare, Inc.                             $839,894.68                                                                          $839,894.68
US Foods, Inc.
Leslie A. Bayles
Bryan Cave Leighton Paisner, LLP
161 North Clark Street, Suite 4300
Chicago, IL 60601                              1412    5/31/2019          Promise Hospital of Ascension, Inc.                         $1,728.99                          $3,973.48         $10,019.36                     $15,721.83

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US Foods, Inc.
Bryan Cave Leighton Paisner, LLP
Leslie A. Bayles
161 North Clark Street, Suite 4300
Chicago, IL 60601                                           1413    5/31/2019            Promise Hospital of Louisiana, Inc.                         $1,928.36                          $12,545.57         $35,655.08                     $50,129.01
US Foods, Inc.
Leslie A. Bayles, Bryan Cave Leighton Paisner, LLP
161 North Clark Street, Suite 4300
Chicago, IL 60601                                           1414    5/31/2019      Promise Hospital of Florida at The Villages, Inc.                                                     $3,500.00          $3,000.00                      $6,500.00
ALL VETERANS NURSE STAFFING INC
438 CAMINO DEL RIO SO.
SUITE 101
SAN DIEGO, CA 92108                                         1415    5/30/2019                   Quantum Health, Inc.                                 $3,880.50                                                                             $3,880.50
KINETIC CONCEPTS, INC.
KCI A DIVISION ACELITY
C/O MARTHA G. GARATHS
12930 IH-10 WEST
SAN ANTONIO, TX 78249                                       1416    5/31/2019             Promise Properties of Dade, Inc.                           $2,342.91                                                                             $2,342.91
Webb Shade Memorial Fund
201 W. Monroe St.
P.O. Box C
Pleasantville, IA 50225                                     1417    5/31/2019              Promise Healthcare Group, LLC                          $1,512,208.00                                                                         $1,512,208.00
Manus, Marc
The Law Offce of John J. Pawloski, LLC
John Joseph Pawloski, Attorney
1900 Locust Street Suite 302
St. Louis, MO 63103                                         1418    5/31/2019            St. Alexius Hospital Corporation #1                       $400,000.00                                                                           $400,000.00
Stryker Corporation, Sage Products
Purkey & Associates, PLC
Lori L Purkey
5955 West Main St., Ste. 236
Kalamazoo, MI 49009                                         1419    5/31/2019              Promise Healthcare Group, LLC                             $2,163.00                                                                             $2,163.00
McKesson Medical Surgical, Inc.
Attn: Stephanie Hampton
4345 Southpoint Blvd.
Jacksonville, FL 32216                                      1420    5/31/2019      Promise Hospital of Florida at The Villages, Inc.                                                                                        $4,573.70      $4,573.70
Sterling, Suzanne K.
20 Fairway Island
Grasonville, MD 21638                                       1421    5/31/2019              Promise Healthcare Group, LLC                                                                                                        $0.00          $0.00
Louisiana Health Service & Indemnity Company d/b/a Blue
Cross and Blue Shield of Louisiana
Allison N. Pham
P.O. Box 98029
Baton Rouge, LA 70898-9029                                  1422    5/31/2019          Promise Hospital of Baton Rouge, Inc.                         $4,500.00                                                                             $4,500.00
McKesson Medical Surgical, Inc.
Attn: Stephanie Hampton
4345 Southpoint Blvd.
Jacksonville, FL 32216                                      1423    5/31/2019              Promise Hospital of Dade, Inc.                                                                                                   $5,101.69      $5,101.69
McKesson Medical-Surgical, Inc.
Stephanie Hampton
4345 Southpoint Blvd.
Jacksonville, FL 32216                                      1424    5/31/2019     Promise Rejuvenation Center at the Villages, Inc.                    $383.90                                                                               $383.90
McKesson Medical Surgical, Inc.
Attn: Stephanie Hampton
4345 Southpoint Blvd.
Jacksonville, FL 32216                                      1425    5/31/2019              Promise Hospital of Dade, Inc.                           $27,784.83                                              $5,101.69                     $32,886.52


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McKesson Medical Surgical, Inc.
Attn: Stephanie Hampton
4345 Southpoint Blvd.
Jacksonville, FL 32216                                       1426    5/31/2019            Promise Hospital of Louisiana, Inc.                                                                                               $8,042.53      $8,042.53
Accident Fund Insurance Company of America
c/o Geoffrey T. Pavlic
200 N. Grand Avenue
P.O. Box 40785
Lansing, MI 48901-7985                                       1427    5/31/2019                  Success Healthcare, LLC                             $839,894.68                                                                          $839,894.68
McKesson Medical-Surgical, Inc.
Stephanie Hampton
4345 Southpoint Blvd.
Jacksonville, FL 32216                                       1428    5/31/2019            Promise Hospital of Louisiana, Inc.                        $21,469.15                                             $8,042.53                     $29,511.68
McKesson Medical-Surgical, Inc.
Attn: Stephanie Hampton
4345 Southpoint Blvd.
Jacksonville, FL 32216                                       1429    5/31/2019            Promise Hospital of Ascension, Inc.                                                                                               $2,496.08      $2,496.08
Claim docketed in error
                                                             1430    5/30/2019              Promise Healthcare Group, LLC                                                                                                                      $0.00
McKesson Medical-Surgical, Inc.
Stephanie Hampton
4345 Southpoint Blvd.
Jacksonville, FL 32216                                       1431    5/31/2019      Promise Hospital of Florida at The Villages, Inc.                 $9,998.90                                             $4,753.70                     $14,752.60
MISONIX, INC
1938 NEW HIGHWAY
FARMINGDALE, NY 11735                                        1432    5/31/2019          Promise Properties of Shreveport, LLC                        $14,323.40                                                                           $14,323.40
Claim docketed in error
                                                             1433    5/31/2019              Promise Healthcare Group, LLC                                                                                                                      $0.00
MISONIX, INC
1938 NEW HIGHWAY
FARMINGDALE, NY 11735                                        1434    5/31/2019          Promise Hospital of Baton Rouge, Inc.                        $35,112.00                                                                           $35,112.00
Claim docketed in error
                                                             1435    5/31/2019              Promise Healthcare Group, LLC                                                                                                                      $0.00
MISONIX, INC
1938 NEW HIGHWAY
FARMINGDALE, NY 11735                                        1436    5/31/2019        Promise Hospital of East Los Angeles, L.P.                      $1,597.72                                                                            $1,597.72
Cardinal Health 110, LLC f/k/a Cardinal Health 110, Inc.
Debra A. Willet & Assoc. General Counsel
7000 Cardinal Place
Dublin, OH 43017                                             1437    5/31/2019            Promise Hospital of Vicksburg, Inc.                         $4,151.04                                             $5,856.15                     $10,007.19
Reid, Felicita
Daniela Romero, Esq.
Law Office of Daniela Romero, APLC
1015 N. Lake Ave., Ste. 212
Pasadena, CA 91104                                           1438    5/31/2019           Promise Healthcare of California, Inc.                     $500,000.00                                                                          $500,000.00
Flexcare, LLC
c/o Jason Rios, Felderstein et al.
400 Capitol Mall, Suite 1750
Sacramento, CA 95814                                         1439    5/31/2019        Promise Hospital of East Los Angeles, L.P.                     $73,744.98                                                                           $73,744.98
CyraCom, LLC
5780 N. Swan Road
Tucson, AZ 85718                                             1440    5/31/2019          Promise Hospital of Overland Park, Inc.                        $981.25                                                                              $981.25
CyraCom, LLC
5780 N. Swan Road
Tucson, AZ 85718                                             1441    5/31/2019              Promise Hospital of Dallas, Inc.                              $0.81                                                                                $0.81




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                                                                                                                                                Amount                                                 Amount
Founding Partners Capital Management Company
Attn: Daniel S. Newman, Receiver
One Biscayne Tower 2 S. Biscayne Blvd, Suite 2100
Miami, FL 33131                                              1442    5/31/2019            Promise Healthcare Group, LLC                                 $0.00                                                                                $0.00
Grabish, Stanley
928 Austin Avenue
Atlanta, GA 30307                                            1443    5/31/2019            Promise Healthcare Group, LLC                           $132,150.00        $12,850.00                                                        $145,000.00
CyraCom, LLC
5780 N. Swan Road
Tucson, AZ 85718                                             1444    5/31/2019               Promise Healthcare, Inc.                                $147.33                                                                              $147.33
Siemens Healthcare Diagnostics, Inc.
Attn: General Counsel
P.O. Box 121102
Dallas, TX 75312-1102                                        1445    5/30/2019            Promise Healthcare Group, LLC                             $7,899.10                                                                            $7,899.10
TEAM MEDICAL
3421 GARY DRIVE
PLANO, TX 75023                                              1446    5/28/2019         Promise Hospital of Wichita Falls, Inc.                     $10,200.00                                                                           $10,200.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                                           1447    5/31/2019           Promise Hospital of Phoenix, Inc.                              $0.00                                                                                $0.00
CyraCom, LLC
5780 N. Swan Road
Tucson, AZ 85718                                             1448    5/31/2019               Success Healthcare 1, LLC                               $804.93                                                                              $804.93
MISONIX, INC
1938 NEW HIGHWAY
FARMINGDALE, NY 11735                                        1449    5/31/2019          Promise Hospital of Ascension, Inc.                        $20,368.16                                                                           $20,368.16
STORER EQUIPMENT CO LTD
PO BOX 6761
SHREVEPORT, LA 71136                                         1450    5/31/2019         Promise Properties of Shreveport, LLC                        $4,607.05                                                                            $4,607.05
Vitalant f/k/a Blood Systems Inc.
Bhavi Shah -Vitalant
6210 E.Oak Street
Scottsdale, AZ 85257                                         1451    5/29/2019            Promise Healthcare Group, LLC                            $49,861.72                                                                           $49,861.72
Claim docketed in error
                                                             1452    5/30/2019            Promise Healthcare Group, LLC                                                                                                                      $0.00
Siemens Healthcare Diagnostics, Inc
Attn: General Counsel
115 Norwood Park South
Norwood, MA 02602                                            1453    5/30/2019            Promise Healthcare Group, LLC                            $23,837.24                                                                           $23,837.24
Claim docketed in error
                                                             1454    5/30/2019            Promise Healthcare Group, LLC                                                                                                                      $0.00
SIEMENS HEALTHCARE DIAGNOSTICS, INC
P. O BOX 121102
DALLAS, TX 75312-1102                                        1455    5/30/2019          Promise Hospital of Ascension, Inc.                        $14,547.10                                             $9,129.11                     $23,676.21
Siemens Healthcare Diagnostics, Inc
Attn: General Counsel
115 Norwood Park South
Norwood, MA 02062                                            1456    5/30/2019            Promise Healthcare Group, LLC                            $26,592.19                                                                           $26,592.19
Cardinal Health 200, LLC
Debra A. Willet
VP & Assoc. General Counsel
7000 Cardinal Place
Dublin, OH 43017                                             1457    5/31/2019                Success Healthcare, LLC                                $952.74                                                                              $952.74
Cardinal Health 110, LLC f/k/a Cardinal Health 110, Inc.
Debra A. Willet & Assoc. General Counsel
7000 Cardinal Place
Dublin, OH 43017                                             1458    5/31/2019               Success Healthcare 1, LLC                                  $0.10                                             $7,261.43                      $7,261.53

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                                                                                                                                                      Amount                                                 Amount
Bejarano, Gina Maria
6214 College Ave
San Diego , CA 92120                                              1459    5/30/2019             Promise Healthcare Group, LLC                                                                                                  $11,033.57     $11,033.57
Cardinal Health 200 LLC
Attn: Debra Willet
Vice President and Associate General Counsel
7000 Cardinal Place
Dublin, OH 43017                                                  1460    5/31/2019         Promise Hospital of Baton Rouge, Inc.                         $1,067.74                                              $125.30                       $1,193.04
Cardinal Health 110, LLC f/k/a Cardinal Health 110, Inc.
Debra A. Willet & Assoc. General Counsel
7000 Cardinal Place
Dublin, OH 43017                                                  1461    5/31/2019              Promise Hospital of Lee, Inc.                            $1,016.00                                             $1,203.84                      $2,219.84
UMA N. AGGARWAL TRUST
9792 OLD WARSON ROAD
ST. LOUIS, MO 63124                                               1462    5/31/2019             Promise Healthcare Group, LLC                           $187,225.00                                                                          $187,225.00
Oracle America, Inc.
c/o Amish R. Doshi, Esq.
Doshi Legal Group, P.C.
1979 Marcus Avenue, Suite 210E
Lake Success, NY 11042                                            1463    5/31/2019             Promise Healthcare Group, LLC                           $319,668.00                                                                          $319,668.00
SOUTH BROADWAY PHILLIPS
DBA SO BROADWAY CITGO
3605 SO BROADWAY
ST. LOUIS, MO 63118                                               1464    5/31/2019             Promise Healthcare Group, LLC                             $2,800.00                                                                            $2,800.00
Cardinal Health 110, LLC f/k/a Cardinal Health 110, Inc.
Debra A. Willet & Assoc. General Counsel
7000 Cardinal Place
Dublin, OH 43017                                                  1465    5/31/2019        Promise Hospital of East Los Angeles, L.P.                     $2,092.90                                            $20,495.68                     $22,588.58
Cardinal Health 110, LLC f/k/a Cardinal Health 110, Inc.
Debra A. Willet, VP & Assoc. General Counsel
7000 Cardinal Place
Dublin, OH 43017                                                  1466    5/31/2019           Promise Hospital of Louisiana, Inc.                         $1,117.67                                            $19,255.14                     $20,372.81
BUCKHALTER, TAMALA
3645 JOSEPHINE COURT
COMPTON, CA 90221                                                 1467    5/29/2019             Promise Healthcare Group, LLC                                                                                                       $0.00          $0.00
Food Management Group, Inc
Craig P.Boudreaux,Jr.,CEO
70 Jessie DunPont Memorial highway
Burgess, VA 22432                                                 1468    5/28/2019             Promise Healthcare Group, LLC                                                   $0.00                                                              $0.00
Cardinal Health 110, LLC f/k/a Cardinal Health 110, Inc.
Debra A. Willet & Assoc. General Counsel
7000 Cardinal Place
Dublin, OH 43017                                                  1469    5/31/2019         Promise Hospital of Baton Rouge, Inc.                          $689.16                                              $5,545.42                      $6,234.58
Cardinal Health 110, LLC f/k/a Cardinal Health 110, Inc.
Attn: Debra Willet
Vice President and Associate General Counsel
7000 Cardinal Place
Dublin, OH 43017                                                  1470    5/31/2019         Promise Hospital of Wichita Falls, Inc.                       $1,348.10                                             $2,106.59                      $3,454.69

Algos Inc a medical corporation, dba Synovation Medical Group
Attn: Clayton A Varga MD
224 N Fair Oaks Ave
Suite 300
Pasadena, CA 91103                                                1471    5/30/2019        Promise Hospital of East Los Angeles, L.P.                                                                                          $36,751.62     $36,751.62
LeJay, Kathy
14022 S Northwood Ave
Compton, CA 90222                                                 1472    5/30/2019        Promise Hospital of East Los Angeles, L.P.                                                                                               $0.00          $0.00

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                                                                                                                                                     Amount                                                  Amount

Donald R. Joseph Rev Dec Trust (formerly Meyer Family Auroc)
Donald R. Joseph
P.O. Box 1993
Boca Grande, FL 33921                                            1473    5/23/2019             Promise Healthcare Group, LLC                                 $0.00                                                                                 $0.00
RODRIGUEZ, MARY
9048 1/2 CEDAR STREET
BELLFLOWER, CA 90706                                             1474    5/31/2019        Promise Hospital of East Los Angeles, L.P.                                        $6,000.00        $6,000.00              $0.00                     $12,000.00
Cardinal Health 110, LLC f/k/a Cardinal Health 110, Inc.
Debra A. Willet & Assoc. General Counsel
7000 Cardinal Place
Dublin, OH 43017                                                 1475    5/31/2019         Promise Hospital of Overland Park, Inc.                         $315.73                                              $1,830.74                      $2,146.47
VHS2008, LLC
c/o Lee C. Kantrow and David S. Rubin
Kantrow Spaht Weaver & Blitzer, APLC
445 N. Blvd. Suite 300
Baton Rouge, LA 70802                                            1476    5/31/2019         Promise Hospital of Baton Rouge, Inc.                                                         $1,008,080.40                                      $1,008,080.40
Cardinal Health 110, LLC f/k/a Cardinal Health 110, Inc.
Debra A. Willet & Assoc. General Counsel
7000 Cardinal Place
Dublin, OH 43017                                                 1477    5/31/2019                Promise Healthcare, Inc.                            $1,832,683.24                                            $84,838.50                   $1,917,521.74
Cardinal Health 110, LLC f/k/a Cardinal Health 110, Inc.
Debra A. Willet & Assoc. General Counsel
7000 Cardinal Place
Dublin, OH 43017                                                 1478    5/31/2019            Promise Hospital of Phoenix, Inc.                            $544.94                                              $8,819.71                      $9,364.65
IHC Health Services, Inc.
Snell & Wilmer LLP c/o Timothy Dance
15 W. South Temple, Ste 1200
Salt Lake City, UT 84101                                         1479    5/31/2019           Promise Hospital of Salt Lake, Inc.                      $1,039,197.38                                                                         $1,039,197.38

Wilmington Trust, National Association, as collateral agent
Shipman & Goodwin LLP
Attn: Marie Pollio
One Constitution Plaza
Hartford , CT 06103                                              1480    5/31/2019                Promise Healthcare, Inc.                                                                  $27,644.00                                        $27,644.00
Meraj Petroleums LLC
Qais Meraj
3605 S Broadway
St Louis, MO 63118                                               1481    5/31/2019             Promise Healthcare Group, LLC                                                                                                    $2,800.00      $2,800.00
Misonix, Inc
Attn: General Counsel
1938 New Highway
Farmingdale, NY 11735                                            1482    5/31/2019              HLP Properties of Vidalia, LLC                             $674.18                                                                               $674.18
Cardinal Health 110, LLC f/k/a/ Cardinal Health 110, Inc.
Debra A. Willet, VP & Assoc. General Counsel
7000 Cardinal Place
Dublin, OH 43017                                                 1483    5/31/2019       Professional Rehabilitation Hospital, L.L.C.                      $222.99                                              $1,985.79                      $2,208.78
Misonix, Inc
Attn: General Counsel
1938 New Highway
Farmingdale, NY 11735                                            1484    5/31/2019         Promise Hospital of Baton Rouge, Inc.                        $21,945.00                                                                            $21,945.00
Cardinal Health 110, LLC f/k/a/ Cardinal Health 110, Inc.
Debra A. Willet, VP & Assoc. General Counsel
7000 Cardinal Place
Dublin, OH 43017                                                 1485    5/31/2019           Promise Hospital of Salt Lake, Inc.                           $484.10                                              $3,200.05                      $3,684.15




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                                                                                                                                                                       Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                     Amount                                                  Amount

Wilmington Trust, National Association, as collateral agent
Shipman & Goodwin LLP
Attn: Marie Pollio
One Constitution Plaza
Hartford, CT 06103                                              1486    5/31/2019            Promise Hospital of Louisiana, Inc.                                                            $27,644.00                                        $27,644.00
Oracle America, Inc
Doshi Legal Group, P.C.
c/o Amish R. Doshi, Esq
1979 Marcus Ave., Suite 210E
Lake Success, NY 11042                                          1487    5/31/2019            Promise Healthcare Holdings, Inc.                          $319,668.00                                                                          $319,668.00
MICROPORT ORTHOPEDICS INC
M. RUTHIE HAGAN
BAKER DONELSON
165 MADISON AVE. STE 2000
MEMPHIS, TN 38103                                               1488    5/31/2019                 Success Healthcare 1, LLC                               $8,949.09                                             $5,401.13                     $14,350.22
Cardinal Health 200 LLC
Attn: Debra Willet
Vice President and Associate General Counsel
7000 Cardinal Place
Dublin, OH 43017                                                1489    5/31/2019      Promise Hospital of Florida at The Villages, Inc.                   $216.13                                                 $60.43                       $276.56

Wilmington Trust, National Association, as collateral agent
Shipman & Goodwin LLP
Attn: Marie Pollio
One Constitution Plaza
Hartford, CT 06103                                              1490    5/31/2019              Bossier Land Acquisition Corp.                                                               $27,644.00                                        $27,644.00
Cardinal Health 110, LLC f/k/a Cardinal Health 110, Inc.
Attn: Debra Willet
Vice President and Associate General Counsel
7000 Cardinal Place
Dublin, OH 43017                                                1491    5/31/2019              Promise Hospital of Dade, Inc.                              $548.90                                              $5,837.00                      $6,385.90
Oracle America, Inc.
Doshi Legal Group, P.C.
c/o Amish R. Doshi, Esq.
1979 Marcus Ave., Suite 210E
Lake Success, NY 11042                                          1492    5/31/2019           Promise Healthcare of California, Inc.                      $319,668.00                                                                          $319,668.00
Cardinal Health 110, LLC f/k/a Cardinal Health 110, Inc.
Debra A. Willet & Assoc. General Counsel
7000 Cardinal Place
Dublin, OH 43017                                                1493    5/31/2019      Promise Hospital of Florida at The Villages, Inc.                   $389.66                                              $3,659.26                      $4,048.92
Cardinal Health 200 LLC
Attn: Debra Willet
Vice President and Associate General Counsel
7000 Cardinal Place
Dublin, OH 43017                                                1494    5/31/2019                 Promise Healthcare, Inc.                               $31,461.93                                              $668.66                      $32,130.59
Oracle America, Inc.
Doshi Legal Group, P.C.
c/o Amish R. Doshi, Esq.
1979 Marcus Ave., Suite 210E
Lake Success, NY 11042                                          1495    5/31/2019                Promise Healthcare #2, LLC                             $319,668.00                                                                          $319,668.00
Department of Water and Power, City of Los Angeles
Attn: Bankruptcy
PO Box 51111
Los Angeles, CA 90051-5700                                      1496    5/31/2019                 Success Healthcare 1, LLC                              $79,638.11                                                                           $79,638.11




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                                                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                                                        Current Priority Current Secured                      Current Admin Total Current
                 Creditor Name and Address                    Claim No. Claim Date                          Debtor                                 Unsecured Claim                                          Admin Priority
                                                                                                                                                                         Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                       Amount                                                  Amount
Central Health Plan of California, Inc
Attn: Chief Executive Officer
1540 Bridgegate Drive
Diamond Bar, CA 91765                                           1497    5/31/2019          Promise Hospital of East Los Angeles, L.P.                      $14,001.00                                                                           $14,001.00
Cardinal Health 200, LLC
Debra A. Willet, VP & Assoc. General Counsel
7000 Cardinal Place
Dublin, OH 43017                                                1498    5/31/2019           Promise Hospital of Overland Park, Inc.                         $1,941.84                                                                            $1,941.84
MicroPort Orthopedics, Inc.
c/o M. Ruthie Hagan
Baker Donelson
165 Madison Ave, Ste 2000
Memphis, TN 38103                                               1499    5/31/2019                  Success Healthcare 1, LLC                                                                                                      $5,401.13      $5,401.13
Oracle America, Inc.
Doshi Legal Group, P.C.
c/o Amish R. Doshi, Esq.
1979 Marcus Avenue, Suite 210E
Lake Success, NY 11042                                          1500    5/31/2019                  Promise Healthcare, Inc.                               $319,668.00                                                                          $319,668.00
Cardinal Health 200, LLC
Debra A. Willet, VP & Assoc. General Counsel
7000 Cardinal Place
Dublin, OH 43017                                                1501    5/31/2019               Promise Hospital of Dade, Inc.                              $1,407.95                                              $118.89                       $1,526.84
SANDERS, KRISSIE
8820 MONROVIA
#19651
LENEXA, KS 66285-7040                                           1502    5/31/2019    Promise Skilled Nursing Facility of Overland Park, Inc.                                  $2,458.68                                                          $2,458.68
Rodriguez, Mary L.
9331 Rose St
Bellflower, CA 90706                                            1503    5/31/2019          Promise Hospital of East Los Angeles, L.P.                                                                                             $6,000.00      $6,000.00
Siemens Healthcare Diagnostics, Inc
Attn: General Counsel
115 Norwood Park South
Norwood, MA 02062                                               1504    5/30/2019               Promise Healthcare Group, LLC                              $29,479.81                                                                           $29,479.81
Cardinal Health 200, LLC
Debra Willet, VP and Associate General Counsel
7000 Cardinal Place
Dublin, OH 43017                                                1505    5/31/2019                Promise Hospital of Lee, Inc.                               $250.16                                                                              $250.16

Wilmington Trust, National Association, as collateral agent
Shipman & Goodwin LLP
Attn: Marie Pollio
One Constitution Plaza
Hartford, CT 06103                                              1506    5/31/2019           Promise Properties of Shreveport, LLC                                                             $27,644.00                                        $27,644.00
Cardinal Health 200, LLC
Debra Willet
Vice President and Associate General Counsel
7000 Cardinal Place
Dublin, OH 43017                                                1507    5/31/2019              Promise Hospital of Salt Lake, Inc.                          $1,087.77                                              $141.43                       $1,229.20
Cardinal Health 200, LLC
Debra A. Willet
VP & Assoc. General Counsel
7000 Cardinal Place
Dublin, OH 43017                                                1508    5/31/2019          Promise Hospital of East Los Angeles, L.P.                      $24,061.69                                                $21.65                     $24,083.34




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                                                                                                                                        Amount                                                  Amount
Lafayette, Robert C.
c/o David Abboud Thomas
Walters, Papillion, Thomas, Cullens, LLC
12345 Perkins Road, Bldg 1
Baton Rouge, LA 70810                               1509    5/30/2019         Promise Hospital of Baton Rouge, Inc.                        $500,000.00                                                                          $500,000.00
Evans, Savannah
3214 21st St SW
Lehigh Acres, FL 33976                              1510     6/3/2019             Promise Properties of Lee, Inc.                                $0.00                                                                                $0.00
ICARE.COM, INC
401 E. LAS OLAS BLVD
SUITE 1400
FORT LAUDERDALE, FL 33301                           1511     6/3/2019               Promise Healthcare #2, LLC                           $1,461,439.88                                                                         $1,461,439.88
FPL
GENERAL MAIL FACILITY
MIAMI, FL 33188                                     1512     6/3/2019              Promise Hospital of Lee, Inc.                             $7,165.38                                                                            $7,165.38
Bales, Robert Michael
608 Durning Road
Lexington, KY 40509                                 1513    5/31/2019             Promise Healthcare Group, LLC                                  $0.00                                                                                $0.00
Johnson, Jeremy
1444 Country Club Rd
Olney, TX 76374                                     1514     6/4/2019          Promise Hospital of Wichita Falls, Inc.                       $5,150.00        $12,850.00                                                         $18,000.00
Southern Healthcare Agency, Inc.
301 New Pointe
Ridgeland, MS 39157                                 1515     6/4/2019           Promise Hospital of Vicksburg, Inc.                         $31,128.75                                                                           $31,128.75
Key Medical Resources, Inc.
PO BOX 2033
Rancho Cucamonga, CA 91729                          1516     6/4/2019             Promise Healthcare Group, LLC                             $24,000.00                                                                           $24,000.00
Evans, Savannah
3214 21st St SW
Lehigh Acres, FL 33976                              1517     6/3/2019              Promise Hospital of Lee, Inc.                                                                                                       $0.00          $0.00
Southern Healthcare Agency, Inc.
301 New Pointe
Ridgeland, MS 39157                                 1518     6/4/2019           Promise Hospital of Vicksburg, Inc.                                                                                               $31,128.75     $31,128.75
Contrarian Funds, LLC as Transferee of Ambu Inc
Attn: Alisa Mumola
411 West Putnam Ave., Suite 425
Greenwich, CT 06830                                 1519     6/5/2019        Promise Hospital of East Los Angeles, L.P.                      $3,120.76                                                                            $3,120.76
PATTEN, TIMOTHY
591 Telegraph Canyon Rd
Box 938
Chula Vista, CA 91910                               1520     6/4/2019             Promise Healthcare Group, LLC                                              $165,200.00                                                        $165,200.00
Best Global Alternative LTD
PO Box 39
Atlantic Beach, NY 11509                            1521     6/6/2019             Promise Healthcare Group, LLC                             $31,147.42                                                                           $31,147.42
Patten, Timothy R
591 Telegraph Canyon Rd
Box 938
Chula Vista, CA 91910                               1522     6/4/2019             Promise Healthcare Group, LLC                                                                                                  $162,500.00    $162,500.00
MEDIVATORS, INC.
14605 28TH AVENUE N.
PLYMOUTH, MN 55447-4822                             1523     6/6/2019        Promise Hospital of East Los Angeles, L.P.                       $390.84                                                                               $390.84
CITY GLASS
2214 FIFTH STREET
WICHITA FALLS, TX 76301                             1524    6/10/2019          Promise Hospital of Wichita Falls, Inc.                        $506.09                                                                               $506.09




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                                                                                                                                            Amount                                                  Amount
Franchise Tax Board
Bankruptcy Section MS A340
PO Box 2952
Sacramento, CA 95812-2952                               1525    6/10/2019                 HLP of Los Angeles, LLC                                $1,256.78         $6,699.28                                                          $7,956.06
ACTION DUCT CLEANING CO., INC.
2333 LINCOLN AVE
ALTADENA, CA 91001                                      1526    6/10/2019               Success Healthcare 1, LLC                                $7,923.00                                                                            $7,923.00
Holmes, Leslie
Genie Harrison Law Firm, APC
523 W. 6th Street, Suite 707
Los Angeles, CA 90012                                   1527    6/10/2019               Success Healthcare 1, LLC                            $2,000,000.00                                                                         $2,000,000.00
ACTION DUCT CLEANING CO., INC
2333 LINCOLN AVE.
ALTADENA, CA 91001                                      1528    6/10/2019               Success Healthcare 1, LLC                                $7,923.00                                                                            $7,923.00
VIC the PICC Southwest, LLC d/b/a VIC the PICC, LLC
Attn: General Counsel
1351 E. Pine Street
Suite F
Lodi, CA 95240                                          1529    6/10/2019             Promise Healthcare Group, LLC                              $1,680.00                                                                            $1,680.00
WISE CONSULTING ASSOCIATES, INC.
C/O DENISE PARKER, DIRECTOR OF ACCOUNTING
54 SCOTT ADAM ROAD
SUITE 206
HUNT VALLEY, MD 21030                                   1530    6/13/2019                Promise Healthcare, Inc.                                 $481.25                                                                               $481.25
Martin Container Inc.
P.O. Box 185
Wilmington, CA 90748                                    1531    6/14/2019        Promise Hospital of East Los Angeles, L.P.                      $4,379.78                                                                            $4,379.78
Franchise Tax Board
Bankruptcy Section MS A340
PO Box 2952
Sacramento, CA 95812-2952                               1532    6/14/2019                Quantum Properties, L.P.                                 $433.33          $1,679.89                                                          $2,113.22
Franchise Tax Board
Bankruptcy Section MS A340
PO Box 2952
Sacramento, CA 95812-2952                               1533    6/14/2019               Success Healthcare 1, LLC                                $3,492.66        $12,949.03                                                         $16,441.69
Franchise Tax Board
Bankruptcy Section MS A340
PO Box 2952
Sacramento, CA 95812-2952                               1534    6/14/2019                Promise Healthcare, Inc.                                                   $830.90                                                             $830.90
YEE, BRIAN
10415 SANTA MARTA ST
CYPRESS, CA 90630                                       1535    6/13/2019             Promise Healthcare Group, LLC                                               $13,350.00                                                         $13,350.00
YEE, BRIAN
10415 SANTA MARTA ST
CYPRESS, CA 90630                                       1536    6/13/2019             Promise Healthcare Group, LLC                                                                                                   $13,350.00     $13,350.00
STRAUCH, GERALD O.
380 GREEN BAY ROAD, APARTMENT 1-C
WINNETKA, IL 60093                                      1537    6/13/2019             Promise Healthcare Group, LLC                            $201,000.00                                                                          $201,000.00
Franchise Tax Board
Bankruptcy Section MS A340
PO Box 2952
Sacramento, CA 95812-2952                               1538    6/14/2019                  Quantum Health, Inc.                                   $632.00           $830.90                                                           $1,462.90
Franchise Tax Board
Bankruptcy Section MS A340
PO Box 2952
Sacramento, CA 95812-2952                               1539    6/14/2019          Promise Healthcare of California, Inc.                          $14.67           $830.90                                                             $845.57


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                                                                                                                                 Amount                                                  Amount
Franchise Tax Board
Bankruptcy Section MS A340
PO Box 2952
Sacramento, CA 95812-2952                    1540    6/14/2019             Promise Healthcare Group, LLC                               $116.09           $851.47                                                            $967.56
Franchise Tax Board
Bankruptcy Section MS A340
PO Box 2952
Sacramento, CA 95812-2952                    1541    6/14/2019                      PH-ELA, Inc.                                                            $0.00                                                              $0.00
Franchise Tax Board
Bankruptcy Section MS A340
PO Box 2952
Sacramento, CA 95812-2952                    1542    6/14/2019                   HLP Properties, Inc.                                                    $830.90                                                            $830.90
Franchise Tax Board
Bankruptcy Section MS A340
PO Box 2952
Sacramento, CA 95812-2952                    1543    6/14/2019        Promise Hospital of East Los Angeles, L.P.                      $2,914.44         $1,679.89                                                          $4,594.33
Franchise Tax Board
Bankruptcy Section MS A340
PO Box 2952
Sacramento, CA 95812-2952                    1544    6/14/2019               Success Healthcare 2, LLC                                 $116.09           $851.47                                                            $967.56
Cross Country Staffing
c/o Jonathan Neil & Assoc. Inc.
P.O. Box 7000
Tarzana, CA 91357                            1545    6/11/2019             Promise Healthcare Group, LLC                             $33,342.12                                                                           $33,342.12
Franchise Tax Board
Bankruptcy Section MS A340
PO Box 2952
Sacramento, CA 95812-2952                    1546    6/14/2019                Success Healthcare, LLC                                  $596.78           $974.37                                                           $1,571.15
Franchise Tax Board
Bankruptcy Section MS A340
PO Box 2952
Sacramento, CA 95812-2952                    1547    6/14/2019           Promise Healthcare Holdings, Inc.                                               $168.37                                                            $168.37
DEL VILLAR STANFORD, SHARON
3240 WOODRUFF AVENUE
LONG BEACH, CA 90808                         1548    6/17/2019          Promise Healthcare of California, Inc.                            $0.00                                                                                $0.00
Del Villar Stanford, Sharon
9732 El Arco Drive
Whittier, CA 90603                           1549    6/17/2019          Promise Healthcare of California, Inc.                                                                                                  $0.00          $0.00
ALL FLOORING KANSAS CITY
130 KENSINGTON AVENUE
KANSAS CITY, MO 64123                        1550    6/17/2019         Promise Hospital of Overland Park, Inc.                         $660.00                                                                              $660.00
Foreman, Todd M.
10021 Counselman Road
Potomac, MD 20854                            1551    6/19/2019             Promise Healthcare Group, LLC                            $504,412.00                                                                          $504,412.00
NEUROLOGY MOBILE SYSTEMS ASSOCIATES
10661 SW 88TH ST #104
MIAMI, FL 33176                              1552    6/24/2019             Promise Healthcare Group, LLC                                                 $600.00                                                            $600.00
Neurology Mobile Systems Associates, Inc
10661 SW 88th St #104
Miami, FL 33176                              1553    6/24/2019             Promise Healthcare Group, LLC                                                                                                      $600.00       $600.00
ALIMED INC.
P.O. BOX 9135
DEDHAM, MA 02026-9135                        1554    6/28/2019             Promise Healthcare Group, LLC                              $1,524.44                                                                            $1,524.44




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                 Creditor Name and Address                        Claim No. Claim Date                        Debtor                                Unsecured Claim                                          Admin Priority
                                                                                                                                                                          Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                        Amount                                                  Amount
California Medical Response, Inc.
Law Offices of Marks & Acalin LLP
Attn: R.A. Marks
4221 Wilshire Boulevard, Suite 330
Los Angeles, CA 90010                                               1555     7/1/2019             Promise Healthcare Group, LLC                             $62,844.37                                                                           $62,844.37
Claim docketed in error
                                                                    1556     7/1/2019             Promise Healthcare Group, LLC                                                                                                                       $0.00
TouchPoint Medical
Commercial Collection Corp of NY
34 Seymour St
Tonawanda, NY 14150                                                 1557     7/1/2019             Promise Healthcare Group, LLC                             $14,951.96                                                                           $14,951.96

Ameripath Florida, LLC d/b/a/ Ameripath Southwest Florida
Revenue Services
14275 Midway Rd #300
Addison, TX 75001                                                   1558     7/8/2019              Promise Hospital of Lee, Inc.                             $1,500.00                                                                            $1,500.00
Carefusion 211, Inc
26125 N Riverwoods
Mettawa, IL 60045                                                   1559    7/10/2019          Promise Hospital of Wichita Falls, Inc.                                                                                            $10,030.18     $10,030.18
Carefusion 211, Inc
26125 N Riverwoods
Mettawa, IL 60045                                                   1560    7/10/2019            Promise Hospital of Phoenix, Inc.                                                                                                $19,536.57     $19,536.57
Carefusion 211, Inc
26125 N Riverwoods
Mettawa, IL 60045                                                   1561    7/10/2019         Promise Hospital of Overland Park, Inc.                                                                                             $72,990.88     $72,990.88
Carefusion 211, Inc
26125 N Riverwoods
Mettawa, IL 60045                                                   1562    7/10/2019           Promise Hospital of Salt Lake, Inc.                                                                                               $24,978.08     $24,978.08
Carefusion 211, Inc
26125 N Riverwoods
Mettawa, IL 60045                                                   1563    7/10/2019        Promise Hospital of East Los Angeles, L.P.                                                                                           $66,283.20     $66,283.20
Carefusion 211, Inc
26125 N Riverwoods
Mettawa, IL 60045                                                   1564    7/11/2019             Promise Healthcare Group, LLC                                                                                                   $27,744.49     $27,744.49
U.S. Department of Health and Human Services, Centers for
Medicare & Medicaid Services
Eric Wolfish, HHS Ass't Regional Counsel
801 Market Street, Suite 9700
Philadelphia, PA 19107                                              1565    7/11/2019         Promise Hospital of Baton Rouge, Inc.                        $108,707.55                                                                          $108,707.55
Carefusion 211, Inc
26125 N Riverwoods
Mettawa, IL 60045                                                   1566    7/12/2019             Promise Healthcare Group, LLC                                                                                                   $27,744.49     $27,744.49
U.S. Department of Health and Human Services, Centers for
Medicare & Medicaid Services
Eric Wolfish, HHS Ass't Regional Counsel
801 Market Street, Suite 9700
Philadelphia, PA 19107                                              1567    7/11/2019                  Quantum Health, Inc.                              $1,481,467.36                                                                         $1,481,467.36
Bio Medical Application of Florida, Inc. d/b/a Naples Inpatient
Services
c/o Fresenius Medical Care North America
Attn: Russell P. Plato, Assistant General Counsel
920 Winter Street
Waltham, MA 02451-1457                                              1568    7/12/2019             Promise Properties of Lee, Inc.                                                                                                  $3,849.21      $3,849.21




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                                                                                                                                                                        Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                         Amount                                               Amount

Bio-Medical Applications of Florida, Inc. d/b/a BMA Gainesville
C/o Fresenius Medical Care North America
Attn: Russell P. Plato, Assistant General Counsel
920 Winter Street
Waltham, MA 02451-1457                                              1569    7/12/2019      Promise Hospital of Florida at The Villages, Inc.                                                                                     $1,102.10      $1,102.10
Brooks, James
1541 NW 48th Pl
Boca Raton, FL 33431                                                1570    7/14/2019                 Promise Healthcare, Inc.                                              $20,395.00                                                         $20,395.00
Oracle America, Inc
Doshi Legal Group, P.C.
c/o Amish R. Doshi, Esq
1979 Marcus Ave., Suite 210E
Lake Success, NY 11042                                              1571    7/14/2019                 Promise Healthcare, Inc.                                                                                                 $162,327.09    $162,327.09
Oracle America, Inc
Doshi Legal Group, P.C.
c/o Amish R. Doshi, Esq
1979 Marcus Ave., Suite 210E
Lake Success, NY 11042                                              1572    7/14/2019            Promise Healthcare Holdings, Inc.                                                                                             $162,327.09    $162,327.09
Oracle America, Inc
Doshi Legal Group, P.C.
c/o Amish R. Doshi, Esq
1979 Marcus Ave., Suite 210E
Lake Success, NY 11042                                              1573    7/14/2019              Promise Healthcare Group, LLC                                                                                               $162,327.09    $162,327.09
Medline Industries, Inc.
c/o Arent Fox LLP
Attn: Robert M. Hirsh
1301 Avenue of the Americas, Floor 42
New York, NY 10019                                                  1574    7/15/2019          Promise Properties of Shreveport, LLC                                                                                           $167,727.08    $167,727.08
Medline Industries, Inc.
c/o Arent Fox LLP
Attn: Robert M. Hirsh
1301 Avenue of the Americas
Floor 42
New York, NY 10019                                                  1575    7/15/2019              Bossier Land Acquisition Corp.                                                                                              $167,727.08    $167,727.08
Medline Industries, Inc.
c/o Arent Fox LLP
Attn: Robert M. Hirsh
1301 Avenue of the Americas, Floor 42
New York, NY 10019                                                  1576    7/15/2019              Promise Healthcare Group, LLC                                                                                               $167,727.08    $167,727.08
Dallas County Hospital District d/b/a Parkland Health &
Hospital System
Attn: Steven J. Roth, Exec. VP & Gen. Counsel
Legal Affairs Dept.
5200 Harry Hines Blvd.
Dallas, TX 75235                                                    1577    7/12/2019              Promise Hospital of Dallas, Inc.                                                                                            $296,048.46    $296,048.46
3M Company/3M Health Information Systems
Dentons US LLP
c/o Alison Elko Franklin
303 Peachtree St., NE
Suite 5300
Atlanta, GA 30308                                                   1578    7/15/2019                  Success Healthcare, LLC                                                                                                  $54,712.92     $54,712.92




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                                                                                                                                                       Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                      Amount                                                 Amount
Medline Industries, Inc.
c/o Arent Fox LLP
Attn: Robert M. Hirsh
1301 Avenue of the Americas
Floor 42
New York, NY 10019                                1579    7/15/2019           Promise Hospital of Louisiana, Inc.                                                                                             $167,727.08    $167,727.08
Cerner Corporation
c/o Stinson LLP
Attn: Tracey M. Ohm
1775 Pennsylvania Ave. NW, Suite 800
Washington, DC 20006                              1580    7/12/2019             Promise Healthcare Group, LLC                                                                                                   $1,276.57      $1,276.57
Accident Insurance Company of America
Geoffrey T. Pavlic
200 N. Grand Avenue
P.O. Box 40785
Lansing, MI 48901-7985                            1581    7/15/2019                Success Healthcare, LLC                                                                                                    $839,894.68    $839,894.68
Accident Fund Insurance Company of America
c/c Geoffrey T. Pavlic
200 N. Grand Avenue
P.O. Box 40785
Lansing, MI 48901-7985                            1582    7/15/2019                Promise Healthcare, Inc.                                                                                                   $839,894.68    $839,894.68
Utah Dept of Health, Health Care Financing
Bureau of Financial Services
PO Box 143104
 84114-3104                                       1583    7/15/2019           Promise Hospital of Salt Lake, Inc.                                         $121,813.89                                                        $121,813.89
Nuance Communications, Inc.
Vorys, Sater, Seymour and Pease LLP
c/o Tiffany Strelow Cobb
52 East Gay Street
Columbus, OH 43215                                1584    7/15/2019                Promise Healthcare, Inc.                                                                                                    $11,231.53     $11,231.53
Louisiana Department of Health
Kimberly Humbles, General Counsel
PO Box 3836
Baton Rouge, LA 70821                             1585    7/15/2019           Promise Hospital of Ascension, Inc.                                                                                              $91,604.00     $91,604.00
Louisiana Department of Health
Kimberly Humbles, General Counsel
PO Box 3836
Baton Rouge, LA 70821                             1586    7/15/2019         Promise Hospital of Baton Rouge, Inc.                                                                                              $30,306.00     $30,306.00
Louisiana Department of Health
Attn: Kimberly Humbles, General Counsel
PO Box 3836
Baton Rouge, LA 70821                             1587    7/15/2019           Promise Hospital of Louisiana, Inc.                                                                                             $268,028.00    $268,028.00
Garratt-Callahan Co.
50 Ingold Road
Burlingame, CA 94010                              1588    7/15/2019             Promise Healthcare Group, LLC                             $1,443.84                                                                            $1,443.84
California Department of Health Care Services
Deputy Attorney General Kenneth K. Wang
300 S. Spring Street, No. 1702
Los Angeles, CA 90013                             1589    7/15/2019        Promise Hospital of East Los Angeles, L.P.                     $5,630.03                                                                            $5,630.03
California Department of Health Care Services
Deputy Attorney General Kenneth K. Wang
300 S. Spring Street, No. 1702
Los Angeles, CA 90013                             1590    7/15/2019             Promise Healthcare Group, LLC                             $5,555.83                                                                            $5,555.83




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                                                                                                                                                                        Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                       Amount                                                 Amount
Zurich American Insurance Company and Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                             1591    7/15/2019                   Promise Healthcare #2, LLC                                                                                                         $0.00         $0.00
JRM Environmental, Inc.
7755 E. Gelding Drive, Suite C104
Scottsdale, AZ 85260                                          1592    7/15/2019                 Promise Healthcare Group, LLC                                $450.00                                                                             $450.00
Zurich American Insurance Company and Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                             1593    7/15/2019              Promise Hospital of Wichita Falls, Inc.                                                                                                 $0.00         $0.00
Zurich American Insurance Company Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M Anderon
200 W Madison Street, Suite 3000
Chicago , IL 60606                                            1594    7/15/2019    PHG Technology Development and Services Company, Inc.                                                                                             $0.00         $0.00
Zurich American Insurance Company Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street., Suite 3000
Chicago, IL 60606                                             1595    7/15/2019             Promise Hospital of Overland Park, Inc.                                                                                                  $0.00         $0.00
Claim docketed in error
                                                              1596    7/15/2019                 Promise Healthcare Group, LLC                                                                                                                      $0.00
Zurich American Insurance Company and Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                             1597    7/15/2019                       HLP Properties, Inc.                                                                                                           $0.00         $0.00
Zurich American Insurance Company and Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                             1598    7/15/2019                Promise Hospital of Phoenix, Inc.                                                                                                     $0.00         $0.00
Zurich American Insurance Company Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                             1599    7/15/2019      Promise Skilled Nursing Facility of Overland Park, Inc.                                                                                         $0.00         $0.00
Zurich American Insurance Company and Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                             1600    7/15/2019              Promise Healthcare of California, Inc.                                                                                                  $0.00         $0.00




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                Creditor Name and Address                   Claim No. Claim Date                           Debtor                                Unsecured Claim                                       Admin Priority
                                                                                                                                                                    Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                     Amount                                               Amount
Zurich American Insurance Company Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street., Suite 3000
Chicago, IL 60606                                             1601    7/15/2019                   Promise Healthcare, Inc.                                                                                                       $0.00         $0.00
Zurich American Insurance Company and Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                             1602    7/15/2019                   Quantum Properties, L.P.                                                                                                       $0.00         $0.00
Zurich American Insurance Company and Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                             1603    7/15/2019     Promise Skilled Nursing Facility of Wichita Falls, Inc.                                                                                      $0.00         $0.00
Zurich American Insurance Company Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street., Suite 3000
Chicago, IL 60606                                             1604    7/15/2019             Promise Hospital of Ascension, Inc.                                                                                                  $0.00         $0.00
Zurich American Insurance Company, Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison, Suite 3000
Chicago, IL 60606                                             1605    7/15/2019       Promise Hospital of Florida at The Villages, Inc.                                                                                          $0.00         $0.00
Zurich American Insurance Company Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M Anderon
200 W Madison Street, Suite 3000
Chicago, IL 60606                                             1606    7/15/2019      Promise Rejuvenation Center at the Villages, Inc.                                                                                           $0.00         $0.00
Zurich American Insurance Company and Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                             1607    7/15/2019                     Quantum Health, Inc.                                                                                                         $0.00         $0.00
Zurich American Insurance Company Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                             1608    7/15/2019             Promise Rejuvenation Centers, Inc.                                                                                                   $0.00         $0.00
Zurich American Insurance Company and Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                             1609    7/15/2019                     HLP HealthCare, Inc.                                                                                                         $0.00         $0.00




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                Creditor Name and Address                   Claim No. Claim Date                          Debtor                                 Unsecured Claim                                       Admin Priority
                                                                                                                                                                    Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                     Amount                                               Amount
Zurich American Insurance Company and Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                             1610    7/15/2019            Promise Properties of Shreveport, LLC                                                                                                 $0.00         $0.00
Zurich American Insurance Company Steafast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                             1611    7/15/2019            HLP Properties at the Villages, L.L.C.                                                                                                $0.00         $0.00
Zurich American Insurance Company and Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                             1612    7/15/2019               Promise Hospital of Dallas, Inc.                                                                                                   $0.00         $0.00
Zurich American Insurance Company and Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                             1613    7/15/2019                   HLP of Los Angeles, LLC                                                                                                        $0.00         $0.00
Zurich American Insurance Company Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                             1614    7/15/2019         HLP Properties at the Villages Holdings, LLC                                                                                       Unliquidated        $0.00
Zurich American Insurance Company Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                             1615    7/15/2019               Vidalia Real Estate Partners, LLC                                                                                                  $0.00         $0.00
Zurich American Insurance Company Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M Anderon
200 W Madison Street, Suite 3000
Chicago, IL 60606                                             1616    7/15/2019                     LH Acquisition, LLC                                                                                                          $0.00         $0.00
Zurich American Insurance Company and Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                             1617    7/15/2019          Promise Hospital of East Los Angeles, L.P.                                                                                              $0.00         $0.00
Zurich American Insurance Company Steadfast Insurance
Company
Margaret M Anderson
Fox Swibel Levin & Carroll LLP
200 W Madison Street, Suite 3000
Chicago, IL 60606                                             1618    7/15/2019    Promise Behavioral Health Hospital of Shreveport, Inc.                                                                                        $0.00         $0.00




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                Creditor Name and Address                   Claim No. Claim Date                       Debtor                                 Unsecured Claim                                       Admin Priority
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                                                                                                                                                  Amount                                               Amount
Zurich American Insurance Company and Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                             1619    7/15/2019                Success Healthcare, LLC                                                                                                        $0.00         $0.00
Zurich American Insurance Company Steadfast Insurance
Company
Margaret M Anderson
Fox Swibel Levin & Carroll LLP
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                             1620    7/15/2019             HLP Properties of Vidalia, LLC                                                                                                    $0.00         $0.00
Zurich American Insurance Company Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M Anderon
200 W Madison Street, Suite 3000
Chicago, IL 60606                                             1621    7/15/2019                      PH-ELA, Inc.                                                                                                             $0.00         $0.00
Zurich American Insurance Company Steadfast Insurance
Company
Margaret M. Anderson
Fox Swibel Levin & Carroll LLP
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                             1622    7/15/2019               Success Healthcare 1, LLC                                                                                                       $0.00         $0.00
Zurich American Insurance Company Steadfast Insurance
Company
Margaret M. Anderson
Fox Swibel Levin & Carroll LLP
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                             1623    7/15/2019           Promise Properties of Dade, Inc.                                                                                                    $0.00         $0.00
Zurich American Insurance Company Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                             1624    7/15/2019           Promise Hospital of Louisiana, Inc.                                                                                                 $0.00         $0.00
Zurich American Insurance Company Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                             1625    7/15/2019            Promise Properties of Lee, Inc.                                                                                                    $0.00         $0.00
Zurich American Insurance Company Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                             1626    7/15/2019              Promise Hospital of Lee, Inc.                                                                                                    $0.00         $0.00
Zurich American Insurance Company Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                             1627    7/15/2019         Promise Hospital of Baton Rouge, Inc.                                                                                                 $0.00         $0.00
Claim docketed in error
                                                              1628    7/15/2019            Promise Healthcare Group, LLC                                                                                                                    $0.00


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                Creditor Name and Address               Claim No. Claim Date                        Debtor                                Unsecured Claim                                          Admin Priority
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                                                                                                                                              Amount                                                  Amount
Zurich American Insurance Company Steadfast Insurance
Company
Margaret M. Anderson
Fox Swibel Levin & Carroll LLP
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                         1629    7/15/2019                 HLP of Shreveport, Inc.                                                                                                          $0.00          $0.00
Zurich American Insurance Company Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M Anderon
200 W Madison Street, Suite 3000
Chicago, IL 60606                                         1630    7/15/2019             Bossier Land Acquisition Corp.                                                                                                       $0.00          $0.00

Zurich Insurance Company Steadfast Insurance Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                         1631    7/15/2019             Promise Hospital of Dade, Inc.                                                                                                       $0.00          $0.00

Zurich Insurance Company Steadfast Insurance Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                         1632    7/15/2019           Promise Hospital of Salt Lake, Inc.                                                                                                    $0.00          $0.00
Zurich American Insurance Company Steadfast Insurance
Company
Margaret M. Anderson
Fox Swibel Levin & Carroll LLP
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                         1633    7/15/2019           Promise Hospital of Vicksburg, Inc.                                                                                                    $0.00          $0.00
Daikin Applied Americas Inc.
c/o Wagner, Falconer & Judd, Ltd.
100 South 5th Street
Suite 800
Minneapolis, MN 55402                                     1634    7/23/2019         Promise Hospital of Baton Rouge, Inc.                          $1,755.42                                                                            $1,755.42
Arjo Inc.
2349 W. Lake Street
Suite 250
Addison, IL 60101                                         1635    7/26/2019        Promise Hospital of East Los Angeles, L.P.                     $77,297.87                                                                           $77,297.87
Sterling, Suzanne K.
20 Fairway Island
Grasonville, MD 21638                                     1636    7/24/2019                Promise Healthcare, Inc.                              $300,155.42        $11,481.09                                                        $311,636.51
Sterling, Suzanne K.
20 Fairway Island
Grasonville, MD 21638                                     1637    7/24/2019                Promise Healthcare, Inc.                                                                                                     $34,604.65     $34,604.65
CITY OF LOS ANGELES, OFFICE OF FINANCE
LOS ANGELES CITY ATTORNEY'S OFFICE
200 N. MAIN STREET, STE. 920
LOS ANGELES, CA 90012                                     1638    7/25/2019               Success Healthcare 1, LLC                                                 $25,522.50                                                         $25,522.50
Parish of East Baton Rouge
P.O. Box 2590
Baton Rouge, LA 70821                                     1639    7/29/2019         Promise Hospital of Baton Rouge, Inc.                                             $916.00                                                            $916.00
ESP Personnel
72-877 Dinah Shore Dr.
Suite 103 #232
Rancho Mirage, CA 92270                                   1640     8/1/2019             Promise Healthcare Group, LLC                               $960.00                                                                              $960.00


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               Creditor Name and Address   Claim No. Claim Date                         Debtor                                Unsecured Claim                                          Admin Priority
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                                                                                                                                  Amount                                                  Amount
ReadyLink
PO Box 1047
Thousand Palms, CA 92276                     1641     8/1/2019              Promise Healthcare Group, LLC                                                                                                        $0.00          $0.00
ReadyLink
PO Box 1047
Thousand Palms, CA 92276                     1642     8/1/2019              Promise Healthcare Group, LLC                                  $0.00                                                                                $0.00
ForTec Medical, Inc.
6245 Hudson Crossing Parkway
Hudson, OH 44236                             1643    8/15/2019      Promise Hospital of Florida at The Villages, Inc.                      $0.00                                                                                $0.00
Fortec Medical Inc
6245 Hudson Crossing Parkway
Hudson, OH 44236                             1644    8/15/2019              Promise Healthcare Group, LLC                                  $0.00                                                                                $0.00
Soutland Management Group, Inc. ("SMG")
c/o Ascher & Associates, P.C.
11022 Acacia Parkway, Suite D
Garden Grove, CA 92840                       1645    8/15/2019        Promise Hospital of East Los Angeles, L.P.                     $349,854.89                                            $93,923.08                    $443,777.97
Southland Management Group, Inc. ("SMG")
c/o Ascher & Associates, P.C.
11022 Acacia Parkway, Suite D
Garden Grove, CA 92840                       1646    8/15/2019        Promise Hospital of East Los Angeles, L.P.                     $349,854.89                                            $93,923.08                    $443,777.97
HEALTHCARE PROS, INC.
10833 VALLEY VIEW
SUITE 525
CYPRESS, CA 90630                            1647    8/19/2019        Promise Hospital of East Los Angeles, L.P.                      $35,042.26                                                                           $35,042.26
READYLINK INC
ATTN: LEGAL DEPARTMENT
PO BOX 1047
THOUSAND PALMS, CA 92276                     1648    8/27/2019          Promise Hospital of Wichita Falls, Inc.                       $31,865.83                                                                           $31,865.83
Charlie Pepper dba Salt Works
PO Box 22273
Mesa, AZ 85277                               1649    9/27/2019             Promise Hospital of Phoenix, Inc.                             $92.38                                                                               $92.38
CUBE CARE COMPANY
6043 NW 167TH STREET
SUITE A-23
MIAMI LAKES, FL 33015                        1650    9/24/2019             Promise Properties of Dade, Inc.                            $1,850.00                                                                            $1,850.00
Becton, Dickinson and Company
McCarter & English, LLP
Attn: Lisa S. Bonsall, Esq.
100 Mulberry Street
Four Gateway Center
Newark, NJ 07102                             1651    10/10/2019       Professional Rehabilitation Hospital, L.L.C.                    $58,497.84                                                                           $58,497.84
Becton, Dickinson and Company
McCarter & English, LLP
Attn: Lisa S. Bonsall, Esq.
100 Mulberry Street
Four Gateway Center
Newark, NJ 07102                             1652    10/10/2019           Promise Hospital of Louisiana, Inc.                         $66,709.39                                                                           $66,709.39
Becton, Dickinson and Company
McCarter & English, LLP
Attn: Lisa S. Bonsall, Esq.
100 Mulberry Street
Four Gateway Center
Newark, NJ 07102                             1653    10/10/2019              Promise Hospital of Lee, Inc.                            $24,828.00                                                                           $24,828.00




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                 Creditor Name and Address                Claim No. Claim Date                         Debtor                                Unsecured Claim                                          Admin Priority
                                                                                                                                                                   Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                 Amount                                                  Amount
Becton, Dickinson and Company
McCarter & English, LLP
Attn: Lisa S. Bonsall, Esq.
100 Mulberry Street
Four Gateway Center
Newark, NJ 07102                                            1654    10/10/2019            Promise Hospital of Phoenix, Inc.                          $52,746.43                                                                           $52,746.43
Becton, Dickinson and Company
McCarter & English, LLP
Attn: Lisa S. Bonsall, Esq.
100 Mulberry Street
Four Gateway Center
Newark, NJ 07102                                            1655    10/10/2019                Success Healthcare 1, LLC                              $45,068.48                                                                           $45,068.48
Becton, Dickinson and Company
McCarter & English, LLP
Attn: Lisa S. Bonsall, Esq.
100 Mulberry Street
Four Gateway Center
Newark, NJ 07102                                            1656    10/10/2019           Promise Hospital of Vicksburg, Inc.                         $20,297.90                                                                           $20,297.90
Becton, Dickinson and Company
McCarter & English, LLP
Attn: Lisa S. Bonsall, Esq.
100 Mulberry Street
Four Gateway Center
Newark, NJ 07102                                            1657    10/10/2019           St. Alexius Hospital Corporation #1                         $58,185.02                                                                           $58,185.02
Becton, Dickinson and Company
McCarter & English, LLP
Attn: Lisa S. Bonsall, Esq.
100 Mulberry Street
Four Gateway Center
Newark, NJ 07102                                            1658    10/10/2019           Promise Hospital of Salt Lake, Inc.                         $60,907.85                                                                           $60,907.85
Becton, Dickinson and Company
McCarter & English, LLP
Attn: Lisa S. Bonsall, Esq.
100 Mulberry Street
Four Gateway Center
Newark, NJ 07102                                            1659    10/10/2019       Promise Hospital of East Los Angeles, L.P.                      $88,941.35                                                                           $88,941.35
Becton, Dickinson and Company
McCarter & English, LLP
Attn: Lisa S. Bonsall, Esq.
100 Mulberry Street
Four Gateway Center
Newark, NJ 07102                                            1660    10/10/2019           Promise Hospital of Ascension, Inc.                         $30,630.00                                                                           $30,630.00
Becton, Dickinson and Company
McCarter & English, LLP
Attn: Lisa S. Bonsall, Esq.
100 Mulberry Street
Four Gateway Center
Newark, NJ 07102                                            1661    10/10/2019     Promise Hospital of Florida at The Villages, Inc.                 $22,164.10                                                                           $22,164.10
Abbott Diagnostics Division of Abbott Laboratories Inc.
Kohner, Mann & Kailas, S.C.
4650 North Port Washington Road
Milwaukee, WI 53212                                         1662    10/10/2019       Promise Hospital of East Los Angeles, L.P.                     $125,873.72                                             $2,051.00      $13,470.00    $141,394.72
ENCORE FIRE EXTINGUISHER SERVICE INC.
PO BOX 861508
LOS ANGELES, CA 90086                                       1663    10/28/2019           Promise Hospital of Salt Lake, Inc.                           $133.31                                                                              $133.31




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                                                                                                                                                                   Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                 Amount                                                  Amount
AKF3 Yamato, LLC
Beth M. Brownstein, Esq
Arent Fox LLP
1301 Avenue of the Americas, Floor 42
New York, NY 10019                                           1664    11/1/2019                Promise Healthcare, Inc.                            $1,038,008.09                              $0.00                         $24,496.80   $1,062,504.89
Alphatec Spine, Inc.
c/o Commercial Collection Consultants
Attn: Thomas R. Atkins
16830 Ventura Blvd., Suite 620
Encino, CA 91436                                             1665    11/25/2019              Success Healthcare 1, LLC                               $58,562.08                                                                           $58,562.08

Marian Wethey through her attorney, J. Neale deGravelles
618 Main Street
Baton Rouge, LA 70801                                        1666    12/17/2019          Promise Hospital of Ascension, Inc.                                                         $2,000,000.00                                      $2,000,000.00
Abbott Diagnostics Division of Abbott Laboratories Inc.
Kohner, Mann & Kailas, S.C.
4650 North Port Washington Road
Milwaukee, WI 53212                                          1667     1/3/2020        Promise Hospital of East Los Angeles, L.P.                    $127,924.72                                             $2,051.00                    $129,975.72
AAA Safety Inc
Attn: Michelle Pons
PO Box 3296
Shreveport, LA 71133                                         1668     1/9/2020             Promise Healthcare Group, LLC                                                                                                      $441.29        $441.29
RJ KOOL
234 W 12TH AVENUE
NORTH KANSAS, MO 64116                                       1669     1/9/2020             Promise Healthcare Group, LLC                                                                                                      $204.94        $204.94
Advanced Quality Transport Service, Inc.
P.O. Box 4211
N. Fort Myers, FL 33918                                      1670     1/9/2020             Promise Healthcare Group, LLC                                                                                                    $1,146.39      $1,146.39
Claim docketed in error
                                                             1671    1/13/2020             Promise Healthcare Group, LLC                                                                                                                       $0.00
Hayden, Lauren
102 West Main Street
Calhoun, MO 65323                                            1672    1/13/2020             Promise Healthcare Group, LLC                             $10,000.00                                                                           $10,000.00
Louisiana Department of Revenue
P.O. Box 66658
Baton Rouge, LA 70896-6658                                   1673    1/14/2020           Promise Hospital of Ascension, Inc.                                           $10,641.47                                                         $10,641.47
Louisiana Department of Revenue
P.O. Box 66658
Baton Rouge, LA 70896-6658                                   1674    1/14/2020         Promise Hospital of Baton Rouge, Inc.                                           $31,678.85                                                         $31,678.85
Louisiana Department of Revenue
P.O. Box 66658
Baton Rouge, LA 70896-6658                                   1675    1/14/2020                 HLP of Shreveport, Inc.                                                   $314.86                                                             $314.86
Louisiana Department of Revenue
P.O. Box 66658
Baton Rouge, LA 70896-6658                                   1676    1/14/2020             Promise Healthcare Group, LLC                                                $1,408.62                                                          $1,408.62
Palm Beach County Tax Collector
Attn: Legal Services Department
P.O. Box 3715
West Palm Beach, FL 33402-3715                               1677    1/13/2020                Promise Healthcare, Inc.                                                                                                     $24,962.75     $24,962.75
Quatrex Corporation
1185 Blanton Rd
Sharon, SC 29742                                             1678    1/15/2020             Promise Healthcare Group, LLC                                                                                                    $1,251.06      $1,251.06
Claim docketed in error
                                                             1679    1/17/2020             Promise Healthcare Group, LLC                                                                                                                       $0.00




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                                                                                                                                                                       Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                      Amount                                                 Amount
KPC Promise Healthcare, LLC
Mary H. Rose, Esq.
Buchalter
1000 Wilshire Blvd. #1500
Los Angeles, CA 90017                                             1680    1/17/2020             Bossier Land Acquisition Corp.                                                                                              $1,000,000.00   $1,000,000.00
KPC Promise Healthcare, LLC
Buchalter
Mary H. Rose, Esq.
1000 Wilshire Blvd. #1500
Los Angeles, CA 90017                                             1681    1/17/2020           Promise Hospital of Louisiana, Inc.                                                                                           $1,000,000.00   $1,000,000.00
KPC Promise Healthcare, LLC
Buchalter
Mary H. Rose, Esq.
1000 Wilshire Blvd. #1500
Los Angeles, CA 90017                                             1682    1/17/2020                Promise Healthcare, Inc.                                                                                                 $1,000,000.00   $1,000,000.00
KPC Promise Healthcare, LLC
Buchalter
Mary H. Rose, Esq.
1000 Wilshire Blvd. #1500
Los Angeles, CA 90017                                             1683    1/17/2020         Promise Properties of Shreveport, LLC                                                                                           $1,000,000.00   $1,000,000.00
AirSpec, Inc.
1310 North Shore Drive
Leesburg, FL 34748                                                1684    1/17/2020             Promise Healthcare Group, LLC                                                                                                   $1,150.00      $1,150.00
YORK, ELINCOLN
6310 REED ROAD
HOUSTON, TX 77087                                                 1685    1/21/2020             Promise Hospital of Dallas, Inc.                                                                                                $3,029.07      $3,029.07
YORK, ELINCOLN
6310 REED ROAD
HOUSTON, TX 77087                                                 1686    1/21/2020             Promise Hospital of Dallas, Inc.                          $3,029.07                                                                            $3,029.07
Gordon, William D.
PO Box 1134
McGill, NV 89318                                                  1687    1/21/2020             Promise Healthcare Group, LLC                                                                                                   $2,080.00      $2,080.00
Cardinal Health 200, LLC
Attn: Erin Gapinski, Sr. Counsel
7000 Cardinal Place
Dublin, OH 43017                                                  1688    1/22/2020                Promise Healthcare, Inc.                                                                                                     $2,436.20      $2,436.20
Medrx Infusion Clinical Pharmacy, LLC
417 N Oak St.
Inglewood, CA 90302                                               1689    1/21/2020        Promise Hospital of East Los Angeles, L.P.                                                                                          $20,656.05     $20,656.05
Medical Optics, LLC
6619 W. Calumet Rd
Milwaukee, WI 53223                                               1690    1/22/2020             Promise Healthcare Group, LLC                                                                                                  $23,190.19     $23,190.19
Change Healthcare Technologies, LLC
Jody Saeteune
5995 Windward Parkway, MSTP 4901
Alpharetta, GA 30005                                              1691    1/27/2020             Promise Healthcare Group, LLC                                                                                                  $99,170.78     $99,170.78

Kindred Healthcare Operating, LLC and KND Real Estate 40, LLC
Attn: Jeffrey P. Stodghill, Vice President
680 South Fourth Street
Louisville, KY 40202                                              1692    1/28/2020                Promise Healthcare, Inc.                                                                                                         $0.00          $0.00
The Ultimate Software Group, Inc.
Akerman, LLP
c/o D. Brett Marks, Esq.
350 East Las Olas Blvd., Suite 1600
Fort Lauderdale, FL 33301                                         1693    1/28/2020               Success Healthcare 1, LLC                                                                                                    $13,796.00     $13,796.00


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                                                                                                                                                  Current General                                      Current 503(b)(9)
                                                                                                                                                                    Current Priority Current Secured                      Current Admin Total Current
                Creditor Name and Address                       Claim No. Claim Date                        Debtor                                Unsecured Claim                                       Admin Priority
                                                                                                                                                                     Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                      Amount                                               Amount
Banks, Carmalita
P.O. Box 125
La Harpe, KS 66751                                                1694    1/28/2020             Promise Healthcare Group, LLC                                                                                                     $0.00          $0.00
Watson, Anthony
4600 Broadway, Apt. 209
St. Louis, MO 63111                                               1695    1/28/2020             Promise Healthcare Group, LLC                                                                                                     $0.00          $0.00
KARDELL PLUMBING INC.
5624 S. COMPTON AVE
ST. LOUIS, MO 63111                                               1696    1/28/2020             Promise Healthcare Group, LLC                                                                                                   $114.15       $114.15

Kindred Healthcare Operating, LLC and KND Real Estate 40, LLC
Attn: Jeffrey P. Stodghill, Vice President
680 South Fourth Street
Louisville, KY 40202                                              1697    1/28/2020        Promise Hospital of East Los Angeles, L.P.                                                                                             $0.00          $0.00
Hinkle, Marlena L.
9809 Luna Ave
St. Louis, MO 63125                                               1698    1/17/2020             Promise Healthcare Group, LLC                                                                                                     $0.00          $0.00
The Ultimate Software Group, Inc.
c/o D. Brett Marks, Esq.
350 East Las Olas Blvd., Suite 1600
Fort Lauderdale, FL 33301                                         1699    1/28/2020                Success Healthcare, LLC                                                                                                   $13,796.00     $13,796.00
Brink's Incorporated
Lyndel Anne Vargas/CHP
900 Jackson St, Ste 570
Dallas, TX 75202                                                  1700    1/30/2020        Promise Hospital of East Los Angeles, L.P.                                                                                         $3,218.21      $3,218.21
Brink's Incorporated
Lyndel Anne Vargas/ CHP
900 Jackson St., Suite 570
Dallas, TX 75202                                                  1701    1/30/2020        Promise Hospital of East Los Angeles, L.P.                                                                                         $3,218.21      $3,218.21
Utah Dept. of Health, Health Care Financing
PO Box 143104
Salt Lake City, UT 84114-3104                                     1702    1/31/2020           Promise Hospital of Salt Lake, Inc.                                                                                            $30,608.34     $30,608.34
Nuance Communications, Inc.
Vorys, Sater, Seymour and Pease LLP
c/o Tiffany Strelow Cobb, Esq.
52 East Gay Street
Columbus, OH 43215                                                1703    1/31/2020                Promise Healthcare, Inc.                                                                                                     $813.92       $813.92
CenturyLink Communications, LLC
Attn: Legal - BKY
1025 Eldorado Blvd.
Broomfield, CO 80021                                              1704    1/31/2020             Promise Healthcare Group, LLC                                                                                                 $2,515.00      $2,515.00
Louisiana Department of Health
Kimberly Humbles, General Counsel
P.O. Box 3836
Baton Rouge, LA 70821-3836                                        1705    1/31/2020           Promise Hospital of Louisiana, Inc.                                                                                           $437,700.00    $437,700.00
Dallas County Hospital District d/b/a Parkland Health &
Hospital System
Attn: Steven J. Roth, Exec. VP & Gen. Counsel
Legal Affairs Dept.
5200 Harry Hines Blvd.
Dallas, TX 75235                                                  1706    1/30/2020             Promise Hospital of Dallas, Inc.                                                                                            $587,140.64    $587,140.64
Louisiana Department of Health
Kimberly Humbles, General Counsel
P.O. Box 3836
Baton Rouge, LA 70821-3836                                        1707    1/31/2020           Promise Hospital of Ascension, Inc.                                                                                           $149,587.00    $149,587.00




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                                                                                                                                                     Current Priority Current Secured                      Current Admin Total Current
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                                                                                                                                                      Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                    Amount                                                  Amount
Louisiana Department of Health
Attn: Kimberly Humbles, General Counsel
PO Box 3836
Baton Rouge, LA 70821                           1708    1/31/2020           Promise Hospital of Louisiana, Inc.                                                                                              $437,700.00    $437,700.00
Louisiana Department of Health
Kimberly Humbles, General Counsel
P.O. Box 3836
Baton Rouge, LA 70821-3836                      1709    1/31/2020         Promise Hospital of Baton Rouge, Inc.                                                                                               $30,338.00     $30,338.00
SAN DIEGO COUNTY TREASURER - TAX COLLECTOR
ATTN: BANKRUPTCY DESK
1600 PACIFIC HIGHWAY ROOM 162
SAN DIEGO, CA 92101                             1710    1/31/2020            Promise Healthcare Group, LLC                                                                                                         $6.56          $6.56
Louisiana Department of Health
Kimberly Humbles, General Counsel
P.O. Box 3836
Baton Rouge, LA 70821-3836                      1711    1/31/2020         Promise Hospital of Baton Rouge, Inc.                                                                                               $30,338.00     $30,338.00
Louisiana Department of Health
Kimberly Humbles, General Counsel
P.O. Box 3836
Baton Rouge, LA 70821-3836                      1712    1/31/2020          Promise Hospital of Ascension, Inc.                                                                                               $149,587.00    $149,587.00
Evans, Savannah
3214 21st St SW
Lehigh Acres, FL 33976                          1713    1/30/2020            Promise Healthcare Group, LLC                                                                                                         $0.00          $0.00
Promise Hospital
P.O. Box 13781
Miami, FL 33101-3781                            1714     2/3/2020            Promise Healthcare Group, LLC                                                                                                     $1,031.00      $1,031.00
Lee County BOCC-EMS
P.O. Box 398
Fort Myers, FL 33902                            1715     2/4/2020            Promise Healthcare Group, LLC                                                                                                    $20,963.85     $20,963.85
Nuance Communications, Inc.
Vorys, Sater, Seymour and Pease LLP
c/o Tiffany Strelow Cobb, Esq.
52 East Gay Street
Columbus, OH 43215                              1716    1/31/2020               Promise Healthcare, Inc.                                                                                                      $10,424.44     $10,424.44
Hadfield, Carolyn
10827 E Ocaso Ave
Mesa, AZ 85212                                  1717    2/10/2020            Promise Healthcare Group, LLC                                                                                                    $20,000.00     $20,000.00
Hadfield, Carolyn K
10827 E Ocaso Ave
Mesa, AZ 85212                                  1718    2/10/2020            Promise Healthcare Group, LLC                              $20,000.00                                                                           $20,000.00
CenturyLink Communications, LLC
Attn: Legal - BKY
1025 Eldorado Blvd.
Broomfield, CO 80021                            1719    2/26/2020               Promise Healthcare, Inc.                               $198,059.39                                                                          $198,059.39
BEJARANO, JOSE LOIS
205 S GREENWOOD AVE #A
MONTEBELLO, CA 90640                            1720    2/26/2020            Promise Healthcare Group, LLC                                                                                                    $80,000.00     $80,000.00
CenturyLink Communications, LLC f/k/a Qwest
Communications Company, LLC
Bankruptcy
Attn: Legal-BKY
1025 El Dorado Blvd
Broomfield, CO 80021                            1721    2/27/2020            Promise Healthcare Group, LLC                               $3,001.24                                                                            $3,001.24
Claim docketed in error
                                                1722    2/27/2020            Promise Healthcare Group, LLC                                                                                                                        $0.00
Claim docketed in error
                                                1723    2/27/2020            Promise Healthcare Group, LLC                                                                                                                        $0.00

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                                                                                                                                                         Current Priority Current Secured                      Current Admin Total Current
                 Creditor Name and Address     Claim No. Claim Date                           Debtor                                Unsecured Claim                                          Admin Priority
                                                                                                                                                          Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                        Amount                                                  Amount
Claim docketed in error
                                                 1724    2/27/2020               Promise Healthcare Group, LLC                                                                                                                        $0.00
Claim docketed in error
                                                 1725    2/27/2020               Promise Healthcare Group, LLC                                                                                                                        $0.00
CenturyLink Communications, LLC
Attn: Legal - BKY
1025 Eldorado Blvd.
Broomfield , CO 80021                            1726    2/28/2020               Promise Healthcare Group, LLC                               $3,001.24                                                                            $3,001.24
Roche Diagnostics Corporation
Douglas Durbin
Senior Corporate Credit Analyst
9115 Hauge Road-Building B2, Mail Stope B2-4
Indianapolis, IN 46256                           1727    2/27/2020                   Promise Healthcare, Inc.                              $360,350.75                                                                          $360,350.75
Wells Fargo Vendor Financial Services, LLC
WFVFS - Bankruptcy
PO Box 13708
Macon, GA 31208                                  1728     3/3/2020                   Promise Healthcare, Inc.                                $3,608.84                                                                            $3,608.84
Texas Comptroller of Public Accounts
Office of the Attorney General
Bankruptcy & Collections Division MC-008
P.O. Box 12548
Austin, TX 78711-2548                            1729    3/10/2020                Promise Hospital of Dallas, Inc.                                                                                $10,457.89                     $10,457.89
Texas Comptroller of Public Accounts
Office of the Attorney General
Bankruptcy & Collections Division MC-008
P.O Box 12548
Austin, TX 78711-2548                            1730    3/10/2020                      LH Acquisition, LLC                                                                                       $10,457.89                     $10,457.89
Texas Comptroller of Public Accounts
Office of the Attorney General
Bankruptcy & Collections Division MC-008
P.O. Box 12548
Austin, TX 78711-2548                            1731    3/10/2020     Promise Skilled Nursing Facility of Wichita Falls, Inc.                                                                    $10,457.89                     $10,457.89
Texas Comptroller of Public Accounts
Office of the Attorney General
Bankruptcy & Collections Division MC-008
P.O. Box 12548
Austin, TX 78711-2548                            1732    3/10/2020                   Promise Healthcare, Inc.                                                                                                     $10,457.89     $10,457.89
Giegerich, Beverly A.
341 Lagro Ave
St. Louis, MO 63125                              1733    3/11/2020               Promise Healthcare Group, LLC                                                                                                         $0.00          $0.00
Texas Comptroller of Public Accounts
Office of the Attorney General
Bankruptcy & Collections Division MC-008
P.O. Box 12548
Austin, TX 78711-2548                            1734    3/10/2020            Promise Hospital of Wichita Falls, Inc.                                                                                             $10,457.89     $10,457.89
KATO, KATHERINE
14536 LARKSPUR LANE
WELLINGTON, FL 33414                             1735    3/26/2020               Promise Healthcare Group, LLC                               $4,012.58        $12,850.00                                                         $16,862.58




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